Case 22-31641-mvl7   Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38   Desc
                           Exhibit A Page 1 of 154



                                 EXHIBIT A



                                  Complaint




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Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
   Case 3:23-cv-02397-S Document
                          Exhibit A1 Filed
                                     Page10/27/23
                                           2 of 154 Page 1 of 153 PageID 1



                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF TEXAS
                           DALLAS DIVISION


FEDEX SUPPLY CHAIN LOGISTICS             )
& ELECTRONICS, INC.,                     )
                                         )
      Plaintiff,                         )
                                         )
v.                                       )
                                         )
JAMES E. GOODMAN, JR., JOHN GOODMAN, )
JONATHAN GOODMAN, JAKE GOODMAN,          )
JOSEPH “JODY” GOODMAN, JAMES FRINZI, )
SHALOM AUERBACH, NEIL AUERBACH,          )
STEVEN ZAKHARYAYEV,                      )
EVALINA PINKHASOVA,                      )
GENESIS NETWORKS TELECOM                 )
SERVICES, LLC, GNET ATC, LLC,            )   Civil Action No. 3:23-cv-02397
GREATER TECH HOLDINGS, INC. f/k/a        )
GOODMAN TELECOM HOLDINGS, LLC,           )
GOODMAN INVESTMENT HOLDINGS, LLC, )
UNIFIED FIELD SERVICES, INC.,            )
AMERICAN METALS RECOVERY AND             )
RECYCLING, INC. a/k/a MBG HOLDINGS, INC.,)
MULTIBAND FIELD SERVICES, INC.,          )
HSB HOLDINGS, LLC f/k/a MULTIBAND        )
GLOBAL RESOURCES, LLC,                   )
AMR RESOURCES, LLC,                      )
HUDSON CLEAN ENERGY                      )
ENTERPRISES, LLC, 18920 NW 11th, LLC,    )
PROSPERITY BANCSHARES, INC.,             )
THE FRINZI FAMILY TRUST,                 )
ALLIANCE TEXAS HOLDINGS, LLC,            )
AUERBACH PARTNERS, LP, and               )
ONEPATH SYSTEMS, LLC,                    )
                                         )
      Defendants.                        )


                                COMPLAINT
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
   Case 3:23-cv-02397-S Document
                          Exhibit A1 Filed
                                     Page10/27/23
                                           3 of 154 Page 2 of 153 PageID 2



       Comes now FedEx Supply Chain Logistics & Electronics, Inc., a Delaware corporation,

(“Plaintiff” or “FSCLE”) and for its complaint against James E. Goodman, Jr. (“James

Goodman”), John Goodman, Jonathan Goodman, Jake Goodman, Joseph Goodman (“Jody

Goodman”), James Frinzi (“Jim Frinzi” or “Frinzi”), Shalom Auerbach, Neil Auerbach, Steven

Zakharyayev, Evalina Pinkhasova, Genesis Networks Telecom Services, LLC (“Genesis-ATC”),

GNET ATC, LLC (“GNET ATC”), Goodman Investment Holdings, LLC (“GIH”), Greater Tech

Holdings, Inc. f/k/a Goodman Telecom Holdings, LLC (“GTH”), Unified Field Services, Inc.

(“UFS”), American Metals Recovery and Recycling, Inc. a/k/a MBG Holdings, Inc. (“AMRR”

or “MBG”), Multiband Field Services, Inc. (“MFS”), HSB Holdings, LLC f/k/a Multiband

Global Resources , LLC (“Multiband Global”), AMR Resources, LLC (“AMR Resources”),

Hudson Clean Energy Enterprises, Inc. (“Hudson”), 18920 NW 11th, LLC (“18920 NW”),

Prosperity Bancshares, Inc. (“Prosperity Bank”), the Frinzi Family Trust (“Frinzi Trust”),

Alliance Texas Holdings, LLC (“Alliance Texas”), Auerbach Partners LP (“Auerbach Partners”)

and OnePath Systems, LLC (“OnePath”) states as follows:

                                 NATURE OF THE ACTION

   1. This case concerns a protracted and multi-faceted scheme to defraud FSCLE of more

       than eighty million dollars ($80,000,000) and then to launder that stolen money through a

       series of fraudulent commercial transactions by which the named Defendants benefited

       and/or participated in significant ways.

   2. In 2015, FedEx Corporation purchased a company named GENCO Distribution System,

       Inc. (“Genco”).




                                                  2
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
   Case 3:23-cv-02397-S Document
                          Exhibit A1 Filed
                                     Page10/27/23
                                           4 of 154 Page 3 of 153 PageID 3



    3. A GENCO subsidiary1 was a party to a Master Services Agreement with Genesis

       Networks Telecom Services, LLC (“Genesis-ATC”) and later Goodman Networks, Inc.

       (“Goodman Networks”) to service certain logistics needs related to AT&T.

    4. Under the Master Services Agreement, FSCLE would pre-purchase inventory of mobile

       device accessories from AT&T or its suppliers, Genesis-ATC/Goodman Networks would

       receive the pre-purchased inventory and provide contract labor and logistics services.

       Genesis-ATC/Goodman Networks would resale the inventory to AT&T or an end-

       purchaser on behalf of FSCLE, send FSCLE the original pre-purchase amount less .02%

       as compensation for the services provided.

    5. Under this process, millions of dollars per month would flow from FSCLE to Genesis-

       ATC/Goodman Networks and a nearly identical amount (less .02%) would flow back to

       FSCLE.2

    6. This process of orders and flow of funds was automated in late 2020 whereby payments

       from FSCLE to Genesis-ATC/Goodman Networks went from a FSCLE bank located in

       Pennsylvania to a Genesis-ATC account at the Bank of San Antonio in Texas and then to

       a Goodman Networks bank account at Prosperity Bank in Texas (the “4352 Account”).

    7. The Goodman Networks 4352 Account only received funds from FSCLE and was

       established specifically for the purpose of facilitating the automated transfer of funds

       between FSCLE and one or more of the Goodman controlled entities.

    8. The orders for mobile device accessories and related services were also automated in a

       Microsoft Dynamics 365 software database whereby the communications between



1
  The referenced subsidiary, ATC Logistics & Electronics, Inc., later became FedEx Supply
Chain Logistics & Electronics, Inc.
2
  FSCLE also paid for pallet moves.
                                                 3
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
   Case 3:23-cv-02397-S Document
                          Exhibit A1 Filed
                                     Page10/27/23
                                           5 of 154 Page 4 of 153 PageID 4



     FSCLE and Genesis-ATC/Goodman Networks would flow back and forth between

     Tennessee (where FSCLE is located), Pennsylvania (where the FSCLE Oracle cloud

     operated) and Texas (where Genesis-ATC/Goodman Networks provided services and

     were located).

  9. The automated service ordering and funding system worked as expected until November

     2021.

  10. In November 2021, Jim Frinzi, James Goodman and others made the decision to

     unilaterally disrupt the automated funds transfer to FSCLE but did not alert FSCLE to

     that fact. Rather, Goodman Networks/GNET ATC continued to send invoices to FSCLE

     and receive funds from FSCLE after the decision was made not to transfer FSCLE any

     further sums under the Master Services Agreement.

  11. That decision caused the 4352 Account at Prosperity Bank to swell with tens of millions

     coming into the account without payments being processed back to FSCLE.

  12. In November 2021, FSCLE asked Goodman Networks why transfers back to FSCLE

     were interrupted and demanded payment.

  13. Frinzi and others directed Goodman Networks/GNET ATC employees to hide the true

     motivations for the disruption and instead to tell FSCLE that Goodman Networks/GNET

     ATC would soon be migrating off the Microsoft Dynamics platform and needed to

     transition to a new platform to continue to do business with FSCLE. FSCLE cooperated

     with the migration to a new platform completing that transition work by February 15,

     2022 only to discover that the tens of millions of FSCLE dollars had been stolen.




                                             4
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
   Case 3:23-cv-02397-S Document
                          Exhibit A1 Filed
                                     Page10/27/23
                                           6 of 154 Page 5 of 153 PageID 5



  14. Unknown to FSCLE, Genesis-ATC/Goodman Networks and AT&T began to have a

     falling out in late 2018 that culminated in AT&T filing a multi-million-dollar arbitration

     against Genesis-ATC in February 2020.

  15. AT&T obtained an arbitration award against Genesis ATC on November 18, 2020 and

     started the eventual wind down of that business relationship.

  16. Facing the loss of its most significant customer and unknown to FSCLE, James

     Goodman, John Goodman, Jason Goodman, Jody Goodman, Jonathan Goodman, Jim

     Frinzi and those associated with them began a process to try to take as much as they

     could from the Genesis ATC/Goodman Networks group of companies before a possible

     bankruptcy.

  17. Between June 2020 and December 2020, Genesis-ATC approached FSCLE about

     transitioning from Genesis-ATC to Goodman Networks. Genesis-ATC represented to

     FSCLE that this would only be a name change for their entity and that there would

     otherwise be a continuity of business. None of the problems with AT&T were disclosed.

  18. The challenges the Goodmans had with AT&T spread from Genesis-ATC to Goodman

     Networks.

  19. In 2020, Goodman Networks, then controlled by John Goodman, caused its two primary

     businesses to be transferred to entities also controlled by John Goodman, which entities

     later became GTH, pursuant to a non-competitive sale agreement. This transaction

     permitted John Goodman to strip significant portions of the value of Goodman Networks

     out of Goodman Networks and further left Goodman Networks with dwindling capital

     and revenues to pay its debts in the ordinary course.




                                              5
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
   Case 3:23-cv-02397-S Document
                          Exhibit A1 Filed
                                     Page10/27/23
                                           7 of 154 Page 6 of 153 PageID 6



  20. In June 2021, Goodman Networks, then controlled by James Goodman, caused its last

     significant business unit to be transferred to UFS, which was also controlled by James

     Goodman, pursuant to a non-competitive sale agreement. This transaction permitted

     James Goodman to strip significant value out of Goodman Networks and further left

     Goodman Networks with an eventual inability to pay its debts in the ordinary course.

  21. In October 2021, Genesis-ATC, controlled by James Goodman, caused its business assets

     to be transferred to GIH and Endeavor Managed Systems, Inc. (“Endeavor”) both of

     which are owned and controlled in substantial part by James Goodman.

  22. By October 2021, AT&T had terminated its business with Genesis-ATC, Goodman

     Networks, and related Goodman companies.

  23. By November 2021, Goodman Networks and related companies stopped making

     contractually required fund transfers to FSCLE but did not notify FSCLE of that decision,

     the sale and transfer of the various Goodman controlled companies or the AT&T fallout.

     Instead, Defendants blamed delays in payments on system issues and a turnover in

     personnel. Further, Jim Frinzi and others discussed that it would be better for them to let

     the FSCLE funds build up in the 4352 Account than to inform FSCLE and turn off the

     automated processes.

  24. On November 23, 2021, Jim Frinzi authored a memo in which he stated, “Goodman

     Networks Incorporated (the ‘Company’) no longer has any remaining revenue source. At

     this point in time, a Shareholder’s Meeting will be requested to dissolve the Company.

     Further information on this topic will be sent out at a later date.” This memo was not

     sent to FSCLE and the substance of it was affirmatively hidden from FSCLE.




                                              6
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
   Case 3:23-cv-02397-S Document
                          Exhibit A1 Filed
                                     Page10/27/23
                                           8 of 154 Page 7 of 153 PageID 7



  25. Between December 2021 and June 2022, Jim Frinzi, James Goodman, Shalom Auerbach,

     Neil Auerbach, Steven Zakharyayev and Evalina Pinkhasova entered into a number of

     fraudulent transactions by which approximately $80,000,000 in FSCLE money sitting in

     the 4352 Account at Prosperity Bank was stolen and then used to finance a number of

     fraudulent transactions designed to launder the $80,000,000 for the benefit of the

     Defendants in this case.

  26. Those fraudulent transactions include but are not limited to:

     a. In excess of $44 million in stolen FSCLE funds from the 4352 Account were used to

         “purchase” and capitalize AMRR which as of late 2021 was worth only $138.00.

         AMRR then used the stolen cash to purchase AMR Resources from OnePath Systems

         for $40.4 million when the true value of AMR Resources was significantly less. The

         excess appears to have found its way to other Defendants. AMRR also issued a note

         for $44 million on “debt” that it did not owe and never intended to pay. The

         beneficiaries of this scheme include but are not limited to: Jim Frinzi, The Frinzi

         Family Trust, James Goodman, Shalom Auerbach, Steven Zakharyayev and Evalina

         Pinkhasova;

     b. At least $14.5 million in stolen FSCLE funds from the 4352 Account were used to

         purchase otherwise worthless preferred stock that James Goodman and John

         Goodman owned in Goodman Networks. The beneficiaries of this scheme include but

         are not limited to James Goodman, John Goodman, Jim Frinzi, Shalom Auerbach,

         Steven Zakharyayev and Evalina Pinkhasova;

     c. At least $17.5 million in stolen FSCLE funds from the 4352 Account were used to

         acquire Goodman Networks bonds through Hudson. The beneficiaries of this scheme



                                               7
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
   Case 3:23-cv-02397-S Document
                          Exhibit A1 Filed
                                     Page10/27/23
                                           9 of 154 Page 8 of 153 PageID 8



         include but are not limited to James Goodman, Jim, Frinzi, Shalom Auerbach, and

         Neil Auerbach; and

     d. Payment of “severance”, “benefits” and “consulting agreements” with stolen FSCLE

         funds out of the 4352 Account allegedly for Goodman Networks after it ceased to

         function as a business for the benefit of Jim Frinzi, James Goodman, Jonathan

         Goodman, Jody Goodman, Jason Goodman, Jake Goodman and others.

  27. Prosperity Bank played a central role in this scheme as it conspired with Jim Frinzi and

     James Goodman to falsify and/or accept falsified corporate documents for Goodman

     Networks which in turn allowed Frinzi and others to access funds in the 4352 Account

     and transfer those funds to entities and persons other than FSCLE with actual or

     constructive knowledge that Goodman Networks had ceased to exist and/or was defunct.

     Prosperity Bank took these actions because it wanted to continue to do business with the

     Goodmans, Frinzi and others in the businesses and enterprises the stolen FSCLE money

     was direct to and because some of the FSCLE stolen money was used to pay off loans

     that one or more Goodmans or Goodman controlled companies owed to Prosperity Bank.

     Thus, Prosperity Bank directly benefited from the theft and the schemes to steal FSCLE

     money and launder it through various fraudulent commercial transactions.

  28. This theft and laundering of the stolen funds continue today as the Defendants continue to

     wash the stolen money through various commercial entities including but not limited to

     the named Defendants.

                                         PARTIES

  29. FSCLE is a Delaware Corporation with its principal place of business located in

     Memphis, Tennessee.



                                              8
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
   Case 3:23-cv-02397-S Document
                          Exhibit A1 Page
                                     Filed 10/27/23
                                           10 of 154 Page 9 of 153 PageID 9



  30. James Goodman is a citizen of Texas and may be served at 103 Tomahawk Trail, San

     Antonio, TX 78232.

  31. John Goodman is a citizen of Texas and may be served at 1008 Middle Creek Road,

     Fredericksburg, TX 78624.

  32. Jonathan E. Goodman is a citizen of Texas and may be served at 137 Eagle Landing

     Drive, Belton, TX 76513.

  33. Jake Goodman is a citizen of Texas and may be served at 103 Crest Trail, San Antonio,

     TX 78232.

  34. Joseph “Jody” Goodman is a citizen of Texas and may be served at 37 Old

     Fredericksburg Road, Boerne, TX 78015.

  35. James “Jim” Frinzi is a citizen of Texas and may be served at 200 N. Cuernavaca Drive,

     Austin, TX 78746.

  36. Shalom Auerbach is a citizen of New York and may be served at 15 Langeries Drive,

     Monsey, NY 10952.

  37. Neil Auerbach is a citizen of New York and may be served at 50 Lawrence Avenue,

     Lawrence, NY 11559.

  38. Steven Zakharyayev is a citizen of both Florida and New Jersey and may be served at

     either 1111 Bickell Bay Drive, Miami, FL 33131 or 43 W. Canadian Woods Road,

     Marlboro, NJ 67746.

  39. Evalina Pinkhasova is a citizen of New Jersey and may be served at 43 W. Canadian

     Woods Road, Marlboro, NJ 67746.

  40. Genesis Networks Telecom Services, LLC d/b/a Genesis-ATC is a Texas limited liability

     company whose members are upon information and belief all residents of Texas. Its



                                             9
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          11 of 154 Page 10 of 153 PageID 10



     principal place of business is 1354 N. Loop 1604, Ste. 103, San Antonio, TX 78232.

     Genesis-ATC may be served through its registered agent for service of process: Capitol

     Corporate Services, 1501 S. Mopar Expressway, Ste. 220, Austin, TX 78746.

  41. GNET ATC, LLC is a Texas limited liability company whose members are upon

     information and belief all residents of Texas. It is 100% owned by Goodman Networks,

     a Texas corporation. Its principal place of business is located at 2801 Network Blvd.,

     Ste. 300, Frisco, TX 75034. GNET ATC may be served through its registered agent for

     service of process: Capitol Corporate Services, 1501 S. Mopar Expressway, Ste. 220,

     Austin, TX 78746.

  42. Greater Tech Holdings, Inc., is a Texas corporation. Its principal place of business is 103

     Industrial Loop Road, Ste. 1100, Fredericksburg, TX 78624. GTH may be served through

     its registered agent for service of process: Capitol Corporate Services, 1501 S. Mopar

     Expressway, Ste. 220, Austin, TX 78746.

  43. Goodman Investment Holdings, LLC is a Texas limited liability company whose

     members are upon information and belief all are residents of Texas and South Dakota. Its

     principal place of business is 1354 N. Loop 1604, Ste. 103, San Antonio, TX 78232. GIH

     may be served through its registered agent for service of process: Capitol Corporate

     Services, 1501 S. Mopar Expressway, Ste. 220, Austin, TX 78746. GIH also operates

     under the name Symbiont Investments.

  44. Unified Field Services, Inc. is a Texas corporation. Its principal place of business is 1354

     N. Loop 1604, Ste. 103, San Antonio, TX 78232. UFS may be served through its

     registered agent for service of process: Capitol Corporate Services, 1501 S. Mopar

     Expressway, Ste. 220, Austin, TX 78746.



                                               10
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          12 of 154 Page 11 of 153 PageID 11



  45. American Metals Recovery and Recycling, Inc. now known as MBG Holdings, Inc. is a

     Nevada corporation. Its principal place of business is located at 4301 Westbank Drive,

     Ste. B-110, Austin, TX 78746. This corporation may be served through its registered

     agent for service of process: Corporation Service Company, 211 E. 7th Street, Ste. 620,

     Austin, TX 78701.

  46. Multiband Field Services, Inc. is a Delaware corporation whose principal place of

     business was at all relevant times to this lawsuit located at 2801 Network Blvd., Ste. 300,

     Frisco, TX 75034 and is now located at 5605 Green Circle Drive, Minnetonka, MN

     55343. MFS may be served through its registered agent for service of process: Capitol

     Corporate Services, 1501 S. Mopar Expressway, Ste. 220, Austin, TX 78746.

  47. HSB Holdings, LLC, f/k/a Multiband Global Resources, LLC, is a Delaware limited

     liability company whose member is a citizen of Texas and its principal place of business

     is 2603 DeSoto Dr., Austin, TX 78733. Multiband Global may be served through its

     registered agent for service of process: Agents and Corporations, Inc., 1201 Orange St.,

     Ste 600, One Commerce Center, Wilmington, DE 19801.

  48. AMR Resources is a Delaware limited liability company, which is owned 100% by

     AMRR. Its principal place of business is 110 Allgood Industrial Ct, Marietta, GA, 30066.

     It may be served through its registered agent for service of process: Corporation Service

     Company, 2 Sun Court, Suite 400, Peachtree Corners, GA 30092.

  49. Hudson Clean Energy Enterprises, LLC is a Delaware limited liability company whose

     members are upon information and belief citizens of New York and Florida. Upon

     information and belief, its principal place of business is 333 SE 2nd Ave., Ste. 3410,




                                              11
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          13 of 154 Page 12 of 153 PageID 12



     Miami, FL 33131. Hudson may be served through its registered agent for service of

     process: Cogency Global, Inc. 850 New Burton Road, Ste. 201, Dover, DE 19904.

  50. Auerbach Partners, LP is a Delaware limited partnership whose partners are, upon

     information and belief, citizens of New York and Florida. Upon information and belief,

     its principal place of business is 333 SE 2nd Ave., Ste. 3410, Miami, FL 33131. Auerbach

     Partners may be served through its registered agent for service of process: Corporation

     Trust Company, Corporation Trust Center, 1209 Orange Street, Wilmington, DE 19801.

  51. 18920 NW 11th LLC is a Florida limited liability company whose members are, upon

     information and belief, residents of New Jersey and/or New York. Its principal place of

     business was located at 2719 Hollywood Blvd, Hollywood, FL 33020. 18920 NW may

     be served through its registered agent for service of process: Evalina Pinkhasova at 43

     W. Canadian Woods Road, Marlboro, NJ 67746.

  52. Prosperity Bancshares, Inc. d/b/a Prosperity Bank is a Texas corporation. Its principal

     place of business is 4295 San Felipe, Houston, TX 77027. Prosperity Bancshares may be

     served through its registered agent for service of process: Charlotte M. Rasche, 80 Sugar

     Creek Center Blvd., Sugar Land, TX 77478.

  53. Frinzi Family Trust is upon information and belief a Texas trust. Upon information and

     belief, its Trustee is Jim Frinzi. The trust may be served at 200 N. Cuernavaca Dr.,

     Austin, TX 78746.

  54. Alliance Texas Holdings, LLC was a Florida limited liability corporation whose members

     are, upon information and belief, residents of New Jersey and/or Florida. Its principal

     place of business is believed to have been 8 South Main Street, P.O. Box 342, Marlboro,

     NJ 07446. Alliance Texas Holdings, LLC may be served through its registered agent for



                                              12
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          14 of 154 Page 13 of 153 PageID 13



     the service of process: Steven Zakharyayez, 43 W. Canadian Woods Road, Marlboro, NJ

     67746. The Florida Secretary of State administratively dissolved Alliance Texas

     Holdings, LLC on September 23, 2023.

  55. OnePath Systems, LLC is a Georgia limited liability company whose members are, upon

     information and belief, citizens of Georgia and Texas. It’s principal place of business is

     1765 W. Oak Parkway, Ste. 500, Marietta, GA 30062. OnePath may be served through

     its registered agent for service of process: the Corporation Service Company, 211 E. 7th

     Street, Ste. 620, Austin, TX 87801.

                              JURISDICTION AND VENUE

  56. The jurisdiction of this Court is founded upon federal question jurisdiction. 28 U.S.C. §

     1331. The federal statute at issue in this case is the Racketeer Influenced and Corrupt

     Organizations Act 18 U.S.C. § 1961 et seq. and specifically 18 U.S.C. § 1964.

  57. The Court further has supplemental jurisdiction over the state law claims brought herein

     pursuant to 28 U.S.C. § 1367.

  58. Venue is appropriate in this district pursuant to 28 U.S.C. § 1391 (b)(2) and (3) and 18

     U.S.C. § 1965 (a), (b) and (d). A substantial part of the events giving rise to this case

     occurred in this district. The underlying Master Services Agreement which provided the

     means to steal tens of millions of dollars from FSCLE was performed in this district by

     one or more companies located in this district. The bank account into which the FSCLE

     funds were deposited and then stolen was located in this district. Three of the

     Defendants, GNET ATC, MFS and UFS are located or were located in this district. It is

     alleged that the Defendants were part of a RICO enterprise and conspiracy to first steal

     the funds from FSCLE specifically from a bank account located in this district and then



                                              13
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          15 of 154 Page 14 of 153 PageID 14



     to launder the stolen funds through a series of fraudulent transactions and shell

     companies benefiting the Defendants. It is further alleged that the Defendants were part

     of a RICO enterprise and conspiracy that involve acts of fraud connected with a

     bankruptcy case located within this district. There is no one district in which every

     Defendant involved in this enterprise could be brought through ordinary jurisdictional

     and venue processes. Therefore, FSCLE pleads nationwide service of process under the

     RICO statutes. 18 U.S.C. § 1965.

                              BACKGROUND AND FACTS

                             The Master Services Agreement

  59. January 20, 2014, Genesis-ATC and ATC Logistics & Electronics, Inc. (“ATC Logistics’)

     entered into the Master Services Agreement at issue in this matter. A true and correct copy

     of the Master Services Agreement is attached hereto as Exhibit A.

  60. Also, on January 20, 2014, Genesis-ATC and ATC Logistics entered into a Statement of

     Work, which detailed the scope of services to be provided under the Master Services

     Agreement. A true and correct copy of the Statement of Work is attached hereto as Exhibit

     B.

  61. On July 30, 2015, FedEx Corp. acquired GENCO which owned ATC Logistics.

  62. After the FedEx acquisition of GENCO, ATC Logistics was renamed FSCLE.

  63. Thus, FSCLE acquired the Master Services Agreement through acquisition of GENCO.

  64. Genesis-ATC and Goodman Networks through their longstanding relationship with

     AT&T, Inc. and AT&T Services, Inc. (together, “AT&T”) have provided services to

     AT&T and a number of AT&T’s suppliers and customers, including FSCLE.




                                              14
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          16 of 154 Page 15 of 153 PageID 15



      The AT&T Fallout Creates Financial Urgency on the Part of The Goodmans
                       and Companies Controlled by Them

  65. Unknown to FSCLE, Genesis-ATC and AT&T began to have a falling out in late 2018,

     when AT&T’s supplier, Technicolor Connected Home USA, LLC (“Technicolor”), sued

     AT&T related to a supply arrangement that was contracted through Genesis-ATC.

  66. Genesis-ATC had a longstanding commercial relationship with AT&T and Technicolor,

     which was the successor in interest to Cisco Systems, Inc., whereby, Technicolor would

     supply products and goods to AT&T through Genesis-ATC.

  67. On or about December 10, 2018, a dispute arose between Technicolor and AT&T regarding

     AT&T’s obligation to purchase products and goods from Technicolor through Genesis-

     ATC, and Technicolor commenced a lawsuit against AT&T in the Superior Court for

     Fulton County, Georgia, seeking damages in excess of $30 million.

  68. On or about December 28, 2018, AT&T demanded Genesis-ATC indemnify it for the

     claims asserted by Technicolor, as the agreements memorializing the tri-party arrangement

     imposed an indemnity obligation on Genesis-ATC in favor of AT&T (the “AT&T

     Demand”).

  69. During 2019, Genesis-ATC began to materially alter its internal affairs to prepare for the

     day in which it had to pay the AT&T Demand. Paying the AT&T Demand or losing the

     AT&T business would put Genesis-ATC in danger of being insolvent. None of this was

     communicated to FSCLE.

  70. On or about February 19, 2020, AT&T commenced an arbitration proceeding against

     Genesis-ATC regarding the AT&T Demand.




                                             15
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          17 of 154 Page 16 of 153 PageID 16



  71. On or about November 18, 2020, AT&T was awarded approximately $12.3 million against

     Genesis-ATC related to the AT&T Demand (the “AT&T Arbitration Award”) and begun

     to wind down its affairs with Genesis-ATC. None of this was disclosed to FSCLE.

          The Goodmans Close Down Genesis-ATC and Goodman Networks

  72. In September 2019, James Goodman began to transition the business of Genesis-ATC to

     Goodman Networks owned and controlled by his brother John Goodman without notice to,

     or the consent of, FSCLE.

  73. On September 14, 2019, Genesis-ATC entered into a non-competitive Asset Purchase

     Agreement to sell substantially all of its assets to Goodman Networks. Goodman Networks

     purportedly assigned its rights in the Asset Purchase Agreement to GNET ATC. Again,

     neither of these transactions were disclosed to, or done with the consent of, FSCLE.

  74. In June 2020, Goodman Networks, then controlled by John Goodman, caused its two

     primary businesses to be transferred to a newly formed John Goodman controlled entity

     called Goodman Telecom Holdings, LLC, which later was incorporated as GTH, pursuant

     to a non-competitive sale agreement.

  75. On June 19, 2020, John Goodman emailed James Goodman in relation to restraints

     Goodman Networks’ general counsel, Tony Rao, and officer, John Debus, were

     attempting to put on the sale and stated:

      . . . I really need your help. I got ATC closed and saw the stuff Tony and Debus
     were trying to sneak in on you. This is a sneak tactic to try to prevent for (sic)
     being able to do what I want with the company to helm me and the family as
     well as employees or other things. This is not something they should be approving
     or allowing. I PLEASE NEED YOUR HELP TO COMPELTELY TAKE THIS
     OUT. Goodman already has massive control to have to approve almost everything.
     You would never want this burden placed on you!! . . . I also don’t know why
     Godman (sic) would have to approve the sale of the business and the other
     things it is very very far reaching. . . . PLEASE HELP ME WITH THIS . . .

     (emphasis added).

                                                 16
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          18 of 154 Page 17 of 153 PageID 17



  76. After the sale of business assets to GTH. James Goodman exercised control over Goodman

     Networks.

  77. At or about the same time as the sale to GTH, Genesis-ATC and Goodman Networks

     approached FSCLE about transitioning the Master Service Agreement from Genesis-ATC

     to Goodman Networks. Genesis-ATC and Goodman Networks affirmatively withheld from

     FSCLE information about the sale to GTH. Instead, they represented this as a name change

     only.

  78. By December 4, 2020, FSCLE consented to the transition from Genesis-ATC to Goodman

     Networks completely unaware of the wider issues as described herein.

  79. Funds received by Goodman Networks from FSCLE were made to the 4352 Account at

     Prosperity Bank which only held funds from FSCLE transferred pursuant to the Master

     Services Agreement.

  80. In June 2021, Goodman Networks (James Goodman) caused significant business assets to

     be transferred to UFS, an affiliate of GNE (James Goodman), pursuant to another non-

     competitive sale agreement. That transfer of business assets from Goodman Networks to

     UFS was finalized on September 11, 2021.

  81. In August and September 2021, Goodman Networks began the process of requesting

     Prosperity Bank to change the names of the people who could control its bank accounts,

     including the 4352 Account.

  82. Prosperity Bank asked for corporate bylaws and board resolutions supporting the requested

     changes.

  83. Goodman Networks sent Prosperity Bank the 4th Amended Bylaws of Goodman Networks

     which required the consent of at least three board members to make such changes.



                                             17
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          19 of 154 Page 18 of 153 PageID 18



  84. By October 2021, AT&T had terminated its business with Genesis-ATC (James

     Goodman), Goodman Networks (James Goodman and Jim Frinzi), and GNET ATC (James

     Goodman and Jim Frinzi).

  85. On October 12 and 13, 2021, Jim Frinzi sent emails within Goodman Networks about a

     spin-off of significant portions of Goodman Networks business to either a new public

     company to be formed or GNET ATC including but not limited to the FSCLE business.

     Jason Goodman and Jody Goodman were copied on those emails in which Jim Frinzi said:

        Frontier and LSU can easily be managed as a small business. That is what’s
        moving first. FedEx is going to be a lift, so we aren’t doing that immediately.
        ...

        The public company is taking FedEx, Frontier, LSU, and some cash in
        exchange for assuming the entire bond debt. We are going to leave ATC as
        a Goodman subsidiary until we know the overall workout situation. In the
        perfect world, we are going to have to come to agreements with all the OEMs,
        the new company will assume those debts, and we will move all of ATC to
        the new company. However, it is possible that we work something out with
        only some of the OEMs.

  86. Neither Frinzi nor anyone associated with Genesis-ATC, Goodman Networks nor GNET

     ATC informed FSCLE that Goodman Networks was winding down and its assets being

     parceled out.

  87. Meanwhile, the automated processes by which orders were invoiced to FSCLE and paid

     by FSCLE continued with millions being paid into the 4352 Account at Prosperity Bank.

  88. On October 14, 2021, James Goodman (Genesis and Goodman Networks) met with Bater

     Bates (Prosperity Bank) and upon information and belief informed Bater Bates of the plan

     to strip the assets out of Genesis, Goodman Networks and Genesis-ATC. The Genesis

     entities owed loans to Prosperity Bank and any transfer of assets would require Prosperity

     Bank’s approval to switch collateral on the loans.



                                              18
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          20 of 154 Page 19 of 153 PageID 19



  89. Based on requests by Prosperity Bank in mid-October for additional information to switch

     control of the accounts at Prosperity Bank, including the 4352 Account, both John

     Goodman and James Goodman emailed Prosperity Bank on October 13 and 14, 2021

     asking that Prosperity Bank switch control over the accounts.

  90. Specifically, James Goodman traded emails with Bater Bates (Prosperity Bank) on October

     14, 2021 about pledging the funds in the 4352 Account as collateral to secure a loan owed

     to Prosperity Bank thus freeing up the Genesis businesses and assets to be transferred to

     either GIH or Endeavor.

  91. Both James Goodman and Bater Bates (Prosperity Bank) knew the 4352 Account was

     exclusively for funds from FSCLE and was used to automatically sweep funds back to

     FSCLE pursuant to the automated process then in place for at least 10 months.

  92. Consistent with the undisclosed plan to transfer the FSCLE business to a new company

     without necessarily disclosing that to FSCLE, on October 14, 2021, Goodman Network’s

     Steve Seago emailed FSCLE saying:

        Goodman would like to request your assistance again to help us migrate our
        connections/integrations related to the Accessories Packaging business.
        When Genesis became part of Goodman a couple of years ago we needed to
        migrate the connections to Goodman systems and we now need to move them
        to new systems. Who can we/should we work with on this? Really appreciate
        your flexibility on this.

  93. Steve Seago knew at the time he sent his October 14, 2021 email to FSCLE that Goodman

     Networks was being divested but did not disclose any of that to FSCLE.

  94. On October 15 and 19, 2021, Prosperity Bank again asked Goodman Networks for

     corporate documents authorizing transfer of the accounts.




                                             19
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          21 of 154 Page 20 of 153 PageID 20



  95. On October 19, 2021, James Goodman acknowledged the need for corporate documents

     authorizing the transfer saying in an email to Prosperity Bank, “Working on the amendment

     and authority now.”

  96. Between October 20 and October 22, 2021, Jason Goodman and Jody Goodman resigned

     from the Goodman Networks board. That left only one director on the Goodman Networks

     board: James Goodman.

  97. Pursuant to the Goodman Networks 4th Amended Bylaws, Goodman Networks could not

     take action without the consent of at least three directors/board members.

  98. Prior to the resignations of Jason Goodman and Jody Goodman, the Goodman Networks

     Board did appoint Jim Frinzi to act as the CEO of Goodman Networks but did not adopt

     the 5th Amended Bylaws which on their face say that action can be taken by the CEO (Jim

     Frinzi) or confirm approval to change the ownership of the bank accounts at Prosperity

     Bank.

  99. The failure to take appropriate corporate action prior to the resignations of Jason Goodman

     and Jody Goodman left James Goodman, John Goodman, and Jim Frinzi without any way

     to validly authorize the transfer of the Prosperity Bank accounts including the 4352

     Account.

  100.       That did not stop Jim Frinzi and James Goodman from moving forward with their

     plan to strip all the assets, including funds in the 4352 Account, from Goodman Networks

     and the Genesis entities.

  101.       On October 21 and 22, 2021, Jim Frinzi emailed Prosperity Bank an unsigned and

     unauthorized version of the alleged Fifth Amended and Restated Bylaws which gave the

     power to transfer the bank accounts to Jim Frinzi.



                                              20
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          22 of 154 Page 21 of 153 PageID 21



  102.       Frinzi’s October 21, 2021 email with the fraudulent Fifth Amended and Restated

     Bylaws copied James Goodman.

  103.       Frinzi and James Goodman knew the Fifth Amended and Restated Bylaws were

     unauthorized and were thus fraudulent.

  104.       Bater Bates (Prosperity Bank) also knew that the Fifth Amended and Restated

     Bylaws were false and unauthorized. He accepted them anyway to facilitate the banking

     transactions being requested including a change in control of the 4352 Account.

  105.       Bater Bates followed up with James Goodman on October 22 and 25, 2021, asking

     for a signed version of the Fifth Amended and Restated Bylaws. No signed version was

     sent to Bater Bates, but Bater Bates permitted the transfer of the accounts to move forward

     anyway.

  106.       On October 25, 2021, Bater Bates, Taylor Burns, and Prosperity Bank agreed to

     accept an Assignment of Goodman Network’s 3992 Account at Prosperity Bank, which

     would soon include funds misappropriated from the 4352 Account, as replacement and

     substitution collateral for the collateral pledged by the Genesis Entities related to their loans

     with Prosperity Bank. Goodman Networks received no value for this Assignment.

  107.       James Goodman signed the Assignment as CEO of Goodman Networks and as

     manager of the Genesis entities.

  108.       At the time of the Assignment, each of Bater Bates, Taylor Burns, Prosperity Bank,

     and James Goodman knew that James Goodman was not the CEO of Goodman Networks

     and that he had no authority to enter into the Assignment on behalf of Goodman Networks.

     They accepted and effectuated the Assignment anyway to facilitate the transfer of the




                                                21
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          23 of 154 Page 22 of 153 PageID 22



     Genesis assets to GIH and or its affiliate, Endeavor, because of the going concern caused

     by the AT&T Demand and Arbitration Award.

  109.         Shortly after the Assignment, Genesis caused its businesses and assets to be

     transferred to either GIH or Endeavor.

  110.         On October 27, 2021, Goodman Network’s Steve Seago sent an email to FSCLE

     saying, “Want to introduce you to Jim Frinzi who is the new CEO here at Goodman. I’ve

     brought Jim up to speed on our history as well as the Accessories Packaging program. Jim

     would like to have a brief introductory call with you all to get a better sense of the project

     and overall relationship. Can you please provide some dates/times when you all would be

     available.”

  111.         Seago’s October 27, 2021 email did not disclose any of the efforts to wind down

     Goodman Networks or to transfer funds in the 4352 Account.

  112.         On November 2, 2021, FSCLE sent an email inquiring why Goodman Networks

     had not made a payment as part of the automated processes.

  113.         That FSCLE email was forwarded to Jim Frinzi with a request as to what to tell

     FSCLE.

  114.         Frinzi responded on November 2, 2021 with emails within Goodman Networks

     saying:

         I realize we have AR coming in from them, with matching AP, so my
         impression is that overall the FedEx project is negative $5.4 million dollars.
         ...

         It is pretty clear that we have a deficit with FedEx that would be difficult if
         not impossible to resolve. At this point it seems futile to pay the balance
         when we will still come up short anyway. Josh, are we in a better place if we
         cease operations on FedEx, and instigate negotiations with them on
         settlement? . . .



                                               22
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          24 of 154 Page 23 of 153 PageID 23



         Also, for ATC debts, just send emails and correspondence to me, Stephanie,
         or Samantha. I don’t want emails that tie in Jody [Goodman], Jason
         [Goodman] and James [Goodman]. Although to a large extent the horse has
         already been let out of the barn, it has just become more critical to create that
         segregation.

  115.       On November 3, 2021, Frinzi emailed others within Goodman Networks and gave

     the following instruction:

         Please pay this invoice to FedEx – 9/24/2021 - $361,127.02. Please suspend
         all other payments to FedEx after this payment. . . .

         We need to consolidate Prosperity 4352 and EWB [East West Bank] 0690
         into a new account at Chase Bank, that I will ask you to open. . .

         (Emphasis added).

  116.       Neither Frinzi nor anyone associated with Goodman Networks informed FSCLE of

     their decision to stop any further payments to FSCLE.

  117.       Rather than inform FSCLE of that decision, Frinzi and others associated with

     Goodman Networks continued to send invoices to FSCLE for processing pursuant to the

     automated system in place and at the same time continued the sham of explaining a lack of

     fund transfer by a need to transition off the Microsoft Dynamics 365 automated system to

     a new system, and blamed personnel turn over for the lack of funds flow.

  118.       Meanwhile FSCLE continued to transfer millions into the 4352 Account relying

     upon the false statements from various Goodman Networks personnel as directed by Frinzi.

  119.       On November 10, 2021, Frinzi sent an email to James Goodman, Jason Goodman

     and others saying:

         My understanding is that we need to segregate Goodman and GNET ATC,
         because the creditors on each side are going to go after the other side. If
         Goodman Networks controls the bank accounts of ATC, then I believe it
         opens the claim that it’s all the same company . . . I think the goal here is to
         isolate liability to each respective organization, and not get personally
         dragged into litigation.


                                                23
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          25 of 154 Page 24 of 153 PageID 24




         Also, as a practical matter for me, my name is going to be on all of the
         lawsuits, and I will have to bear the responsibility of settling with
         creditors. That’s fine and what I signed up for the turnaround plan.
         However, I have no authority settles me with risk, but little domain over my
         outcome.

         First and foremost I want a plan that protects people with the last name
         Goodman, and myself from personal liability. Then protect each
         respective asset and develop a plan that is reasonable with the bond holders
         and trade debt creditors.

     (Emphasis added).

  120.       Jason Goodman responded to Frinzi’s November 10 email by saying, “Currently

     Goodman owns ATC. So even if you segregate bank accounts they are still connected.”

  121.       By mid-November 2021, more than $10 million in FSCLE funds were in the 4352

     Account and employees at Goodman Networks were asking for permission to make the

     reciprocal transfer to FSCLE.

  122.       Jim Frinzi, CEO of both Goodman Networks and GNET ATC, responded to those

     requests on November 16, 2021 saying, “We are still holding on FedEx payments. We are

     developing a complex plan on how we spend our money at ATC. Definitely do not

     pay 10 million to FedEx.” (emphasis added). Neither Frinzi nor anyone else informed

     FSCLE that no further fund transfers would be sent to FSCLE.

  123.       Jason Goodman and Jody Goodman emailed each other on November 16, 2021 in

     response to the Frinzi email of the same day saying that direction from James Goodman

     was needed.

  124.       Upon information and belief and informed by his subsequent actions, James

     Goodman did weigh in and agreed with Frinzi’s decision to take the FSCLE funds and not

     use it for its intended purpose.



                                             24
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          26 of 154 Page 25 of 153 PageID 25



  125.      Employees of Genesis, Goodman Networks and/or GNET ATC began to email that

     they were “uncomfortable” with the situation and wanted to “stand down”.

  126.      On November 16, 2021, an employee of Genesis-ATC, Goodman Networks and/or

     GNET ATC sent an email to Frinzi saying, “I would bank on losing the FedEx business

     line as their request for payment of the 10M is broaching two weeks old and dates back to

     late September. Their payments to date total 25M. They continue to send promptings

     requesting payment we will continue to ignore per your directive.” (emphasis added).

  127.      On November 16, 2021, Frinzi sent an internal email analyzing the FSCLE business

     saying, “We are about 5.4 million in the negative with FedEx. The project has an EBITDA

     of $500,000 at best, so we’d need an 11 year run to eventually pay it off. Potentially genesis

     owes them something too, but GNET ATC definitely is negative $5.4 million.”

  128.      By November 22, 2021, the accounts payable employees within Goodman

     Networks/GNET ATC were discussing the necessity of sweeping funds from the

     “Prosperity/FedEx account” (the 4352 Account) to pay their bills. Frinzi responded at that

     time that he didn’t want to “use the FedEx money.” Frinzi’s directive would soon change.

  129.      On November 23, 2021, FSCLE once again followed up on payment prompting

     another round of internal inquiries as to whether to pay FSCLE and Frinzi directing that

     FSCLE not be paid.

  130.      On November 23, 2021, Frinzi caused Goodman Networks to issue a document in

     which Goodman Networks stated that effective October 13, 2021 GNET ATC lost 60% of

     its revenue with the loss of the AT&T business and that, “Goodman Networks

     Incorporated (the ‘Company’) no longer has any remaining revenue source. At this




                                              25
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          27 of 154 Page 26 of 153 PageID 26



     point in time, a Shareholder’s Meeting will be requested to dissolve the Company.

     Further information on this topic will be sent out at a later date.” (emphasis added).

  131.       If the November 23, 2021 memo was circulated to anyone it was not provided to

     FSCLE nor did anyone tell FSCLE that Goodman Networks was effectively out of

     business.

  132.       Frinzi and others continued to accept payments from FSCLE and obscure the real

     situation.

                  The Defendants Continue to Hide the True Picture
             While Getting FSCLE to Make Payments to the 4352 Account

  133.       On December 7, 2021, Jim Frinzi emailed Steve Seago (who had the direct

     relationship with FSCLE) saying, “We are in the process of migrating FedEx to a new

     tenant. I want to make sure we are still doing business with them. Steve the general

     plan is that Genesis is going to buy back the FedEx business from us. If they are already

     done with us, and there is nothing to sell back to Genesis, please let me know. Use your

     discretion as to what you communicate with FedEx. Presently we have been advised

     to not share financial data with any outside parties as we are in litigation.” (emphasis

     added). No entity related to Goodman Networks was then in bankruptcy or in any lawsuit

     that would have prevented them from dealing fairly and honestly with FSCLE. Moreover,

     there was no actual plan to “sell” the FSCLE business to Genesis-ATC because Genesis-

     ATC had already transferred its businesses to GIH and Endeavor.

  134.            On December 9, 2021, the Chief Financial Officer of Genesis-ATC emailed Jim

     Frinzi saying, “I have been advised by both BK lawyers, and H&B about conflicts and

     direct involvement of Genesis in GNET ATC matters. It creates conflicts that will

     ultimately personal [sic] hurt me and James [Goodman] as individuals. . . . We [Genesis-


                                              26
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          28 of 154 Page 27 of 153 PageID 27



     ATC] are not agreeable to you [GNET ATC] engaging express. As stated, we need formal

     guidance on the viability of the transfer [of the FSCLE business].”

  135.      Frinzi responded to Genesis-ATC via email on December 9, 2021 stating, “I have

     copied both Josh and Bobby [attorneys], as there are matters involving FedEx trust funds,

     and a potential claw back from FedEx if we pay non-trust money to them.” (emphasis

     added). Frinzi further emailed individuals within Goodman Networks and/or GNET ATC

     on December 9, 2021 stating, “We are holding off on making any changes to the FedEx

     account with Prosperity, *4352, for now. Remember that account is tied to Goodman’s

     tax ID number.” (emphasis added).

  136.      On December 9, 2021, Goodman Networks/GNET ATC’s Steve Seago emailed

     FSCLE furthering the illusion that a change in the Microsoft Dynamics software was

     driving the inability to pay FSCLE by saying, “Darek/Ken – we are in the process of

     migrating the Goodman Dynamics 365 environment to a new tenant and will need to work

     with you to get the transfer set up. Please let me know if you have the time in the next

     couple of days to discuss.” This email failed to disclose the true nature of what was

     happening at Goodman Networks. Consistent with Jim Frinzi’s instruction to Seago, it did

     not disclose any of the financial troubles Goodman Networks was facing and did not

     disclose that Goodman Networks had effectively shut down as of November 23, 2021.

  137.      In response to Seago’s email, FSCLE’s Greg Bullard responded saying,

     “Considering James Goodman told Steve [Berry – FSCLE employee] and I that he intended

     to subcontract the ADS system work to Goodman, is this change still necessary or should

     we postpone starting until the path forward is resolved?”




                                             27
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          29 of 154 Page 28 of 153 PageID 28



  138.      James Goodman had communicated to FSCLE that the work would go from

     Goodman Networks to Genesis-ATC without telling FSCLE that Goodman Networks and

     Genesis-ATC were shutting down or effectively defunct. James Goodman was the only

     director of Goodman Networks at the time of that oral misrepresentation. Further, that oral

     misrepresentation had no basis in any fact and was just made to stall while FSCLE

     continued to make payments to the 4352 Account.

  139.      On December 17, 2021, Steve Seago emailed FSCLE doubling down on the false

     narrative that a migration in the software platform was needed and requested.

  140.      On December 23, 2021, GNET ATC informed Seago that his employment was

     being terminated but that they wanted him to sign a consulting agreement to continue his

     work with FSCLE. Seago asked for different payment terms and Frinzi responded to Seago

     via email saying, “We are granting the consulting agreement because we need access to

     you as you are the only single person in our entire company with material knowledge of

     FedEx, and we will probably need you to participate at some point in bankruptcy

     proceedings. Really doing any more than this will pose a risk for me as CEO, pose a risk

     for you from a bankruptcy claw back.”

  141.      Frinzi, Seago and other employees at Goodman Networks represented to FSCLE

     that Goodman Networks would continue to service the Master Service Agreement under

     its “Multiband” tradename.

  142.      At the time of such representations, Goodman Networks had a subsidiary called

     Multiband Field Services, Inc. and a tradename for “Multiband Global.”

  143.      Unknown to FSCLE, Frinzi had also formed a new, unaffiliated company called

     Multiband Global Resources, LLC, which was in the process of being used to acquire



                                             28
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          30 of 154 Page 29 of 153 PageID 29



     AMRR, a public shell company, which would be used as part of the enterprise to defalcate

     and launder the FSCLE funds.

  144.       In early January 2022, Steve Seago pushed forward with the narrative of getting

     FSCLE to migrate to a new automated system.

  145.      FSCLE assigned internal personnel to work on the IT connectivity on its end.

  146.      The FSCLE IT connectivity work was completed by February 15, 2022 and FSCLE

     asked the IT vendor working with Goodman Networks/GNET ATC to confirm the

     connection.

  147.      On February 16, 2022, the IT vendor working with Goodman Networks/GNET

     ATC emailed FSCLE saying, “Jim – I was just informed that Multiband won’t be

     continuing with the FedEx project.”

  148.      FSCLE reached out to Steve Seago that same day saying, “Can you help translate

     David Corso’s email below?”

  149.      Seago first responded by saying, “I have no idea why this happened or what is their

     direction. I’m no longer with Goodman/Multiband. I’m consulting them on a few items

     but this hits me blind as well. I’ve already asked them ‘what the heck?’ and I’ll let you

     know something as soon as I know.”

  150.      Seago then emailed Frinzi on February 16, 2022 asking for direction as to what to

     tell FSCLE. Frinzi responded by email saying, “Yes, that’s just not possibility with the

     impending bond debt and lawsuit.” Seago then responded to FSCLE on February 16

     saying, “I’m looking into all that. Sorry it’s taking a bit longer than anticipated but I hope

     to have a path for you to consider early next week.” Seago knew or should have known




                                              29
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          31 of 154 Page 30 of 153 PageID 30



     based on the information provided to him that there was no path forward but failed to tell

     FSCLE the truth and continued to stall FSCLE though early March 2022.

              Meanwhile FSCLE Transfers Funds into the 4352 Account

  151.      Despite making the decision not to pay FSCLE any further amounts as of November

     3, 2021, Goodman Networks, GNET ATC, Frinzi and/or James Goodman caused and

     permitted continued invoices to be sent to FSCLE as part of the automated processes put

     in place and received funds from FSCLE with no intention to pay FSCLE any sums back.

  152.      On November 3, 2021, Frinzi and persons acting at Frinzi’s direction at Goodman

     Networks and/or GNET ATC in Texas used interstate wires to invoice FSCLE in

     Tennessee for 55 transactions with an invoice value of $746,004.01.

  153.      On November 3, 2021, Frinzi and persons acting at Frinzi’s direction at Goodman

     Networks and/or GNET ATC in Texas used interstate wires to invoice FSCLE in

     Tennessee for 67 transactions with an invoice value of $747,194.43.

  154.      On November 4, 2021, Frinzi and persons acting at Frinzi’s direction at Goodman

     Networks and/or GNET ATC in Texas used interstate wires to invoice FSCLE in

     Tennessee for 40 transactions with an invoice value of $355,670.00.

  155.      On November 5, 2021, Frinzi and persons acting at Frinzi’s direction at Goodman

     Networks and/or GNET ATC in Texas used interstate wires to invoice FSCLE in

     Tennessee for 32 transactions with an invoice value of $300,946.68.

  156.      On November 6, 2021, Frinzi and persons acting at Frinzi’s direction at Goodman

     Networks and/or GNET ATC in Texas used interstate wires to invoice FSCLE in

     Tennessee for 53 transactions with an invoice value of $1,081,973.13.




                                             30
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          32 of 154 Page 31 of 153 PageID 31



  157.      On November 7, 2021, Frinzi and persons acting at Frinzi’s direction at Goodman

     Networks and/or GNET ATC in Texas used interstate wires to invoice FSCLE in

     Tennessee for 20 transactions with an invoice value of $ 538,354.15.

  158.      On November 8, 2021, Frinzi and persons acting at Frinzi’s direction at Goodman

     Networks and/or GNET ATC in Texas used interstate wires to invoice FSCLE in

     Tennessee for 103 transactions with an invoice value of $1,657,876.57.

  159.      On November 8, 2021, Frinzi and persons acting at Frinzi’s direction at Goodman

     Networks and/or GNET ATC in Texas used interstate wires to invoice FSCLE in

     Tennessee for 85 transactions with an invoice value of $1,133,205.56.

  160.      On November 9, 2021, Frinzi and persons acting at Frinzi’s direction at Goodman

     Networks and/or GNET ATC in Texas used interstate wires to invoice FSCLE in

     Tennessee for 12 transactions with an invoice value of $105,196.63.

  161.      On November 9, 2021, Frinzi and persons acting at Frinzi’s direction at Goodman

     Networks and/or GNET ATC in Texas used interstate wires to invoice FSCLE in

     Tennessee for 48 transactions with an invoice value of $327,702.48.

  162.      On November 10, 2021, Frinzi and persons acting at Frinzi’s direction at Goodman

     Networks and/or GNET ATC in Texas used interstate wires to invoice FSCLE in

     Tennessee for 73 transactions with an invoice value of $897,369.60.

  163.      On November 10, 2021, Frinzi and persons acting at Frinzi’s direction at Goodman

     Networks and/or GNET ATC in Texas used interstate wires to invoice FSCLE in

     Tennessee for 33 transactions with an invoice value of $646,752.36.




                                            31
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          33 of 154 Page 32 of 153 PageID 32



  164.      On November 11, 2021, Frinzi and persons acting at Frinzi’s direction at Goodman

     Networks and/or GNET ATC in Texas used interstate wires to invoice FSCLE in

     Tennessee for 12 transactions with an invoice value of $309,096.40.

  165.      On November 11, 2021, Frinzi and persons acting at Frinzi’s direction at Goodman

     Networks and/or GNET ATC in Texas used interstate wires to invoice FSCLE in

     Tennessee for 65 transactions with an invoice value of $738,619.29.

  166.      On November 12, 2021, Frinzi and persons acting at Frinzi’s direction at Goodman

     Networks and/or GNET ATC in Texas used interstate wires to invoice FSCLE in

     Tennessee for 49 transactions with an invoice value of $418,843.55.

  167.      On November 12, 2021, Frinzi and persons acting at Frinzi’s direction at Goodman

     Networks and/or GNET ATC in Texas used interstate wires to invoice FSCLE in

     Tennessee for 9 transactions with an invoice value of $193,555.21.

  168.      On November 13, 2021, Frinzi and persons acting at Frinzi’s direction at Goodman

     Networks and/or GNET ATC in Texas used interstate wires to invoice FSCLE in

     Tennessee for 72 transactions with an invoice value of $659,814.01.

  169.      On November 14, 2021, Frinzi and persons acting at Frinzi’s direction at Goodman

     Networks and/or GNET ATC in Texas used interstate wires to invoice FSCLE in

     Tennessee for 33 transactions with an invoice value of $956,426.18.

  170.      On November 15, 2021, Frinzi and persons acting at Frinzi’s direction at Goodman

     Networks and/or GNET ATC in Texas used interstate wires to invoice FSCLE in

     Tennessee for 43 transactions with an invoice value of $3,693,476.56.




                                            32
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          34 of 154 Page 33 of 153 PageID 33



  171.      On November 15, 2021, Frinzi and persons acting at Frinzi’s direction at Goodman

     Networks and/or GNET ATC in Texas used interstate wires to invoice FSCLE in

     Tennessee for 107 transactions with an invoice value of $951,185.09.

  172.      On November 16, 2021, Frinzi and persons acting at Frinzi’s direction at Goodman

     Networks and/or GNET ATC in Texas used interstate wires to invoice FSCLE in

     Tennessee for 19 transactions with an invoice value of $322,216.37.

  173.      On November 16, 2021, Frinzi and persons acting at Frinzi’s direction at Goodman

     Networks and/or GNET ATC in Texas used interstate wires to invoice FSCLE in

     Tennessee for 25 transactions with an invoice value of $2,717,999.80.

  174.      On November 17, 2021, Frinzi and persons acting at Frinzi’s direction at Goodman

     Networks and/or GNET ATC in Texas used interstate wires to invoice FSCLE in

     Tennessee for 55 transactions with an invoice value of $1,372,211.91.

  175.      On November 17, 2021, Frinzi and persons acting at Frinzi’s direction at Goodman

     Networks and/or GNET ATC in Texas used interstate wires to invoice FSCLE in

     Tennessee for 48 transactions with an invoice value of $548,173.90.

  176.      On November 18, 2021, Frinzi and persons acting at Frinzi’s direction at Goodman

     Networks and/or GNET ATC in Texas used interstate wires to invoice FSCLE in

     Tennessee for 40 transactions with an invoice value of $566,801.87.

  177.      On November 19, 2021, Frinzi and persons acting at Frinzi’s direction at Goodman

     Networks and/or GNET ATC in Texas used interstate wires to invoice FSCLE in

     Tennessee for 26 transactions with an invoice value of $337,010.22.




                                            33
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          35 of 154 Page 34 of 153 PageID 34



  178.      On November 19, 2021, Frinzi and persons acting at Frinzi’s direction at Goodman

     Networks and/or GNET ATC in Texas used interstate wires to invoice FSCLE in

     Tennessee for 44 transactions with an invoice value of $1,183,865.66.

  179.      On November 20, 2021, Frinzi and persons acting at Frinzi’s direction at Goodman

     Networks and/or GNET ATC in Texas used interstate wires to invoice FSCLE in

     Tennessee for 51 transactions with an invoice value of $768,633.47.

  180.      On November 21, 2021, Frinzi and persons acting at Frinzi’s direction at Goodman

     Networks and/or GNET ATC in Texas used interstate wires to invoice FSCLE in

     Tennessee for 73 transactions with an invoice value of $1,688,414.01.

  181.      On November 22, 2021, Frinzi and persons acting at Frinzi’s direction at Goodman

     Networks and/or GNET ATC in Texas used interstate wires to invoice FSCLE in

     Tennessee for 54 transactions with an invoice value of $1,546,341.97.

  182.      On November 22, 2021, Frinzi and persons acting at Frinzi’s direction at Goodman

     Networks and/or GNET ATC in Texas used interstate wires to invoice FSCLE in

     Tennessee for 45 transactions with an invoice value of $495,858.11.

  183.      On November 23, 2021, Frinzi and persons acting at Frinzi’s direction at Goodman

     Networks and/or GNET ATC in Texas used interstate wires to invoice FSCLE in

     Tennessee for 21 transactions with an invoice value of $463,804.43.

  184.      On November 23, 2021, Frinzi and persons acting at Frinzi’s direction at Goodman

     Networks and/or GNET ATC in Texas used interstate wires to invoice FSCLE in

     Tennessee for 99 transactions with an invoice value of $803,645.74.

  185.      On November 24, 2021, Frinzi and persons acting at Frinzi’s direction at Goodman

     Networks and/or GNET ATC in Texas used interstate wires to invoice FSCLE in



                                            34
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          36 of 154 Page 35 of 153 PageID 35



     Tennessee for 41 transactions with an invoice value of $243,087.95.        These wire

     transmissions came after Goodman Networks indicated it had no revenue and was

     effectively ceasing operations.

  186.      On November 26, 2021, Frinzi and persons acting at Frinzi’s direction at Goodman

     Networks and/or GNET ATC in Texas used interstate wires to invoice FSCLE in

     Tennessee for 77 transactions with an invoice value of $1,800,900.89.      These wire

     transmissions came after Goodman Networks indicated it had no revenue and was

     effectively ceasing operations.

  187.      On November 29, 2021, Frinzi and persons acting at Frinzi’s direction at Goodman

     Networks and/or GNET ATC in Texas used interstate wires to invoice FSCLE in

     Tennessee for 27 transactions with an invoice value of $101,970.62.        These wire

     transmissions came after Goodman Networks indicated it had no revenue and was

     effectively ceasing operations.

  188.      On November 30, 2021, Frinzi and persons acting at Frinzi’s direction at Goodman

     Networks and/or GNET ATC in Texas used interstate wires to invoice FSCLE in

     Tennessee for 75 transactions with an invoice value of $438,747.35.        These wire

     transmissions came after Goodman Networks indicated it had no revenue and was

     effectively ceasing operations.

  189.      On December 1, 2021, Frinzi and persons acting at Frinzi’s direction at Goodman

     Networks and/or GNET ATC in Texas used interstate wires to invoice FSCLE in

     Tennessee for 66 transactions with an invoice value of $756,986.49.        These wire

     transmissions came after Goodman Networks indicated it had no revenue and was

     effectively ceasing operations.



                                           35
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          37 of 154 Page 36 of 153 PageID 36



  190.      On December 2, 2021, Frinzi and persons acting at Frinzi’s direction at Goodman

     Networks and/or GNET ATC in Texas used interstate wires to invoice FSCLE in

     Tennessee for 54 transactions with an invoice value of $790,886.70.       These wire

     transmissions came after Goodman Networks indicated it had no revenue and was

     effectively ceasing operations.

  191.      On December 3, 2021, Frinzi and persons acting at Frinzi’s direction at Goodman

     Networks and/or GNET ATC in Texas used interstate wires to invoice FSCLE in

     Tennessee for 19 transactions with an invoice value of $244,651.91.       These wire

     transmissions came after Goodman Networks indicated it had no revenue and was

     effectively ceasing operations.

  192.      On December 6, 2021, Frinzi and persons acting at Frinzi’s direction at Goodman

     Networks and/or GNET ATC in Texas used interstate wires to invoice FSCLE in

     Tennessee for 61 transactions with an invoice value of $351,698.98.       These wire

     transmissions came after Goodman Networks indicated it had no revenue and was

     effectively ceasing operations.

  193.      On December 7, 2021, Frinzi and persons acting at Frinzi’s direction at Goodman

     Networks and/or GNET ATC in Texas used interstate wires to invoice FSCLE in

     Tennessee for 29 transactions with an invoice value of $599,038.40.       These wire

     transmissions came after Goodman Networks indicated it had no revenue and was

     effectively ceasing operations.

  194.      On December 8, 2021, Frinzi and persons acting at Frinzi’s direction at Goodman

     Networks and/or GNET ATC in Texas used interstate wires to invoice FSCLE in

     Tennessee for 30 transactions with an invoice value of $215,249.17.       These wire



                                           36
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          38 of 154 Page 37 of 153 PageID 37



     transmissions came after Goodman Networks indicated it had no revenue and was

     effectively ceasing operations.

  195.      On December 9, 2021, Frinzi and persons acting at Frinzi’s direction at Goodman

     Networks and/or GNET ATC in Texas used interstate wires to invoice FSCLE in

     Tennessee for 37 transactions with an invoice value of $485,178.37.        These wire

     transmissions came after Goodman Networks indicated it had no revenue and was

     effectively ceasing operations.

  196.      On December 10, 2021, Frinzi and persons acting at Frinzi’s direction at Goodman

     Networks and/or GNET ATC in Texas used interstate wires to invoice FSCLE in

     Tennessee for 17 transactions with an invoice value of $95,605.23.         These wire

     transmissions came after Goodman Networks indicated it had no revenue and was

     effectively ceasing operations.

  197.      On December 13, 2021, Frinzi and persons acting at Frinzi’s direction at Goodman

     Networks and/or GNET ATC in Texas used interstate wires to invoice FSCLE in

     Tennessee for 18 transactions with an invoice value of $79,885.97.         These wire

     transmissions came after Goodman Networks indicated it had no revenue and was

     effectively ceasing operations.

  198.      On December 14, 2021, Frinzi and persons acting at Frinzi’s direction at Goodman

     Networks and/or GNET ATC in Texas used interstate wires to invoice FSCLE in

     Tennessee for 9 transactions with an invoice value of $221,082.65.         These wire

     transmissions came after Goodman Networks indicated it had no revenue and was

     effectively ceasing operations.




                                           37
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          39 of 154 Page 38 of 153 PageID 38



  199.      On December 15, 2021, Frinzi and persons acting at Frinzi’s direction at Goodman

     Networks and/or GNET ATC in Texas used interstate wires to invoice FSCLE in

     Tennessee for 24 transactions with an invoice value of $207,918.65.            These wire

     transmissions came after Goodman Networks indicated it had no revenue and was

     effectively ceasing operations.

  200.      On December 16, 2021, Frinzi and persons acting at Frinzi’s direction at Goodman

     Networks and/or GNET ATC in Texas used interstate wires to invoice FSCLE in

     Tennessee for 3 transactions with an invoice value of $18,778.88.              These wire

     transmissions came after Goodman Networks indicated it had no revenue and was

     effectively ceasing operations.

  201.      On December 16, 2021, Frinzi and persons acting at Frinzi’s direction at Goodman

     Networks and/or GNET ATC sent an email from Texas to FSCLE in Tennessee for

     “November pallet moves” in the amount of $19,014.50. This invoice came after Goodman

     Networks indicated it had no revenue and was effectively ceasing operations.

  202.      On December 17, 2021, Frinzi and persons acting at Frinzi’s direction at Goodman

     Networks and/or GNET ATC in Texas used interstate wires to invoice FSCLE in

     Tennessee for 32 transactions with an invoice value of $182,826.93.            These wire

     transmissions came after Goodman Networks indicated it had no revenue and was

     effectively ceasing operations.

  203.      On December 18, 2021, Frinzi and persons acting at Frinzi’s direction at Goodman

     Networks and/or GNET ATC in Texas used interstate wires to invoice FSCLE in

     Tennessee for 5 transactions with an invoice value of $15,748.44.              These wire




                                            38
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          40 of 154 Page 39 of 153 PageID 39



     transmissions came after Goodman Networks indicated it had no revenue and was

     effectively ceasing operations.

  204.      On December 31, 2021, Frinzi and persons acting at Frinzi’s direction at Goodman

     Networks and/or GNET ATC sent an email from Texas to FSCLE in Tennessee for

     “December pallet moves” in the amount of $11,058.50. This invoice came after Goodman

     Networks indicated it had no revenue and was effectively ceasing operations.

  205.      On February 15, 2022, Frinzi and persons acting at Frinzi’s direction at Goodman

     Networks and/or GNET ATC sent an email from Texas to FSCLE in Tennessee for

     “January pallet moves” in the amount of $17,671.50. This invoice came after Goodman

     Networks indicated it had no revenue and was effectively ceasing operations.

  206.      On March 23, 2022, Frinzi and persons acting at Frinzi’s direction at Goodman

     Networks and/or GNET ATC sent an email from Texas to FSCLE in Tennessee for

     “February pallet moves” in the amount of $11,084.00. This invoice came after Goodman

     Networks indicated it had no revenue and was effectively ceasing operations.

  207.      On May 19, 2022, Frinzi and persons acting at Frinzi’s direction at Goodman

     Networks and/or GNET ATC sent an email from Texas to FSCLE in Tennessee for “April

     pallet moves” in the amount of $16,966.00. This invoice came after Goodman Networks

     indicated it had no revenue and was effectively ceasing operations.

  208.      In response to the above listed invoices and ones from August, September and

     October 2021, FSCLE made the following funds transfers into the 4352 Account on or

     after October 20, 2021:

         (a) October 20, 2021 - $4,131,075.76;

         (b) October 22, 2021 - $1,598,017.40;



                                             39
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          41 of 154 Page 40 of 153 PageID 40



        (c) October 27, 2021 - $4,233,157.45;

        (d) November 3, 2021 - $5,613,496.88;

        (e) November 5, 2021 - $746,004.21;

        (f) November 10, 2021 - $3,383,400.48;

        (g) November 12, 2021 - $955,848.76;

        (h) November 17, 2021 - $8,221,271.76;

        (i) November 19, 2021 – 1,327,211.91;

        (j) November 24, 2021 - $7,791,801.74;

        (k) December 3, 2021 - $4,901,076.92;

        (l) December 8, 2021 - $6,316,937.10;

        (m) December 15, 2021 - $3,434,746.04;

        (n) December 22, 2021 - $2,642,591.36;

        (o) December 28, 2021 - $5,895,234.17;

        (p) January 5, 2022 - $2,592,207.41;

        (q) January 10, 2022 - $1,133,205.56;

        (r) January 12, 2022 - $2,382,534.92;

        (s) January 19, 2022 - $2,725,387.45;

        (t) January 26, 2022 - $1,221,764.99;

        (u) February 3, 2022 - $2,313,243.07;

        (v) February 7, 2022 - $351,698.98;

        (w) February 9, 2022 - $1,395,071.17;

        (x) February 11, 2022 - $11,058.50;

        (y) February 16, 2022 - $710,493.08;



                                              40
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          42 of 154 Page 41 of 153 PageID 41



         (z) February 18, 2022 - $15,748.44;

         (aa)       March 29, 2022 - $17,671.50;

         (bb)       May 4, 2022 - $11,084.00; and

         (cc)       June 28, 2022 - $16,966.00.

  209.      As of February 16, 2022, FSCLE was entitled to receive $81,158,452.82 from

     Genesis-ATC, Goodman Networks, and/or GNET ATC.

  210.      The invoices from Goodman Networks and/or GNET ATC and the funds transfers

     to the 4352 Account were automated such that it took an affirmative action to disrupt the

     transactions and turn off the work flow.

  211.      Goodman Networks, GNET ATC, Frinzi and James Goodman were well aware that

     Goodman Networks and GNET ATC were effectively shutting down in late 2021 and

     affirmatively chose to leave the automated processes on thus prompting FSCLE to make

     payments and build a significant cash balance in the 4352 Account.

  212.      FSCLE did not have visibility into the 4352 Account and could not see transactions

     out of it, how the funds were being used or where the funds were going.

  213.      FSCLE made inquiries as to the status of payments back to FSCLE and Goodman

     Networks/GNET ATC personnel including Seago (at the direction of Frinzi) misled

     FSCLE to keep the payments coming despite Goodman Networks’, GNET ATC’s, Frinzi’s

     and James Goodman’s actual knowledge that Goodman Networks and GNET ATC were

     effectively defunct.

  214.      Frinzi, James Goodman and others perpetrated this fraud to build a huge cash

     balance in the 4352 Account that they could steal and then use for their own purposes.




                                                41
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          43 of 154 Page 42 of 153 PageID 42



         Collusion with Prosperity Bank to Steal the Funds in the 4352 Account

  215.      James Goodman, Jason Goodman, and others had been working to get control over

     the accounts at Prosperity Bank including the 4352 Account since August 2021, and Frinzi

     joined those efforts in October 2021.

  216.      In November 2021, Frinzi sent falsified corporate documents to Prosperity Bank

     (the Fifth Amended and Restated Bylaws) to accomplish a change in control over the

     accounts including the 4352 Account.

  217.      On November 22, 2021, Nicole Rodriguez with Prosperity Bank sent James

     Goodman the corporate resolutions that needed to be signed to give Jim Frinzi control over

     the accounts including the 4352 Account. Thus, James Goodman was aware of the effort

     to transfer control of the 4352 Account.

  218.      On December 1, 2021, employees of Prosperity Bank communicated with each

     other via email that Prosperity Bank was missing signed corporate resolutions authorizing

     transfer of the accounts from GNET ATC, MFS, and Goodman Networks.

  219.      Thus, Prosperity Bank sought signed resolutions from GNET ATC, MFS, and

     Goodman Networks authorizing the account changes sought by Frinzi.

  220.      Of course, after October 22, 2021, Goodman Networks only had one director and

     could not take valid corporate action as its then existing bylaws required three directors,

     and the existing bylaws and board resolutions did not allow its CEO to manage or control

     its bank accounts.

  221.      Prosperity Bank’s Bater Bates knew that Goodman Networks was in winddown and

     lacked the ability to execute the corporate documents requested by the treasury services

     personnel at Prosperity Bank.



                                                42
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          44 of 154 Page 43 of 153 PageID 43



  222.       Frinzi emailed Prosperity Bank’s Bater Bates on December 14, 2021 pressuring

     him to make the requested changes saying:

         I felt you were serious about our relationship, but the more I consider, it is
         not what was posed to me this morning. East West [Bank] is trying harder,
         and frankly Prosperity is disappointingly not what was presented to me.
         Doming Ng the president of East West invited to meet me in SF next week,
         AND they have managed to complete all the authorizations. Prosperity has
         been a Herculean effort to accomplish simple transition efforts that have been
         much easier with our other banks. You have been the worst actually. . . .
         Prosperity has delivered promises of customer service, but delivers hassle,
         red tape, and no solutions. Really disappointing.

  223.       On December 16, 2021, Jim Frinzi emailed Prosperity Bank’s Ana McCollum

     further pressuring Prosperity Bank saying:

         I really felt like you were the opposite of Wells Fargo, but Prosperity is an
         aspiring Wells Fargo, which is not a good thing. I think if you could
         experience how other banks I work with have handled the transition, you
         would also be extremely disappointed with Prosperity. Perhaps try some
         competitive analysis. East West ate your lunch, while you guys are still
         sending me forms, making things difficult. . . . After this experience, it is
         beyond my comprehension why the Goodman Family would have decided to
         do business with Prosperity.

  224.       On December 21, 2021, Prosperity Bank’s Ana McCollum emailed James

     Goodman again asking for authorization to take the banking actions demanded by Frinzi

     and asking for written corporate authorizations.

  225.       On December 23, 2021, Bater Bates forwarded Frinzi’s December 14 email to

     James Goodman in substance asking for James Goodman’s intervention and saying, “He

     [Frinzi] is not an authorized signor on the account which appears to be his frustration.”

  226.       On December 27, 2021, Prosperity Bank’s Ana McCollum emailed James

     Goodman and explained that Prosperity Bank could send checks for the various accounts

     to Jim Frinzi but that Jim Frinzi could not sign any checks unless or until Goodman




                                              43
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          45 of 154 Page 44 of 153 PageID 44



     Networks executed signed corporate resolutions adding him to the account as an authorized

     signor.

  227.         As of December 27, 2021, Goodman Networks only had one director, James

     Goodman, and could not take official action without two more directors. Thus, there was

     no way for Goodman Networks to adopt a board resolution to validly add Frinzi as an

     authorized signor on any of the accounts including the 4352 Account.

  228.         Bater Bates, Jim Frinzi and James Goodman had actual knowledge of the situation

     at Goodman Networks. Yet all three took actions to get Frinzi authorization on the

     accounts without proper authority from Goodman Networks.

  229.         On December 28, 2021, James Goodman sent an email to Ana McCollum at

     Prosperity Bank simply saying, “Could we add James Frinzi, please.” The same day

     McCollum emailed Frinzi, cc’ing James Freeman and Bater Bates again asking for signed

     corporate resolutions. Jim Frinzi, James Goodman and Bater Bates all knew that valid

     signed resolutions were not possible. Yet, all three worked to get Frinzi access anyway.

  230.         On January 6, 2022, Frinzi sent Prosperity Bank signed corporate resolutions as

     requested by Ana McCollum. However, at least one of those resolutions was not signed

     by the requisite number of signors and the resolutions claimed to have been signed on either

     December 9, 2021 or January 6, 2022 during which time there was only one director of

     Goodman Networks and no valid corporation action could be taken. Those resolutions also

     claimed that they had been originally executed and voted upon in October prior to the

     resignations of Jason Goodman and Jody Goodman from the Goodman Networks Board

     yet no such resolutions or any reference of them appear in the Goodman Networks

     corporate documents until January 2022.



                                              44
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          46 of 154 Page 45 of 153 PageID 45



  231.        After millions had already improperly left the 4352 Account, on February 14, 2022,

      Bater Bates sent the Goodman Networks corporate resolutions which he knew to be false

      to Ana McCollum saying “Let’s get in our folders.”

  232.        As of the filing of this Complaint, Bater Bates and Prosperity Bank continue to

      provide banking and lending services to the Goodmans and the companies controlled by

      them.

  233.        Prosperity Bank has admitted in deposition and court testimony in other matters

      that Bater Bates took improper actions in relation to Goodman Networks accounts in

      August 2022. Prosperity Bank has not yet been asked about Bater Bates actions in relation

      to adding Frinzi as a signatory to the accounts in late 2021 or early 2022.

  234.        Having obtained control over the accounts at Prosperity Bank including the 4352

      Account, Frinzi caused at a minimum the following transfers out of the 4352 Account to

      persons and entities other than FSCLE:

   Date                           Transferee                                    Amount
12/16/2021      Goodman Networks – Prosperity Account *1838                  $4,200,000.00
                              (Traced to AMRR)
12/22/2021      Goodman Networks – Prosperity Account *1838                  $2,000,000.00
12/29/2021                       Winstead PC                                  $160,450.60
 1/11/2022                          AMRR                                     $8,000,000.00
 1/12/2022                          AMRR                                     $8,000,000.00
 1/13/2022                          AMRR                                     $8,000,000.00
 1/14/2022                          AMRR                                     $7,925,000.00
 1/18/2022                          AMRR                                     $8,000,000.00
 1/28/2022                          AMRR                                     $4,075,000.00
  2/3/2022                         Hudson                                   $17,032,060.00
 2/18/2022            Connor Lee & Shumaker PLLC                              $250,000.00
 2/24/2022      RBC Capital Markets, LLC(traced to 18920 NW)                $2,000,000.00
 3/11/2022      Goodman Networks – Prosperity Account *1838                 $6,175,403.71
                            (traced to 18920 NW)
 6/28/2022      Goodman Networks – Prosperity Account *1838                   $28,755.50
  7/7/2022      Goodman Networks – Prosperity Account *1838                   $16,966.00
                                   TOTAL                                    $75,863,635.81

                                               45
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          47 of 154 Page 46 of 153 PageID 46




  235.      Upon information and belief, the December unauthorized transfers were

     accomplished fraudulently using the login credentials of two persons who no longer

     worked at Goodman Networks: (1) Jason Goodman and (2) a former accounting employee,

     who had been terminated effective December 1, 2021. Jason Goodman, who remained a

     signatory on Goodman Networks’ accounts even though he had resigned, had actual

     knowledge that his login credentials were being used to facilitate the unauthorized transfers

     and assented to their use. Jim Frinzi, Samantha Sondrup, and Stephanie Elmore

     fraudulently used the login credentials to effectuate the December transfers. Those

     transfers went from one Goodman Networks account to another before then being sent

     outside of the organization to another person or entity other than FSCLE. The December

     transactions required two factor authentication and the employee’s credentials who no

     longer worked at Goodman Networks was fraudulently used to effect those transfers.

     Frinzi oversaw and directed these transfers.

  236.      Some of the funds from the 4352 Account were used to pay off loans with

     Prosperity Bank and thus Prosperity Bank directly benefited from the theft in addition to

     retaining the banking business of the Goodmans and the companies controlled by them.

  237.      Without Prosperity Bank’s assistance in adding Frinzi as a signatory on the

     accounts and changing controls on the 4352 Account, it would have been difficult, if not

     impossible to transfer out the funds that were subsequently transferred.

  238.      On or about February 3, 2023, Prosperity Bank aided and abetted the fraudulent

     transfers out of the 4352 Account by raising the daily transfer limit on the 4352 Account




                                              46
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          48 of 154 Page 47 of 153 PageID 47



     to $17.5 million. Prosperity Bank in an email told Frinzi that this account change came

     from the “top of the house.”

  239.      Once Frinzi obtained control of the 4352 Account, he worked with the other

     Defendants to steal the FSCLE funds and launder them.

                         The AMRR – Multiband Global Scheme

  240.      On January 5, 2021, Jim Frinzi began looking for an Over-the-Counter Shell

     Corporation for the “Goodman Family Holdings” to purchase.

  241.      In the fall of 2021, Frinzi found AMRR, a dormant public shell corporation

     domesticated in Nevada, that could be purchased.

  242.      Frinzi consulted with Shalom Auerbach and others regarding the ultimate purchase

     of AMRR.

  243.      On December 1, 2021, Frinzi in Texas, acting on behalf of Multiband Global while

     also serving as CEO of Goodman Networks and GNET ATC, sent a letter of intent by email

     to Kavi Packiam at Layer 7 Capital in New York offering to purchase for $38 million the

     stock of OnePath. Frinzi represented that the “Buyer’s source of funds is cash” and that it

     proposes to pay the purchase price “in one lump sum payment.” This representation was

     false because the source of funds was not Multiband Global’s cash but instead was the

     accumulated funds in the 4352 Account at Goodman Networks that had been defalcated

     from FSCLE.

  244.      In December 2021, Frinzi caused $6,200,000 to be taken from the 4352 Account in

     Texas and be sent to a bank account in California at East West Bank in the name of

     Multiband Global.




                                             47
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          49 of 154 Page 48 of 153 PageID 48



  245.         On December 23, 2021, Frinzi used a portion of those funds to cause Multiband

     Global (another company controlled by him) to purchase 7,923,230 shares of common

     stock in AMRR (representing 71.5% of the outstanding common stock) and 600,000 shares

     of series A preferred stock in AMRR (representing 100% of the outstanding preferred

     stock).

  246.         A portion of the $6.2 million taken from the 4352 Account was used to pay for legal

     services related to the purchase of AMRR stock and other legal work.

  247.         Prior to the purchase, AMRR reported in its public filings $138.00 in assets.

  248.         Jim Frinzi became the CEO and Chairman of the Board of AMRR.

  249.         Frinzi was simultaneously the CEO of Goodman Networks, MFS, GNET ATC,

     Multiband Global and AMRR.

  250.         Shalom Auerbach was a member of the board of directors of AMRR after the

     purchase.

  251.         On January 1, 2022, Frinzi arranged for GNET ATC to “loan” $44 million to

     AMRR for the purchase of AMR Resources, which was an entity formed by OnePath to

     facilitate the transaction between it and AMRR.

  252.         The $44 million “loaned” to AMRR came from the 4352 Account in a series of

     transfers in January 2022. Each transfer occurred because of and with the assistance and

     direction of Frinzi, James Goodman and Prosperity Bank. None of the transfers were

     validly authorized.

  253.         In exchange for the $44 million “loan,” AMRR gave GNET ATC a Secured

     Promissory Note in the amount of $44 million (the “AMRR Note”) and a Security




                                               48
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          50 of 154 Page 49 of 153 PageID 49



     Agreement pledging substantially all of the assets of AMRR, but not the assets of AMR

     Resources.

  254.      James Goodman’s signature is on the AMRR Note, but he contends that his

     signature was forged.

  255.      Frinzi’s signatures are on the AMRR Note and Security Agreement.

  256.      Frinzi, James Goodman and Shalom Auerbach knew where the $44 million that

     funded the transaction actually came from – the 4352 Account that was FSCLE money.

  257.      The $44 million that was stolen from the 4352 Account went from Prosperity Bank

     in Texas to a bank account at East West Bank in California.

  258.      On February 1, 2022, AMRR paid OnePath $40,407,647 for 100% of the

     membership interests of AMR Resources using funds from the East West Bank account in

     California sending those funds to an account with Truist Bank in North Carolina.

  259.      The funds used for this purchase originally came from the 4352 Account.

  260.      On July 18, 2022, AMRR offered to pay $22 million of the AMRR Note in a letter

     to James Goodman and GNET ATC.

  261.      Upon information and belief, additional funds originally stolen from the 4352

     Account flowed to James Goodman.

  262.      By stealing the money from the 4352 Account, sending it first to Multiband Global

     and then to AMRR for the purchase of AMRR and then ultimately to OnePath for the

     purchase of AMR Resources, James Goodman, John Goodman, Jason Goodman, Jonathan

     Goodman and Jody Goodman effectively stole money from one of their companies to

     launder it through the purchase and sale of business units and distance those assets from

     Genesis-ATC, Goodman Networks or GNET ATC.



                                            49
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          51 of 154 Page 50 of 153 PageID 50



  263.         Pursuant to these transactions, funds continued to flow between and through these

     entities throughout 2022 into 2023.

  264.         On August 31, 2022, AMRR “purchased” all of the assets of Multiband Global in

     exchange for 1,000,000 shares of series A preferred stock in AMRR that was assigned to

     the Frinzi Family Trust and AMRR retired the 600,000 shares of series A preferred stock

     in AMRR held by Multiband Global and issued 600,000 in new series A convertible

     preferred stock to the Frinzi Family Trust, as designee for Multiband Global.

  265.         Frinzi was on all sides of this transaction.

  266.         Upon information and belief, the transactions were not conducted at arms-length or

     for reasonable commercial value but were another instance of laundering money using the

     purchase and sale of a business.

  267.         Frinzi is both a co-trustee of the Frinzi Family Trust and a beneficiary.

  268.         On November 16, 2022, AMRR entered into an Amendment to the Asset Purchase

     Agreement with Multiband Global; whereby: (i) the parties waived Multiband Global’s

     obligation to pay $1,000,000 in cash and AMRR’s obligation to issue to Multiband Global

     or its designee the 1,000,000 shares of series A preferred stock of AMRR; and (ii) in lieu

     thereof AMRR paid Multiband Global or its designee $100 for the assets of Multiband

     Global.

  269.         On August 16, 2022, AMRR and AMR Resources acquired the intellectual property

     of Goodman Networks, which had been laundered through 18920 NW, in return for the

     issuance of preferred stock valued at $10,000. This transaction was documented in a

     fraudulent Trademark Acquisition Agreement, which was executed by Jim Frinzi and




                                                 50
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          52 of 154 Page 51 of 153 PageID 51



     Evalina Pinkhasova. Joseph O’Bell and Steven Zakaryayev drafted the Trademark

     Acquisition Agreement with knowledge of the fraud, theft and laundering.

  270.      The fraudulent Trademark Acquisition Agreement was sent by email among Joseph

     O’Bell in Texas, Jim Frinzi in Texas, Samantha Sondrup in Texas, and Stephen Zakaryayev

     in New Jersey and Shalom Auerbach in New York.

  271.      On or about September 26, 2022, AMRR and 18920 NW entered into a Settlement;

     whereby, AMRR settled $22 million of the AMRR Note by issuing series B preferred

     shares of AMRR (valued at $1,200,000) to 18920 NW.

  272.      The fraudulent Trademark Acquisition Agreement was sent by email among Joseph

     O’Bell in Texas, Jim Frinzi in Texas, Samantha Sondrup in Texas, and Stephen

     Zakharyayev in New Jersey and Shalom Auerbach in New York.

  273.      The ultimate beneficiaries of this transaction on behalf of 18920 NW were Steven

     Zakharyayev, Evalina Pinkhasova, Neil Auerbach, Shalom Auerbach and/or Auerbach

     Partners.

  274.      As with the other transactions there was no real value given, no arms-length

     commercial negotiations and the original source of the funds were the stolen FSCLE money

     from the 4352 Account.

  275.      Steven Zakharyayev, Evalina Pinkhasova, Neil Auerbach, Shalom Auerbach and/or

     Auerbach Partners knew or reasonably should have known that the source of the funds paid

     to them came from stolen FSCLE money from the 4352 Account.

  276.      On October 4, 2022, in furtherance of the enterprise, John Goodman, acting through

     GTH, entered into a Non-Disclosure and Confidentiality Agreement with AMRR for

     “exploring a potential business relationship.”



                                             51
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          53 of 154 Page 52 of 153 PageID 52



  277.      On October 19, 2022, John Goodman, acting through GTH, offered to purchase the

     construction business of OnePath that had been acquired by AMRR for $1.8 million. The

     construction business of OnePath was valued in the AMRR acquisition at approximately

     1/3 of the purchase price or approximately $13 million. This purchase was frustrated after

     potential investors learned about the involuntary bankruptcy case of Goodman Networks.

     Nonetheless, it further demonstrates that the Goodmans were the intended beneficiaries of

     the AMRR transactions.

  278.      On November 2, 2022, AMRR (through AMR Resources) wired a total of $700,000

     to Goodman Networks.

  279.      John Goodman was the recipient of those funds. He took $450,000 of those funds

     for his own purposes and paid the remainder to a law firm to represent his interests.

  280.      The source of the $700,000 ultimately paid to John Goodman were the stolen

     FSCLE funds and he knew or should have known that as there was no legitimate basis for

     AMRR to be paying John Goodman the $700,000.

  281.      On November 4, 2022, AMRR amended and restated its Articles of Incorporation

     and changed its name to MBG Holdings Inc. Multiband Global has been renamed as HSB

     Holdings, LLC, and Jim Frinzi is the sole member of Multiband Global.

  282.      In September 2023 with AMRR cratering, Shalom Auerbach, through a special

     purpose entity named Alliance Partners, bought the construction business of OnePath that

     had been acquired by AMRR/AMR Resources for approximately $5,000,000, payable

     $300,000 upfront and the remainder payable pursuant to a hope note to the Goodman

     Networks bankruptcy trustee.




                                             52
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          54 of 154 Page 53 of 153 PageID 53



  283.       From the more than $44 million FSCLE dollars stolen from the 4352 Account,

     James Goodman, John Goodman, Jim Frinzi, the Frinzi Family Trust, Steven Zakharyayev,

     Evalina Pinkhasova, Neil Auerbach, Shalom Auerbach, Auerbach Partners and the

     companies and entities controlled by them including but not limited to the other named

     Defendants benefited by receiving those stolen funds after laundering them through a series

     of fraudulent corporate transactions.

                                 The Auerbach/Alliance/Hudson Scheme

  284.       On December 9, 2021, Jim Frinzi (in Texas) and Shalom Auerbach (in New York)

     spoke by phone and exchanged texts discussing a “path forward” to get as much of the

     value and cash out of Goodman Networks, GNET ATC and Genesis-ATC.

  285.       On December 29, 2021, Frinzi texted James Goodman saying, “Also I have a way

     to monetize your bonds legally without blow back. It’s very smart, and ties into the s-Corp

     strategy. It’s very smart.” James Goodman did not immediately respond.

  286.       On December 30, 2021, Frinzi called James Goodman and when there was no

     answer texted James Goodman saying, “I can sell all of your bonds [in Goodman

     Networks] for .15 next week. I believe that would get you 4.8 million personally. It would

     be a completely 3rd party unrelated transaction.”

  287.       The buyer that Frinzi was talking about was Shalom Auerbach.

  288.       James Goodman texted Frinzi on December 30, 2021 saying, “Ask him to buy my

     bonds at .24 cents . . .”

  289.       On January 3, 2022, Jim Frinzi initiated an email chain between himself (in Texas),

     Shalom Auerbach (in New York) and attorneys for James Goodman (in Texas) aimed at

     facilitating a sale of James Goodman’s bonds in Goodman Networks.



                                              53
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          55 of 154 Page 54 of 153 PageID 54



  290.         Shalom Auerbach responded to that email chain on January 4, 2022 saying,

     “Checking in if you guys are still interested in moving forward if not please let me know.”

  291.         Negotiations and discussions via email, text and telephone between Shalom

     Auerbach in New York and the various people including Frinzi and James Goodman in

     Texas continued through January 2022.

  292.         On January 28, 2022, Anthony Rao, attorney for James Goodman located in

     Connecticut, contacted Asperion Wealth in San Antonio to serve as a broker for a sale of

     $32 million in Goodman Network bonds at 24 cents per unit to Shalom Auerbach.

  293.         Asperion Wealth responded on January 31, 2022 to Goodman’s attorneys saying,

     “Please transfer the assets to a Broker Dealer that will facilitate this transfer. This is not

     in our line of business and are not comfortable with the transaction.” (emphasis

     added).

  294.         Goodman’s attorneys forwarded that message to Shalom Auerbach who responded

     on January 31, 2022 saying, “What other path can we take to get this completed?”

  295.         The bonds to be sold were transferred from Asperion in San Antonio, Texas to San

     Blas Securities in Atlanta.

  296.         Upon information and belief, James Goodman and/or Jim Frinzi had a pre-existing

     relationship with San Blas Securities. San Blas Securities was willing to facilitate the sale

     and was paid in stolen FSCLE funds.

  297.         The original draft of the Bond Purchase Agreement showed the bond purchaser as

     Auerbach Partners LP. That references was deleted and Alliance Texas Holdings, LLC, a

     shell company for the Auerbachs, Steven Zakharyayev and Evalina Pinkhasova,

     (“Alliance”) inserted in its place.



                                              54
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          56 of 154 Page 55 of 153 PageID 55



  298.      Alliance’s registered agent is Steven Zakharyayev and its principal place of

     business is in the same town in New Jersey in which Zakharyayev lives. Upon information

     and belief, it was a shell limited liability company owned and controlled by Zakharyayev.

  299.      Zakharyayev is an attorney for Shalom Auerbach.

  300.      The Funds Flow memorandum for the transaction showed the “agent” for purposes

     of receiving the bonds and distributing the funds to be Hudson.

  301.      Hudson is a limited liability company owned and controlled by Neil Auerbach.

  302.      On February 3, 2022, Frinzi caused $17,032,060 to be taken from the 4352 Account

     at Prosperity Bank in Texas (FSCLE money) and then be sent to Citizens Commercial

     Banking in Rhode Island in the name of Hudson.

  303.       Hudson then paid $10,570,912.00 to James Goodman through GIH by sending the

     money back to Texas at Texas Partners Bank.

  304.      Hudson paid $561,041.00 to Genesis-ATC by sending the funds back to Texas at

     Texas Partners Bank. Upon information and belief, this amount also went to James

     Goodman.

  305.      Hudson then paid Auerbach Partners $5,900,107.00 by sending the money to

     Citibank in New York. Upon information and belief Shalom Auerbach and Neil Auerbach

     were the beneficiaries of this payment of stolen FSCLE funds.

  306.      Hudson, Auerbach Partners, Neil Auerbach, and Shalom Auerbach maintained two

     sets of flow of funds records for the transaction: one that showed the complete flow of

     funds from Goodman Networks to James Goodman’s entities and another that showed only

     the partial flow of funds between Alliance and James Goodman’s entities, which was

     formalized into a Funds Flow Memorandum and fraudulently concealed Goodman



                                             55
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          57 of 154 Page 56 of 153 PageID 56



     Networks and the 4352 Account as the source of funds for the bond purchase. The complete

     flow of funds was fraudulently concealed by James Goodman and the Auerbach parties

     from attorneys involved in the transaction and only the partial flow of funds was shared to

     everyone. Had the true nature of the transaction been disclosed to the attorneys, they would

     not have participated in the transactions.

  307.      On February 4, 2022, Neil Auerbach expressly “Approved!” the complete flow of

     funds record by email sent from Florida to his Hudson associates and Shalom Auerbach in

     New York.

  308.      In February 2022, the partial flow of funds record and the derived Funds Flow

     Memorandum, which fraudulently concealed the complete nature of the transactions, were

     sent by emails among participants in at least Florida, Connecticut, Georgia, Texas, and

     New York.

  309.      The bond transaction consummated with Alliance/the Auerbachs was prohibited by

     the bond indenture, which required redemption of bonds by Goodman Networks to be done

     pro rata and through the indenture trustee.

  310.      The Bond Purchase Agreement, dated February 3, 2022, contained a provision that

     stated: “Purchaser [Alliance Texas] is aware of, and Seller [GIH and Genesis] has fully

     disclosed to Purchaser, the current financial and operational condition of GNI, including,

     without limitation, that GNI has no material assets, employees or operations, that GNI’s

     liabilities exceed GNI’s assets, that GNI may be considered insolvent and that GNI is very

     likely to default on future payments with respect to the GNI Bonds . . .”

  311.      At the time of the sale of Goodman Networks bonds in February 2022, Goodman

     Networks was insolvent. Frinzi wrote a memo documenting as such on November 23,



                                              56
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          58 of 154 Page 57 of 153 PageID 57



     2021. James Goodman and his attorneys further made this representation around the same

     time as the bond sale in a stock sale agreement to 18920 NW.

  312.        Shalom Auerbach, Neil Auerbach, Alliance, Hudson and Auerbach Partners were

     aware of Goodman Networks’ insolvency.

  313.        The funds to be paid for the bonds did not originate from Alliance, Hudson or

     Auerbach Partners but instead came from the 4352 Account.

  314.        The Auerbach parties moved forward with the bond transaction anyway even after

     Asperion indicated that it was not comfortable with the transaction because the Auerbach

     parties would be paid $5,900,107.00 for facilitating the transaction.

  315.        Shalom Auerbach participated in the transaction through numerous emails, texts

     and phone calls between New York and Texas.

  316.        Neil Auerbach is listed on the Bond Sale Agreement as the contact person at

     Alliance and signed the Bond Sale Agreement as the purchaser.

  317.        The fact that Auerbach Partners attempted to insulate themselves from liability for

     this transaction by removing their name from the Bond Sale Agreement, using Alliance as

     the nominal purchaser and then using Hudson as the agent to distribute the funds shows

     that they knew or should have known that this transaction was illegitimate.

  318.        Based on the text messages involving Frinzi and others, the Auerbachs and their

     companies knew that the funds to be used for this transaction came from stolen FSCLE

     funds.

  319.        Based on text messages between Frinzi and James Goodman, both Frinzi and James

     Goodman knew the funds to be used for this transaction came from the FSCLE funds in

     the 4352 Account.



                                              57
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          59 of 154 Page 58 of 153 PageID 58



                                 The 18920 NW Scheme

  320.      On September 15, 2021, James Goodman sent Goodman Networks, which he

     controlled, a letter requesting Goodman Networks purchase his shareholdings in Goodman

     Networks for $25,000,000.

  321.      Attorneys for James Goodman became aware of James Goodman’s request to have

     his shares purchased and advised against the transaction because Goodman Networks was

     insolvent.

  322.      With knowledge that he could not sell his shares in Goodman Networks through a

     legitimate commercial transaction, on January 14, 2022, James Goodman texted Jim Frinzi

     saying, “How can I pull $3.5m from Goodman [Networks].”

  323.      Frinzi responded to James Goodman the same day saying, “I will figure it out. No

     problem. I’ll have it done legally by Tuesday or Wednesday. I will get you the transaction

     by Monday. I’ve already kind of thought about this. After you read these messages

     please delete them.” (emphasis added).

  324.      James Goodman responded by saying, “I delete them at the end of the day . . .”

  325.      On January 17, 2022, Frinzi texted James Goodman saying, “What do you think

     about some of your shares in Goodman, for $4 million cash. You do a 3rd party share sale.

     The buyer will monetize its proportional share of the NOL monetizing program. Otherwise

     I have a plan through Antigua.”

  326.      James Goodman responded by text the same day saying, “My Goodman [Networks]

     stock? I’m okay selling Goodman stock and Goodman Preferred stock.”

  327.      Frinzi then texted saying, “Ok. I think that is the cleanest way.”




                                             58
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          60 of 154 Page 59 of 153 PageID 59



  328.         On January 17, 2022, Frinzi texted James Goodman saying, “I will get you 80

     million in 4 years.” To which James Goodman responded, “I will be dreaming of the $80

     million.”

  329.         Frinzi then texted James Goodman saying, “Well if you get 8 from Shalom and 4

     for your stock, I’d only need 8 more for this year to stay on track.” James Goodman

     responded with “True!!”.

  330.         On January 19, 2022, James Goodman texted Frinzi asking, “How much cash does

     Goodman have on hand and how much does GNET ATC have?”

  331.         Frinzi responded the same day texting James Goodman, “I think between them

     probably 60 something. We should catch up though. Do you have time tomorrow

     afternoon or Friday to meet up. I have a plan to get most money back to you, without

     exposing you are the beneficiary and a reasonable settlement for creditors.” (emphasis

     added).

  332.         On January 20, 2022, Frinzi texted James Goodman saying, “Just FYI your Antigua

     company that is owned by Holland Partners is called HGP Venture Fund Ltd. Our lawyer

     is the custodial agent. Steven the buyer can close Monday. He would need a copy of one

     of the shares. $20 million in preferred for $4 million cash. This is who wants the pref.

     shares. Steven Zakharyayev.”

  333.         Steven Zakharyayev is an attorney in New York and Florida with ties to Shalom

     Auerbach.

  334.         On January 21, 2022, Steven Zakharyayev initiated contact directly with James

     Goodman to “purchase” James Goodman’s preferred shares of Goodman Networks.




                                              59
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          61 of 154 Page 60 of 153 PageID 60



  335.      Rather than directly purchase the preferred shares in his own name, Steven

     Zakharyayev and his wife Evalina Pinkhasova chose to have a Florida shell limited liability

     company, 18920 NW, be the front for the purchase of the shares.

  336.      In response to the “inquiry” from Steven Zakharyayev on behalf of 18920 NW,

     multiple entities controlled by James Goodman and owning the preferred stock transferred

     4,032,918 shares of preferred stock of Goodman Networks to 18920 NW.

  337.      In paragraph 3.04(g) of the agreement selling the shares, James Goodman disclosed

     “Buyer is aware of, and Seller has fully disclosed to Buyer, the current financial and

     operational condition of the Company, including that the Company’s liabilities exceed the

     Company’s assets, and that the Company may be considered insolvent.” This language

     was negotiated with changes between the first draft and the final draft. Therefore,

     Zakharyayev knew that the shares were worthless when 18920 NW purchased them.

     Despite that written disclosure, the transaction moved forward anyway.

  338.      The emails negotiating the sale of the shares went between Texas and New York

     and included James Goodman, Steven Zakharyayev and others.

  339.      The transaction on paper was allegedly for consideration of a payment by 18920

     NW of $12,381,602 however, the share price for these sales bore no correlation to the value

     of Goodman Networks and ranged from $1.00 per share to $4.05 per share.

  340.      18920 NW did not use its own funds to “purchase” the preferred stock rather the

     money used came from the FSCLE funds in the 4352 Account.

  341.      On February 28, 2022, Frinzi texted James Goodman about the sale of James

     Goodman’s shares saying, “He [Shalom Auerbach] wants to close today as well. He




                                             60
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          62 of 154 Page 61 of 153 PageID 61



     wants you to close through Steven though. You can definitely close today. Just call

     him.” (emphasis added).

  342.        James Goodman texted Frinzi right back saying, “Then I need a document from

     them I can sign, buying the share $4 dollars per share . . . I will sign it.”

  343.        On March 1, 2022, James Goodman texted Frinzi saying, “Steven is trying to get

     me sell at $3.00 . . . tell him $3.50. He will get his money back and then some . . .”

     (emphasis added).

  344.        On March 9, 2022, Steven Zakharyayev (in New York) and Jim Frinzi (in Texas)

     communicated by phone and email to put in place the next step in this scheme: an alleged

     “redemption” of the shares that 18920 NW had just purchased. Zakharyayev wrote, “As a

     follow up to our call, the parties have agreed to settle 18920 NW 11th LLC’s demand for

     redemption and other rights entitled to it via a promissory note in the amount of

     $50,000,000 at 8% interest per annum with a maturity date of one year from the effective

     date.”

  345.        On March 9, 2022, 18920 NW, acting through Evelina Pinkhasova, made a demand

     to Goodman Networks for an alleged mandatory redemption of 4,032,918 preferred shares

     in Goodman Networks.

  346.        There was no right to a mandatory redemption that could be exercised.

  347.        However, the “purchase” of the shares which were disclosed to have no value

     followed closely by the demand for a redemption shows the true purpose of the entire

     scheme: to create a commercial vehicle to demand money from GNET ATC and/or

     Goodman Networks.




                                                61
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          63 of 154 Page 62 of 153 PageID 62



  348.      Despite there being no right to a redemption, on March 10, 2022, Frinzi and James

     Goodman, acting on behalf of Goodman Networks/GNET ATC, “purchased” the

     4,032,918 preferred shares in Goodman Networks in exchange for a $50 million note (the

     “18920 Note”).

  349.      The same day the 18920 Note was issued by Goodman Networks, Frinzi and James

     Goodman, acting on behalf of Goodman Networks/GNET ATC, transferred the following

     to 18920 NW among others: (1) $14,500,000; (2) a $22,000,000 Note Receivable from

     AMRR; (3) LSU DAS rights and (4) trademarks. In return, 18920 NW released Goodman

     Networks of the 18920 Note.

  350.      This entire transaction was fraudulent and designed to launder money out of the

     4352 Account.

  351.      The emails and wires related to this transaction went between Texas for

     Frinzi/James Goodman and New York or Florida for 18920 NW.

  352.      On April 6, 2022, Frinzi, James Goodman and 18920 NW allegedly entered into a

     second settlement agreement that had the same terms as the March 10, 2022 settlement but

     also included a $4.5 million note payable by MFS to 18920 NW.

  353.      Both the March 10 and the April 6 transaction were fraudulent and nothing more

     than a way to paper the flow of money from the 4352 Account into the accounts of others.

  354.      On March 11, 2022, Frinzi caused $6,175,403.71 to be transferred out of the 4352

     Account in Texas ultimately to 18920 NW’s bank account at Bank of America in North

     Carolina.

  355.      In total more than $8,175,403.71 in FSCLE funds was sent to 18920 NW’s account

     at Bank of America in North Carolina.



                                             62
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          64 of 154 Page 63 of 153 PageID 63



  356.       All involved knew that the funds were from FSCLE and the 4352 Account.

  357.       Upon information and belief, a portion of the funds from these transactions went to

     James Goodman, a portion went to John Goodman, a portion went to Steven Zakharyayev

     and Evelina Pinkhasova as the middlemen and a portion went to Shalom Auerbach.

  358.       On August 16, 2022, 18920 NW and AMRR/AMR Resources entered into a

     Trademark Acquisition Agreement; whereby, AMRR/AMR Resources acquired the

     trademarks held by Goodman Networks and purportedly transferred to 18920 NW in return

     for issuing $10,000 worth of preferred shares in AMRR.

  359.       Frinzi signed this agreement as did Evelina Pinkhasova.

  360.       On September 26 and 27, 2022, 18920 NW and AMRR entered into a Confidential

     Settlement Agreement and Release. The terms of the agreement provided that 18920 NW

     would deliver the $22 million note issued by AMRR to GNET ATC/Goodman Networks

     in return for preferred shares of AMRR equal to $1.2 million.

  361.       All of these transactions are fraudulent and designed to launder cash through them

     to their beneficiaries.

  362.       Through this scheme in excess of $8,175,403.71 in stolen FSCLE funds were

     laundered to James Goodman, John Goodman, Jim Frinzi, Steven Zakharyayev, Evelina

     Pinkhasova, Shalom Auerbach and entities controlled by them including but not limited to

     18920 NW, GNET ATC and AMRR.

                  The Goodmans Pull Cash Out of Goodman Networks

  363.       Based on Frinzi’s November 23, 2021 memo, Goodman Networks was insolvent.

  364.       On December 13, 2021, James Goodman Texted Frinzi saying, “I need $200,000

     from Goodman.”



                                             63
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          65 of 154 Page 64 of 153 PageID 64



  365.        The only source of those funds or any transfer of funds as of December 2021 were

     the FSCLE funds.

  366.        Frinzi responded by saying that he would send the funds to James Goodman and

     asked him where he wanted the funds to go.

  367.        James Goodman directed that the $200,000 be sent to one of his companies.

  368.        Upon information and belief, James Goodman received $200,000 in stolen FSCLE

     funds.

  369.        On December 21, 2021, James Goodman texted Jim Frinzi saying, “Leave all my

     guys on Goodman [Networks] payroll until April.”

  370.        Frinzi texted back that “I have them taken care of.”

  371.        On December 21, 2021, James Goodman sent another text to Frinzi saying, “What

     are we doing with my people . . . they are telling me this Friday is there [sic] last day.

     What’s the plan?”

  372.        Frinzi responded by text saying, “Pre paid [sic] contracts. They are getting a bunch

     of upfront contractor money plus severance.”

  373.        Upon information and belief, Jonathan Goodman and Jody Goodman were paid six

     figure sums from Goodman Networks in “severance benefits”, and “upfront contractor

     money.”

  374.        At the time of those payments, Jody and Jonathan Goodman had resigned from the

     Goodman Networks board, were well aware of the financial situation at Goodman

     Networks and accepted the payments anyway.

  375.        The payments that went to them were ultimately from the FSCLE funds in the 4352

     Account.



                                               64
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          66 of 154 Page 65 of 153 PageID 65



  376.      On January 4, 2022, James Goodman texted Jim Frinzi saying, “I need Goodman

     to pay $258k in rents this month.”

  377.      James Goodman knew that Goodman Networks was defunct at that point in time

     and the only remaining source of cash was the FSCLE funds yet he asked for the payments

     of “rents” anyway.

  378.      Frinzi facilitated the payment of $258,000 to James Goodman or entities controlled

     by him.

  379.      On January 22, 2022, James Goodman texted Frinzi saying, “Also I need my son

     full severance paid. $200,000 severance.”

  380.      James Goodman knew when he asked for this that Goodman Networks was defunct

     and the only source for such a payment was the FSCLE funds.

  381.      The son James Goodman was referring to is Jake Goodman.

  382.      Jake Goodman resigned from the “Goodman Board” on June 8, 2021.

  383.      Jake Goodman was presented with a consulting agreement with Goodman

     Networks on December 7, 2021 that would pay him $200,000.

  384.      Jake Goodman never signed that agreement and provided no “consulting services”

     to Goodman Networks on or after December 7, 2021 but took $200,000 from Goodman

     Networks first being paid $50,000 in December 2021 or January 2022.

  385.      James Goodman texted Frinzi on January 25, 2022 saying, “Also pay Jake G. the

     $150k severance this week.”

  386.      Upon information and belief, Frinzi caused Jake Goodman to be paid a total of

     $200,000 in “severance” using stolen FSCLE funds.




                                            65
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          67 of 154 Page 66 of 153 PageID 66



  387.      Jake Goodman knew or should have known the $200,000 “severance” payment was

     illegitimate, that Goodman Networks was defunct and insolvent and the payment came

     from FSCLE funds.

  388.      James Goodman, Jody Goodman, and Jason Goodman caused Goodman Networks

     to pay $491,725 to Jason Goodman. Upon information and belief, the source of these

     payments was the FSCLE funds from the 4352 Account.

  389.      James Goodman, Jody Goodman, and Jason Goodman caused Goodman Networks

     to pay $377,967.39 to Jody Goodman. Upon information and belief, the source of these

     payments was the FSCLE funds from the 4352 Account.

  390.      James Goodman and Frinzi caused Goodman Networks to pay at least $240,681.39

     to People NQ, Inc., a Texas corporation, which James Goodman wholly owned. Upon

     information and belief, the source of these payments was the FSCLE funds from the 4352

     Account.

  391.      Frinzi caused Goodman Networks to pay at least $396,853.74 to World Conquest,

     LLC, a Wyoming limited liability, which Frinzi wholly owned. Upon information and

     belief, the source of these payments was the FSCLE funds from the 4352 Account.

                                 The Endeavor Scheme

  392.      James Goodman formed Endeavor in January 2022.

  393.      Endeavor is owned by GIH.

  394.      James Goodman used stolen FSCLE funds generated from the bond sale with the

     Auerbachs and the stock sale with 18920 NW to purchase several legitimate businesses.




                                           66
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          68 of 154 Page 67 of 153 PageID 67



  395.       On May 31, 2022, Endeavor entered into an asset purchase agreement with

     Genesis-ATC whereby Genesis-ATC contributed its assets, acquired from OnePath for no

     consideration, in exchange for Endeavor assuming Genesis-ATC’s liabilities.

  396.       Thus, in essence Endeavor is the successor to Genesis-ATC capitalized by GIH

     with stolen FSCLE funds.

  397.       James Goodman controls GIH and the portfolio of companies under it including

     Endeavor.

                               Prosperity Bank’s Loan Scheme

  398.       In 2020, James Goodman, through two affiliated Genesis companies, borrowed

     approximately $5 million from Prosperity Bank on two notes (the “Genesis Loans”).,

     which was secured by Genesis’s assets and a guaranty by James Goodman.

  399.       In October 2021, James Goodman sought to transfer his business assets at Genesis

     to Endeavor and needed Prosperity Bank to allow the transfer of assets free and clear of

     the liens resulting from the Genesis Loans.

  400.       James Goodman and Bater Bates caused Goodman Networks to pledge the 3992

     Account as substitution collateral for the Genesis Loans, but the 3992 Account contained

     insufficient funds to satisfy Prosperity Bank’s collateral demand.

  401.       At the time of the pledge of the 3992 Account, Goodman Networks lacked an

     operative board of directors and James Goodman was not an officer; therefore, the pledge

     was unauthorized. Bates Bates, Prosperity Bank, and James Goodman had knowledge of

     this lack of authority.




                                             67
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          69 of 154 Page 68 of 153 PageID 68



  402.      James Goodman and Bater Bates then caused $236,883.48 to be transferred from

     the 4352 Account, holding funds from FSCLE, to the 3992 Account to satisfy Prosperity

     Bank’s collateral demand.

  403.      At the time of the $236,883.48 transfer, Goodman Networks lacked an operative

     board of directors and James Goodman was not an officer; therefore, the transfer was

     unauthorized. Bates Bates, Prosperity Bank, and James Goodman had knowledge of this

     lack of authority.

  404.      With the pledge of the 3992 Account and the transfer of the $236,883.48, Bater

     Bates and Prosperity Bank allowed Genesis entities to transfer their assets to GIH or

     Endeavor, free and clear of the liens resulting from the Genesis Loans.

  405.      From January 2021 through August 2022, Goodman Networks caused $539,974.17

     to be paid on the Genesis Loans. Upon information and belief, a portion of these payments

     were made from funds from the 4352 Account.

  406.      On August 15, 2022, Bater Bates and Prosperity Bank became concerned with

     Goodman Networks’ financial condition and the potential for a bankruptcy case and

     determined to sweep the 3992 account to pay off the Genesis Loans.

  407.      The sweep resulted in $4,463,804.68 being transferred from Goodman Networks’

     3992 Account to pay off the Genesis Loans owed to Prosperity Bank.

  408.      Prosperity Bank has testified under oath that its actions including those of Bater

     Bates were improper.

  409.      As of October 2023, FSCLE recently learned that Prosperity Bank was showing

     one or more loans involving James Goodman and his Genesis entities as being paid off or

     restructured with either GIH or Endeavor.



                                             68
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          70 of 154 Page 69 of 153 PageID 69



  410.       Upon information and belief, some or all of the funds used in that pay off came

     from the FSCLE funds stolen by the Defendants and laundered back to them. Thus, the

     overall scheme of stealing the funds and laundering them continues almost two years after

     the scheme began.

         Efforts to Interfere with the Goodman Networks Involuntary Bankruptcy

  411.       Despite all of the texts and emails between the various Defendants in late 2021 and

     early 2022 discussing an alleged impending bankruptcy, no Goodman or Frinzi controlled

     entity filed for bankruptcy protection in 2021 or 2022.

  412.       Certain bondholders owed money by Goodman Networks filed an involuntary

     chapter 11 petition against Goodman Networks in the United States Bankruptcy Court for

     the Northern District of Texas (the “Bankruptcy Court”) on September 6, 2022, and FSCLE

     joined in that involuntary petition.

  413.       The Goodman Networks bankruptcy is styled as In re: Goodman Networks, Inc.,

     Case No. 22-31641 (N.D. TX Bkrtcy.)

  414.       John Goodman, James Goodman, Frinzi, and their businesses knowingly and

     fraudulently acted to conceal property, make false statements and documents, and frustrate

     the fair administration of the bankruptcy case.

  415.       No claims are brought in this case against Goodman Networks.

                            Concealment of the UFS Receivable

  416.       While contemplating bankruptcy, James Goodman and Frinzi, acting in their

     personal capacities and as officers or directors of Goodman Networks and GNET ATC,

     knowingly and fraudulently transferred funds out of the 4352 Account for their own




                                             69
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          71 of 154 Page 70 of 153 PageID 70



     personal uses and concealed those funds and transactions from FSCLE and the other

     creditors of Goodman Networks.

  417.       In June 2021, Goodman Networks sold its e-commerce business to James

     Goodman (UFS) and entered into a transition services agreement dated June 4, 2022;

     whereby, Goodman Networks would provide services to UFS in return for remuneration.

  418.      From June 2021 through June 2022, Goodman Networks performed services valued

     at $6,618,639 (the “UFS Receivable”) per the books and records of Goodman Networks.

  419.      James Goodman and UFS did not pay the UFS Receivable, but, instead, directed

     Frinzi, John Goodman, and Goodman Networks to write-off the UFS Receivable as

     uncollectible.

  420.      Frinzi and John Goodman knowingly and fraudulently caused or directed Goodman

     Networks to falsify its books and records by writing of the UFS Receivable to conceal

     James Goodman’s and UFS’ obligations to Goodman Networks.

  421.      John Goodman, acting for Goodman Networks, knowingly and fraudulently caused

     Goodman Networks to file bankruptcy schedules and statements of financial affairs without

     listing the UFS Receivable to conceal James Goodman’s and UFS’ obligations to Goodman

     Networks.

          Concealment of the GTH Stock and John Goodman Put Obligation

  422.      In June 2020, Goodman Networks sold its professional services and infrastructure

     businesses to John Goodman (Goodman Telecom Holdings, LLC) and was issued

     1,516,519 Class E Units in Goodman Telecom Holdings, LLC, which was valued at $8

     million, and granted a put option from John Goodman, which obligated John Goodman to

     purchase Goodman Networks’ Class E Units at $8 million.



                                            70
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          72 of 154 Page 71 of 153 PageID 71



  423.      In May 2022, John Goodman invited Frinzi to his home and requested that he resign

     from Goodman Networks, and Frinzi agreed to resign immediately.

  424.      On or around August 2022, Goodman Telecom Holdings, LLC, sought to convert

     from a limited liability company to a corporation, being GTH, and in doing so sought to

     retire its membership units and issue replacement securities in GTH (the “GTH

     Conversion”). The GTH Conversion would also have the effect of release John Goodman’s

     put obligation to Goodman Networks.

  425.      Goodman Networks’ consent to the GTH Conversion was mandatory; however,

     Goodman Networks had no officers or directors to consent to the GTH Conversion.

  426.      John Goodman, knowing that Frinzi had resigned from Goodman Networks,

     requested Frinzi sign on behalf of Goodman Networks the Shareholders Agreement that

     would effectuate the GTH Conversion.

  427.      Frinzi, knowing he had no authority to act on behalf of Goodman Networks,

     fraudulently signed an early version of the Shareholders Agreement on behalf of Goodman

     Networks on or around August 2022 (the “Frinzi GTH Consent).

  428.      John Goodman and James Goodman requested Frinzi send them a written

     resignation letter with an effective resignation date of September 4, 2022, to Goodman

     Networks’ counsel in Florida and their consultant in Florida, which written resignation

     letter was meant to falsely show that Frinzi was acting with authority when he executed

     the early version of the Shareholders Agreement.

  429.      The closing of the GTH Conversion was delayed due to complications other than

     those caused by Goodman Networks’ lack of officers and directors, and the version of the

     Shareholders Agreement was materially changed.



                                            71
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          73 of 154 Page 72 of 153 PageID 72



  430.      A final version of the Shareholders Agreement was effectuated on October 12,

     2022, but Goodman Networks did not execute a copy of the October 12, 2022 Shareholders

     Agreement; instead, John Goodman and GTH took the Frinzi GTH Consent from August

     2022 and slipped it as the signatory page for the October 12, 2022 Shareholders Agreement.

     Goodman Networks did not have any officers or directors to authorize the use of the Frinzi

     GTH Consent on October 12, 2022.

  431.      GTH issued 1,906,399 shares of common stock to Goodman Networks (the “GTH

     Stock”) and retired the Class E membership interests and terminated the John Goodman

     put option based on the fraudulent Frinzi GTH Consent to the Shareholder Agreement.

  432.      John Goodman, acting for Goodman Networks, knowingly and fraudulently caused

     Goodman Networks to file bankruptcy schedules and statements of financial affairs without

     listing the GTH Stock to conceal it and the fraudulent Frinzi GTH Consent.

  433.      The GTH Conversion on October 12, 2022, occurred post-bankruptcy petition and

     effectuated John Goodman’s and GTH’s concealment and release of property of the

     bankruptcy estate.

                                False Corporate Authority

  434.      On September 6, 2022, Goodman Networks had no officers or directors and was

     incapable of taking corporate actions in response to the involuntary bankruptcy petition.

  435.      Despite this lack of authority, James Goodman, John Goodman, Jonathan

     Goodman, Jason Goodman, and Jody Goodman, acting collectively as the Goodman MBE

     Group, conspired to cause John Goodman to be hired as a “consultant” by Goodman

     Networks.




                                             72
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          74 of 154 Page 73 of 153 PageID 73



  436.        On September 21, 2022, the Goodman MBE Group executed a Consent of a

     Majority of the Managers of the General Partners of Goodman MBE Group LP that

     authorized it to employ John Goodman as its Consultant.

  437.        On October 4, 2022, Samantha Sondrup, purportedly acting as “Chief of Staff” to

     Frinzi at Goodman Networks but also employed as Chief Operating Officer at AMRR,

     executed a Consulting Agreement to employ Goodman MBE Group and, specifically, John

     Goodman, as the Debtor’s Consultant to provide “advisory and consulting services from

     time to time that are customarily associated with executive management, financial counsel

     and review, capital structure and potential capital raises, and overall business strategy, and

     shall include, but not necessarily be limited to the following . . .: (i) Consultant shall provide

     advisory services related to all legal, financial, personal and operational decisions for the

     Company and its affiliates and subsidiaries [and] (ii) Consultant shall provide other

     services as may reasonably be requested by the Company . . .” Consulting Agreement, §

     1(a)).

  438.        Moreover, the Consulting Agreement provided that Goodman Networks “will not

     control, direct, or otherwise supervise Consultant’s performance of the Services . . .”

     Consulting Agreement, § 1(b).

  439.        The Consulting Agreement was fraudulent, void, and entered into to allow John

     Goodman under color of authority to conceal property of the estate, to falsify books,

     records and documents of Goodman Networks, and to frustrate FSCLE’s and the other

     creditors’ attempts to have a trustee administer the property of Goodman Networks.

  440.        On October 31, 2022, John Goodman and the Goodman MBE Group, acting under

     color of authority for Goodman Networks, caused Goodman Networks to file in the



                                                73
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          75 of 154 Page 74 of 153 PageID 74



     Bankruptcy Court an Objection to FSCLE’s joinder to the involuntary bankruptcy petition

     and made the knowingly false statement that “FSCLE is not a creditor – in any form – of

     Goodman.” John Goodman and the Goodman MBE Group made this false statement with

     knowledge that the Goodmans and Frinzi had caused Goodman Networks to

     misappropriate $81 million of funds from FSCLE.

  441.       From October 2022, through February 2022, John Goodman and the Goodman

     MBE Group, acting under color of authority for Goodman Networks, caused Goodman

     Networks to take other actions and commit discovery abuses to frustrate FSCLE, the

     involuntary bankruptcy case, and the fair administration of property of the estate.

  442.       Between November 15, 2022, and December 6, 2022, five additional creditors

     joined the involuntary bankruptcy petition, and on December 12, 2022, the Court entered

     an order for relief.

  443.       In response, John Goodman and the Goodman MBE Group, acting under color of

     authority for Goodman Networks, caused Goodman Networks to file a Motion to Convert

     Chapter 7 Case to Chapter 11. A chapter 11 case would allow John Goodman and the

     Goodman MBE Group to continue acting under color of authority as “debtor in

     possession,” while a chapter 7 case would have an independent trustee.

  444.       The purpose of the Motion to Convert was to further conceal property, obfuscate

     false statements and documents, and frustrate the fair administration of the bankruptcy case

     for creditors.

  445.       From December 12, 2022, through February 7, 2022, John Goodman and the

     Goodman MBE Group, acting under color of authority for Goodman Networks, caused

     Goodman Networks to prosecute the fraudulent Motion to Convert, which damaged



                                              74
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          76 of 154 Page 75 of 153 PageID 75



     FSCLE, who incurred attorneys’ fees and costs of litigation in response to the Motion to

     Convert.

  446.       On January 7, 2022, John Goodman, acting under color of authority for Goodman

     Networks, caused Goodman Networks to file bankruptcy schedules and statements of

     financial affairs and affixed his signature as “consultant” under penalty of perjury.

  447.       The bankruptcy schedules and statements of financial affairs concealed material

     property, including the UFS Receivable, the GTH Stock and put option, and the AMRR

     Note.

  448.       The bankruptcy schedules and statements of financial affairs contained false

     statements, including the following: “[Frinzi’s] tenure with the Debtor ended on September

     4, 2022.”

  449.       On January 10, 2022, the statutory meeting of creditors was held, and John

     Goodman appeared and falsely held himself out as having authority to act on behalf of

     Goodman Networks.

  450.       On February 25, 2023, the bankruptcy trustee entered into a settlement with John

     Goodman and the Goodman MBE Group that allowed them to keep $450,000 in return for

     withdrawing the Motion to Convert.

  451.       John Goodman and the Goodman MBE Group knowingly and fraudulently

     received $450,000 for acting to file the Motion to Convert and attempting to defeat the

     involuntary bankruptcy case and the provisions of title 11.




                                              75
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          77 of 154 Page 76 of 153 PageID 76



                             The False Forbearance Demand

  452.      On or about November 1, 2022, John Goodman, acting under color of authority for

     Goodman Networks, began pressuring Frinzi and AMRR to pay money in return for

     Goodman Networks forbearance on enforcing the AMRR note.

  453.      In response to John Goodman’s demand, on November 1, 2022, James Frinzi and

     Jodi Frinzi (James Frinzi’s wife) paid $200,000 to the Goodman Networks *5481 Account

     at East West Bank.

  454.      In response to John Goodman’s demand, on November 2, 2022, AMR Resources

     (a subsidiary of AMRR) paid $100,000 to the Goodman Networks’ *5481 Account at East

     West Bank.

  455.      On and around November 3, 2022, John Goodman, acting under color of authority

     for Goodman Networks in Texas, sent an email that demanded Frinzi, Jeremie Peterkin

     (CFO of AMRR located in Georgia), and Jeff Spranger (affiliated with AMRR in Georgia)

     pay $400,000 “that needs to get to the trustee today!” John Goodman, through deposition

     testimony, admitted that the statement about a trustee was false and that he was the primary

     beneficiary of the forbearance demand.

  456.      In response to John Goodman’s demand, on November 4, 2022, an account of

     OnePath, controlled by Frinzi and AMRR/AMR Resources, transferred $400,000 to the

     Goodman Networks *5481 Account at East West Bank.

  457.      Also on November 4, 2022, John Goodman, acting for the Goodman MBE Group,

     caused $450,000 to be paid to himself from the *5481 Account at East West Bank.




                                              76
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          78 of 154 Page 77 of 153 PageID 77



  458.       Upon information and belief, the $700,000 paid to the Goodman Networks *5481

     Account at East West Bank and the $450,000 paid to John Goodman from the *5481

     Account was proceeds of the stolen funds from FSCLE.

  459.       John Goodman and the Goodman MBE Group knowingly and fraudulently

     received $450,000 for forbearing to act on the AMRR Note and with intent to frustrate the

     involuntary bankruptcy case and defeat the provisions of title 11.

                                     CAUSES OF ACTION

            Cause No. 1 – Violation of Civil R.I.C.O. 18 U.S.C. § 1961 et seq.

                                     Against all Defendants

  460.       FSCLE incorporates the averments of the preceding paragraphs of this Complaint

     as if fully set forth herein.

                                       Culpable Persons

  461.       Each of the Defendants is “capable of holding a legal or beneficial interest in

     property,” and therefore is a “person” within the meaning of 18 U.S.C. § 1961(3).

                                        The Enterprise

  462.       The Enterprise in this case consists of each of the Defendants. James Goodman,

     John Goodman, Jason Goodman, Jody Goodman, Jonathan Goodman, Jim Frinzi and the

     companies aligned and controlled by them including but not limited to GNET ATC, GIH,

     MFS, Multiband Global, AMRR, AMR Resources, and the Frinzi Family Trust decided

     first to steal funds from FSCLE by stopping funds from flowing back to FSCLE as of

     November 3, 2021 under the Master Services Agreement and continuing to send FSCLE

     invoices thereafter to pay and covering up what was really happening: that Genesis-ATC

     and Goodman Networks were shutting down and all of their assets were being stripped out.



                                              77
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          79 of 154 Page 78 of 153 PageID 78



     The result was that the 4352 Account at Prosperity Bank (which even Frinzi referred to on

     December 9, 2021 as holding the “FedEx trust funds” and being the “FedEx account” and

     James Goodman has testified under oath saying, “You know, that was FedEx’s money”)

     swelled with tens of millions of dollars that should have gone back to FSCLE but did not.

  463.      However, the enterprise did not consist solely of isolating the funds in the 4352

     Account. Rather the second purpose of the Enterprise was to steal those funds and launder

     them through the various commercial transactions described above to get the funds from

     the 4352 Account to the Defendants. All of the Defendants participated in this second and

     critical part of the overall Enterprise including but not limited to James Goodman, John

     Goodman, Jim Frinzi, Shalom Auerbach, Neil Auerbach, Steven Zakharyayev, Evalina

     Pinkhasova, Prosperity Bank and the companies associated with them including but not

     limited to: Genesis-ATC, GNET ATC, AMRR, AMR Resources, Multiband Global,

     MFS, OnePath, Alliance, Hudson, Auerbach Partners, 18920 NW, GIH, GTH and the

     Frinzi Family Trust.

  464.      The Enterprise began in the fall of 2021 and continues as of the filing of this

     Complaint in 2023 as the efforts to launder the stolen FSCLE funds continues.

  Effect on Interstate Commerce and Use of Instrumentalities of Interstate Commerce

  465.      Both the activities of the Enterprise and the predicate acts of racketeering affect

     interstate commerce, as the Defendants have used mail, wires, and other instrumentalities

     of interstate commerce to perpetrate their fraudulent schemes.

  466.      In particular, the FSCLE relationship with the Goodman and Frinzi controlled

     entities including but not limited to Goodman Networks/GNET ATC was an interstate

     relationship with automated processes that caused emails, wires and phone calls to flow



                                             78
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          80 of 154 Page 79 of 153 PageID 79



     between Tennessee, Pennsylvania and Texas and caused a flow of funds between FSCLE

     in Tennessee and Pennsylvania and the Goodman/Frinzi entities in Texas.

  467.        When the funds were stolen from the 4352 Account, they were sent to banks outside

     of Texas including East West Bank in California and assorted banks in New York, Rhode

     Island, North Carolina, Florida and Georgia.

  468.        The persons and entities chosen to help launder the funds are located in Florida,

     New Jersey, New York and Nevada. Thus, the stolen funds went from Texas to other states

     and then back to Texas again through banking wires and ACH transfers.

  469.        The commercial transactions chosen to paper over and launder the stolen funds

     involved law firms and other professionals in Texas and outside of Texas including a

     broker dealer in Atlanta, a consulting firm in California and lawyers in Florida, California,

     New York and New Jersey.

  470.        The theft and money laundering ultimately stole more than $80 million from a

     publicly traded company located in Memphis, Tennessee, and was a securities reportable

     event.

  471.        The theft and money laundering involved a publicly traded company regulated by

     the Securities Exchange Commission and traded on the Over-the-Counter market with

     tenacles extending to a Texas Senator, who is the wife of the Texas Attorney General, to a

     majority leader of the Illinois Senate.

  472.        The stolen assets are now scattered over multiple states including Texas, New York,

     New Jersey, Florida, South Dakota and Georgia.

  473.        The theft and money laundering involved shell companies and special purpose

     entities in Wyoming, Nevada, Florida, Delaware, and Texas.



                                               79
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          81 of 154 Page 80 of 153 PageID 80



  474.      Upon information and belief, the persons and entities involved in the Enterprise

     have conducted business in most states.

  475.      The Enterprise and its activities have had a direct and substantial impact on

     interstate commerce.

                                   Racketeering Activity

                       18 U.S.C. § 1962(a) and (b) – Predicate Acts

                                      James Goodman

  476.      James Goodman committed predicate acts by seeking and accepting the proceeds

     of the stolen FSCLE funds directly by asking for payments for himself from the

     “Goodman” bank accounts in texts with Jim Frinzi as described above that ultimately came

     from the 4352 Account when he knew that such funds were not his to take and knew that

     Goodman Networks was practically insolvent.

  477.      James Goodman committed predicate acts by seeking and accepting the proceeds

     of the stolen FSCLE funds through the fraudulent AMRR/Multiband Global Scheme

     described above. James Goodman knew that the stock being “sold” was worthless and was

     nothing more than an effort to launder the funds to him and other entities controlled by

     him.

  478.      James Goodman committed predicate acts by seeking and accepting the proceeds

     of the stolen FSCLE funds through the fraudulent sale of his Goodman Network bonds to

     the Auerbachs, Auerbach Partners, Alliance and Hudson as described above when James

     Goodman knew those bonds were potentially worthless and proceeded forward with the

     transaction just to launder the funds out of any entity controlled by him to himself and other

     entities controlled by him.



                                               80
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          82 of 154 Page 81 of 153 PageID 81



  479.      James Goodman committed predicate acts by seeking and accepting a portion of

     the stolen FSCLE funds paid to 18920 NW as part of that scheme as described above.

     James Goodman knew that the source of the funds was the 4352 Account and stolen FSCLE

     funds and knew that the 18920 NW transaction was designed to launder the money out of

     Goodman Networks back to him.

  480.      James Goodman then took these stolen FSCLE funds and invested them in one or

     more entities including GIH and Endeavor that he used to further the Enterprise.

  481.      The Enterprise affected interstate commerce.

  482.      None of the commercial transactions engaged in by James Goodman were for the

     purpose of investing in securities on the open market without an intent to control the issuer.

  483.      As a direct and proximate result of James Goodman’s racketeering activities and in

     violation of 18 U.S.C. § 1962(a) and/or (b), FSCLE has been damaged in an amount that

     exceeds $75,000. FSCLE is entitled to recover its damages, trebled, as well as its

     reasonable attorneys’ fees and costs pursuant to 18 U.S.C. § 1964(c).

                                       John Goodman

  484.      John Goodman sought and received stolen FSCLE funds from the 4352 Account as

     part of the payment of $700,000 from AMRR in November 2022 of which John Goodman

     kept $450,000 for himself. John Goodman knew the original source of the funds and

     accepted them anyway.

  485.      John Goodman received a portion of the stolen funds received as part of the 18920

     NW Scheme, as alleged above.




                                              81
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          83 of 154 Page 82 of 153 PageID 82



  486.         John Goodman used the stolen funds to further his ownership in a variety of

     Goodman controlled entities that have played parts in the overall schemes complained of

     herein.

  487.         John Goodman committed offenses involving fraud connected with a bankruptcy

     case under title 11 of the United States Code in an effort to maintain control over Goodman

     Networks, GNET ATC, and MFS as part of the Enterprise.

  488.         While acting or forbearing to act in a bankruptcy case, John Goodman knowingly

     and fraudulently gave, offered, received, and attempted to obtain money, property,

     remuneration, compensation, reward, and advantage, including but not limited to $700,000,

     the AMRR construction business, and the release of the put option on the GTH Stock, and

     such actions furthered and maintained his investment and control of GTH, as part of the

     Enterprise.

  489.         The Enterprise affected interstate commerce.

  490.         None of the commercial transactions engaged in by John Goodman were for the

     purpose of investing in securities on the open market without an intent to control the issuer.

  491.         As a direct and proximate result of John Goodman’s racketeering activities and in

     violation of 18 U.S.C. § 1962(a) and/or (b), FSCLE has been damaged in an amount that

     exceeds $75,000. FSCLE is entitled to recover its damages, trebled, as well as its

     reasonable attorneys’ fees and costs pursuant to 18 U.S.C. § 1964(c).

                                        Jake Goodman

  492.         Jake Goodman sought and accepted $200,000 in stolen FSCLE funds as part of his

     alleged “consulting agreement” with Goodman Networks in December 2021 even though




                                               82
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          84 of 154 Page 83 of 153 PageID 83



     he never signed the consulting agreement and even though he never provided any

     consulting services to Goodman Networks.

  493.         Jake Goodman used the stolen funds to further his ownership in a variety of

     Goodman controlled entities that have played parts in the overall schemes complained of

     herein.

  494.         The Enterprise affected interstate commerce.

  495.         None of the commercial transactions engaged in by Jake Goodman were for the

     purpose of investing in securities on the open market without an intent to control the issuer.

  496.         As a direct and proximate result of Jake Goodman’s racketeering activities and in

     violation of 18 U.S.C. § 1962(a) and/or (b), FSCLE has been damaged in an amount that

     exceeds $75,000. FSCLE is entitled to recover its damages, trebled, as well as its

     reasonable attorneys’ fees and costs pursuant to 18 U.S.C. § 1964(c).

                                         GNET ATC

  497.         GNET ATC transferred and laundered stolen funds through the AMRR/Multiband

     Global Scheme and acquired an interest in AMRR, the $44 million AMRR Note and

     Security Agreement.

  498.         GNET ATC knowingly and fraudulently participated in the 18920 NW Scheme,

     including but not limited to transferring a portion of the AMRR Note to 18920 NW.

  499.         The Enterprise affected interstate commerce.

  500.         None of the commercial transactions engaged in by GNET ATC were for the

     purpose of investing in securities on the open market without an intent to control the issuer.

  501.         As a direct and proximate result of GNET ATC’s racketeering activities and in

     violation of 18 U.S.C. § 1962(a) and/or (b), FSCLE has been damaged in an amount that



                                               83
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          85 of 154 Page 84 of 153 PageID 84



     exceeds $75,000. FSCLE is entitled to recover its damages, trebled, as well as its

     reasonable attorneys’ fees and costs pursuant to 18 U.S.C. § 1964(c).

                                           AMRR

  502.      AMRR sought and accepted stolen funds from FSCLE, as part of the

     AMRR/Multiband Global Scheme.

  503.      AMRR then used those funds to purchase and control Multiband Global and AMR

     Resources.

  504.      AMRR participated in the 18920 NW Scheme by acquiring the Goodman Networks

     trademarks and “settling” the AMRR Note with 18920 NW and then using those benefits

     in maintenance of its control of AMRR, Multiband Global, and AMR Resources.

  505.      The Enterprise affected interstate commerce.

  506.      None of the commercial transactions engaged in by AMRR were for the purpose of

     investing in securities on the open market without an intent to control the issuer.

  507.      As a direct and proximate result of AMRR’s racketeering activities and in violation

     of 18 U.S.C. § 1962(a) and/or (b), FSCLE has been damaged in an amount that exceeds

     $75,000. FSCLE is entitled to recover its damages, trebled, as well as its reasonable

     attorneys’ fees and costs pursuant to 18 U.S.C. § 1964(c).

                                 Multiband Field Services

  508.      MFS received at least $4.5 million in stolen FSCLE funds and laundered those

     funds through Multiband Global as part of the AMRR/Multiband Global Scheme.

  509.      Using the stolen funds laundered through MFS, Multiband Global acquired AMRR

     which in turn used approximately $40 million in stolen FSCLE funds to acquire AMR

     Resources from OnePath.



                                              84
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          86 of 154 Page 85 of 153 PageID 85



  510.      The Enterprise affected interstate commerce.

  511.      None of the commercial transactions engaged in by MFS were for the purpose of

     investing in securities on the open market without an intent to control the issuer.

  512.      As a direct and proximate result of MFS’s racketeering activities and in violation

     of 18 U.S.C. § 1962(a) and/or (b), FSCLE has been damaged in an amount that exceeds

     $75,000. FSCLE is entitled to recover its damages, trebled, as well as its reasonable

     attorneys’ fees and costs pursuant to 18 U.S.C. § 1964(c).

                                      Multiband Global

  513.      Multiband Global received at least $4.5 million in stolen FSCLE funds as part of

     the AMRR/Multiband Global Scheme and, using the stolen funds laundered through MFS,

     acquired AMRR which in turn used approximately $40 million in stolen FSCLE funds to

     acquire AMR Resources from OnePath.

  514.      Multiband Global caused all or part of the securities it owned in AMRR, which are

     proceeds of the stolen FSCLE funds, to be transferred to the Frinzi Family Trust.

  515.      The Enterprise affected interstate commerce.

  516.      None of the commercial transactions engaged in by Multiband Global were for the

     purpose of investing in securities on the open market without an intent to control the issuer.

  517.      As a direct and proximate result of Multiband Global’s racketeering activities and

     in violation of 18 U.S.C. § 1962(a) and/or (b), FSCLE has been damaged in an amount that

     exceeds $75,000. FSCLE is entitled to recover its damages, trebled, as well as its

     reasonable attorneys’ fees and costs pursuant to 18 U.S.C. § 1964(c).




                                              85
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          87 of 154 Page 86 of 153 PageID 86



                                      AMR Resources

  518.      AMR Resources is a special purpose entity, which was created by Frinzi, AMRR,

     Multiband Global, and OnePath, and it acquired the businesses of OnePath as part of the

     AMRR/Multiband Global Scheme.

  519.      AMR Resources has operated the OnePath businesses and caused income derived

     from those businesses to be used and invested by AMRR, Multiband Global, Jim Frinzi,

     John Goodman, and the Frinzi Family Trust as part of the Enterprise.

  520.      The Enterprise affected interstate commerce.

  521.      None of the commercial transactions engaged in by AMR Resources were for the

     purpose of investing in securities on the open market without an intent to control the issuer.

  522.      As a direct and proximate result of AMR Resources’ racketeering activities and in

     violation of 18 U.S.C. § 1962(a) and/or (b), FSCLE has been damaged in an amount that

     exceeds $75,000. FSCLE is entitled to recover its damages, trebled, as well as its

     reasonable attorneys’ fees and costs pursuant to 18 U.S.C. § 1964(c).

                              Goodman Investment Holdings

  523.      GIH sought and accepted stolen FSCLE funds including but not limited to receiving

     in excess of $11 million in funds laundered through the alleged sale of bonds to the

     Auerbachs through Alliance, Hudson and Auerbach Partners as part of the

     Alliance/Hudson/Auerbach Scheme.

  524.      GIH used those stolen funds to found and control Endeavor.

  525.      GIH and Endeavor acquired the business assets from Genesis-ATC, which had been

     obtained from OnePath for no consideration, and controlled these assets as a result of

     Prosperity Bank’s Loan Scheme.



                                              86
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          88 of 154 Page 87 of 153 PageID 87



  526.      Genesis-ATC was directly involved in the Enterprise.

  527.       The Enterprise affected interstate commerce.

  528.      None of the commercial transactions engaged in by GIH were for the purpose of

     investing in securities on the open market without an intent to control the issuer.

  529.      As a direct and proximate result of GIH racketeering activities and in violation of

     18 U.S.C. § 1962(a) and/or (b), FSCLE has been damaged in an amount that exceeds

     $75,000. FSCLE is entitled to recover its damages, trebled, as well as its reasonable

     attorneys’ fees and costs pursuant to 18 U.S.C. § 1964(c).

                        James Frinzi and the Frinzi Family Trust

  530.      James Frinzi sought and accepted stolen FSCLE funds through a variety of sources

     not the least of which were the compensation paid to Frinzi as the CEO or President of

     Goodman Networks, GNET ATC, MFS, Multiband Global, AMRR, AMR Resources and

     a variety of other companies with the express purpose of orchestrating the various

     fraudulent schemes set forth herein.

  531.      Frinzi and/or the Frinzi Family Trust sought and accepted stolen funds through the

     shares in in AMRR, AMR Resources, Multiband Global and other companies that were

     obtained through the AMRR/Multiband Global Scheme outlined above. It is believed those

     shares were worth more than $1,000,000.

  532.      Frinzi and/or the Frinzi Family Trust used the stolen FSCLE funds to acquire

     Multiband Global, AMRR, AMR Resources and OnePath.

  533.      The Enterprise affected interstate commerce.




                                              87
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          89 of 154 Page 88 of 153 PageID 88



  534.       None of the commercial transactions engaged in by Frinzi and/or the Frinzi Family

     Trust were for the purpose of investing in securities on the open market without an intent

     to control the issuer.

  535.       As a direct and proximate result of Frinzi’s and the Frinzi Family Trust’s

     racketeering activities and in violation of 18 U.S.C. § 1962(a) and/or (b), FSCLE has been

     damaged in an amount that exceeds $75,000. FSCLE is entitled to recover its damages,

     trebled, as well as its reasonable attorneys’ fees and costs pursuant to 18 U.S.C. § 1964(c).

      Shalom Auerbach, Neil Auerbach, Auerbach Partners, Alliance and Hudson

  536.       Shalom Auerbach, Neil Auerbach, Auerbach Partners, Alliance and Hudson sought

     and accepted stolen FSCLE funds through the fraudulent purchase of bonds from James

     Goodman. These entities accepted at least $17,032,060 as part of the bond transaction

     before laundering some of that money back to James Goodman and keeping at least

     $5,900,107.00 for themselves.

  537.       Shalom Auerbach, Neil Auerbach and Auerbach Partners sought and accepted at

     least $1,200,000 of the fraudulent transaction involving 18920 NW as outlined above.

  538.       Shalom Auerbach acquired the construction business of AMRR as a result of his

     involvement in the AMRR/Multiband Global Scheme, and, at the time of the acquisition,

     Shalom Auerbach had knowledge that AMRR was proceeds of the funds stolen from the

     4352 Account.

  539.       They used those funds to further Auerbach Partners, Alliance and/or Hudson which

     were all part of the Enterprise.

  540.       The Enterprise affected interstate commerce.




                                              88
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          90 of 154 Page 89 of 153 PageID 89



  541.      None of the commercial transactions engaged in by Shalom Auerbach, Neil

     Auerbach and Auerbach Partners were for the purpose of investing in securities on the open

     market without an intent to control the issuer.

  542.      As a direct and proximate result of Shalom Auerbach, Neil Auerbach and Auerbach

     Partners, LP’s racketeering activities and in violation of 18 U.S.C. § 1962(a) and/or (b),

     FSCLE has been damaged in an amount that exceeds $75,000. FSCLE is entitled to recover

     its damages, trebled, as well as its reasonable attorneys’ fees and costs pursuant to 18

     U.S.C. § 1964(c).

                18920 NW, Steven Zakharyayev and Evelina Pinkhasova

  543.      18920 NW, Steven Zakharyayev and Evelina Pinkhasova sought and accepted

     stolen FSCLE funds as described in the 18920 NW Scheme described above.

  544.      The entire 18920 NW transaction was a fraud designed to launder money through

     18920 NW back to James Goodman.

  545.      Steven Zakharyayev and Evelina Pinkhasova were compensated in stolen FSCLE

     funds and in other ways for facilitating the theft and laundering and used those funds in

     part to invest in 18920 NW which was key to the scheme and to the Enterprise.

  546.      Through the 18920 NW Scheme, 18920 NW, Steven Zakharyayev and Evelina

     Pinkhasova acquired preferred stock or rights to preferred stock in AMRR.

  547.      The Enterprise affected interstate commerce.

  548.      None of the commercial transactions engaged in by 18920 NW, Steven

     Zakharyayev and Evelina Pinkhasova were for the purpose of investing in securities on the

     open market without an intent to control the issuer.




                                              89
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          91 of 154 Page 90 of 153 PageID 90



  549.       As a direct and proximate result of 18920 NW, Steven Zakharyayev and Evelina

     Pinkhasova racketeering activities and in violation of 18 U.S.C. § 1962(a) and/or (b),

     FSCLE has been damaged in an amount that exceeds $75,000. FSCLE is entitled to recover

     its damages, trebled, as well as its reasonable attorneys’ fees and costs pursuant to 18

     U.S.C. § 1964(c).

                                        Prosperity Bank

  550.       Prosperity Bank sought and accepted stolen FSCLE funds to pay off the Genesis

     loans owed to Prosperity Bank.

  551.       Prosperity Bank used the funds to reinvest in itself.

  552.       Prosperity Bank used the funds to finance James Goodman, Goodman Investments

     Holdings, Endeavor, and other Goodman or Frinzi controlled entities and thereby obtain

     an interest in the Enterprise.

  553.       Prosperity Bank was central to the overall Enterprise as it permitted fraudulent

     corporate documents known to its agent, Bater Bates, to be used to withdraw more than

     $76 million from the FSCLE account.

  554.       Prosperity Bank is responsible for the acts of Bater Bates, its employee.

  555.       Bates knew the source of the funds and worked with Frinzi and James Goodman to

     facilitate the theft of those funds.

  556.       The Enterprise affected interstate commerce.

  557.       None of the commercial transactions engaged in by Prosperity Bank were for the

     purpose of investing in securities on the open market without an intent to control the issuer.

  558.       As a direct and proximate result of Prosperity Bank’s racketeering activities and in

     violation of 18 U.S.C. § 1962(a) and/or (b), FSCLE has been damaged in an amount that



                                              90
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          92 of 154 Page 91 of 153 PageID 91



     exceeds $75,000. FSCLE is entitled to recover its damages, trebled, as well as its

     reasonable attorneys’ fees and costs pursuant to 18 U.S.C. § 1964(c).

                           18 U.S.C. § 1962(c) – Predicate Acts

                                      James Goodman

  559.      James Goodman participated in and facilitated multiple acts of wire fraud in

     violation of 18 U.S.C. § 1343, including but not limited to causing and permitting the

     hundreds of invoices as outlined above to be sent from Texas to Tennessee on or after

     November 3, 2021 when he and his companies (Goodman Networks and GNET ATC)

     made the decision not to pay FSCLE any of those sums back. James Goodman knew that

     the sending of those invoices would prompt FSCLE to transfer funds from FSCLE in

     Pennsylvania into bank accounts in Texas that he and his associates would then be able to

     control and would use for purposes other than paying FSCLE back in accordance with the

     Master Services Agreement. Goodman pushed to keep the funds flow coming from

     FSCLE long after the decision was made to stop the reverse funds flow by the continued

     sending of invoices that were in substance fraudulent after it was obvious to him and

     others in his circle that neither he nor any of his companies had any intention of

     performing the Master Services Agreement.

  560.      James Goodman participated in and facilitated multiple acts of wire fraud in

     violation of 18 U.S.C. § 1343, including but not limited to emails between he and Shalom

     Auerbach, Steven Zakharyayev and Evalina Pinkhasova in connection with the fraudulent

     bond purchase transaction and the fraudulent 18920 NW stock sale described above. The

     emails sent between James Goodman in Texas and Shalom Auerbach, Steven

     Zakharyayev and/or Evalina Pinkhasova went in interstate communications as they were



                                              91
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          93 of 154 Page 92 of 153 PageID 92



     located in New York, New Jersey and/or Florida at the time of those communications in

     2021. Each of those transactions involved law firms in Texas and outside of Texas to

     paper the fraudulent transactions. James Goodman participated in those email strings.

     He signed the transactional documents associated with the alleged bond sale and the

     stock sale and sent them via email outside of Texas to New York, New Jersey and/or

     Florida.

  561.      James Goodman engaged in acts of bank fraud with and against Prosperity Bank

     in violation of 18 U.S.C. § 1344 including but not limited to communicating with Bater

     Bates and others at Prosperity Bank that he “authorized” the transfer of control over the

     funds at Prosperity Bank when James Goodman and Bater Bates knew that James

     Goodman did not have the authority to authorize the transfer of those accounts without

     the approval of at least two other directors of Goodman Networks and at that time there

     were no other directors of Goodman Networks. James Goodman further signed

     documents to facilitate the transfer control over those accounts when James Goodman

     knew that he had no such unilateral authority. Without the transfer in control of those

     accounts including the 4352 Account, it would not have been possible for the Defendants

     to commit fraud, theft and money laundering on the scale that they subsequently engaged.

  562.      James Goodman committed multiple acts of money laundering in violation of 18

     U.S.C. § 1956 including but not limited to:

     (a) Directing the payment of “rents” through Goodman Networks or GNET ATC

     ultimately to himself when no “rents were then validly due;

     (b) Working with Frinzi and the Auerbachs to engage in a fraudulent bond “sale” that

     was nothing more than an effort to pull money out of the 4352 Account,



                                             92
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          94 of 154 Page 93 of 153 PageID 93



     (c) Working with Frinzi, the Auerbachs, Steven Zakharyayev and Evalina Pinkhasova on

     the fraudulent 18920 NW alleged stock “sale”; and

     (d) Working with Frinzi on the AMRR/Multiband Global Scheme as outlined above.

  563.      In each of these cases, money from FSCLE first went from outside of Texas into

     the 4352 Account (as intended) and then was transferred out to a variety of banks outside

     of Texas including banks in California, Rhode Island, New York, North Carolina,

     Georgia and/or Florida and then a significant portion of those funds flowed back to Texas

     bank accounts for the benefit of James Goodman after paying fees to the other

     participants to launder the funds through them back to James Goodman. These

     transactions were done for the purpose of hiding the true source of the funds and making

     it difficult to trace the funds from the 4352 Account to their end source. These

     transactions had no real independent value other than to launder the funds out of the 4352

     Account to others.

  564.      James Goodman committed multiple acts of causing stolen funds with a value

     greater than $5,000 to be sent across state lines in violation of 18 U.S.C. § 2314 including

     but not limited to:

     (a) The fraudulent bond “sale” involving the Auerbachs as described in detail above.

         The stolen funds from the 4352 Account went from the 4352 Account in Texas to an

         account in the name of Alliance outside of Texas, to accounts for Hudson and then

         Auerbach Partners outside of Texas and back into Texas into a bank account for the

         benefit of James Goodman;




                                              93
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          95 of 154 Page 94 of 153 PageID 94



     (b) The fraudulent 18920 NW stock “sale” in which funds stolen from the 4352 Account

         were sent from Texas to the account for 18920 NW in either Florida or the northeast

         and then were sent back to an account in Texas for the benefit of James Goodman;

     (c) The AMRR/Multiband Global Scheme as outlined above. The funds used in this

         scheme came from the 4352 Account in Texas through accounts at East West Bank in

         California and then back to accounts in Texas for the benefit of James Goodman.

     In each of these instances James Goodman knew that the funds were stolen and that the

     funds were being routed through banks outside of Texas as part of the money laundering

     scheme. James Goodman sent these stolen funds and then accepted them for his own

     purposes.

  565.      James Goodman committed multiple acts of receiving stolen funds with a value

     greater than $5,000 that were sent across state lines in violation of 18 U.S.C. § 2315

     including but not limited to:

     (d) The fraudulent bond “sale” involving the Auerbachs as described in detail above.

         The stolen funds from the 4352 Account went from the 4352 Account in Texas to an

         account in the name of Alliance outside of Texas, to accounts for Hudson and then

         Auerbach Partners outside of Texas and back into Texas into a bank account for the

         benefit of James Goodman;

     (e) The fraudulent 18920 NW stock “sale” in which funds stolen from the 4352 Account

         were sent from Texas to the account for 18920 NW in either Florida or the northeast

         and then were sent back to an account in Texas for the benefit of James Goodman;




                                              94
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          96 of 154 Page 95 of 153 PageID 95



     (f) The AMRR/Multiband Global Scheme as outlined above. The funds used in this

         scheme came from the 4352 Account in Texas through accounts at East West Bank in

         California and then back to accounts in Texas for the benefit of James Goodman.

     In each of these instances James Goodman knew that the funds were stolen and that the

     funds were being routed through banks outside of Texas as part of the money laundering

     scheme. James Goodman accepted these stolen funds and used them for his own

     purposes.

  566.        James Goodman committed acts involving fraud connected with a bankruptcy case

     under title 11 of the United States Code, including the following violations under 18 U.S.C.

     § 152:

         a. In contemplation of bankruptcy and after the filing of a bankruptcy case, James

              Goodman knowingly and fraudulently transferred and concealed funds and

              proceeds of the 4352 Account, which had been obtained from the Enterprise, in an

              effort to frustrate a United States Bankruptcy Court, the appointed bankruptcy

              trustee, the bankruptcy estate, and the bankruptcy creditors, including FSCLE, and

              aid the Enterprise; and

         b. In furtherance of the schemes described above, James Goodman knowingly and

              fraudulently made false entries, oaths, statements, certificates, verifications,

              schedules, books, records, papers, accounts, and declarations in, related to, and in

              contemplation of, the bankruptcy case in an effort to frustrate a United States

              Bankruptcy Court, the appointed bankruptcy trustee, the bankruptcy estate, and the

              bankruptcy creditors, including FSCLE, and aid the Enterprise.




                                               95
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          97 of 154 Page 96 of 153 PageID 96



  567.      As a direct and proximate result of James Goodman’s racketeering activities and in

     violation of 18 U.S.C. § 1962(c), FSCLE has been damaged in an amount that exceeds

     $75,000. FSCLE is entitled to recover its damages, trebled, as well as its reasonable

     attorneys’ fees and costs pursuant to 18 U.S.C. § 1964(c).

                                      John Goodman

  568.      John Goodman committed one or more acts of receiving stolen funds with a value

     greater than $5,000 that were sent across state lines in violation of 18 U.S.C. § 2315

     including but not limited to: (a) the $700,000 in funds paid to him on Nov. 2, 2022 of

     which he kept $450,000 and used the rest to pay professional fees; and (b) a portions of

     the stolen funds as laundered through the 18920 NW scheme went to John Goodman.

  569.      The original source of these payments was the stolen FSCLE funds from the 4352

     Account at Prosperity Bank in Texas.

  570.      The funds flowed from Prosperity Bank in Texas to East West Bank in California

     and banks in the northeast and North Carolina and then back to John Goodman in Texas.

  571.      Goodman knew the source of the funds and knew or should have known that the

     funds were stolen.

  572.      John Goodman committed multiple acts of money laundering in violation of 18

     U.S.C. § 1956 including but not limited to:

     (a) Working with Frinzi, the Auerbachs, Steven Zakharyayev and Evalina Pinkhasova on

     the fraudulent 18920 NW alleged stock “sale”; and

     (b) Working with Frinzi on the AMRR/Multiband Global Scheme as outlined above to

     receive the $700,000 payment.




                                              96
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          98 of 154 Page 97 of 153 PageID 97



  573.      In each of these cases, money from FSCLE first went from outside of Texas into

     the 4352 Account (as intended) and then was transferred out to a variety of banks outside

     of Texas including banks in California, the northeast, Georgia and/or Florida and then a

     significant portion of those funds flowed back to Texas bank accounts for the benefit of

     John Goodman after paying fees to the other participants to launder the funds through

     them back to John Goodman. These transactions were done for the purpose of hiding the

     true source of the funds and making it difficult to trace the funds from the 4352 Account

     to their end source. These transactions had no real independent value other than to

     launder the funds out of the 4352 Account to others.

  574.       John Goodman committed acts involving fraud connected with a bankruptcy case

     under title 11 of the United States Code, including the following violations under 18

     U.S.C. § 152:

         c. In contemplation of bankruptcy and after the filing of a bankruptcy case, John

            Goodman knowingly and fraudulently transferred and concealed assets and funds,

            which had been obtained from the Enterprise, in an effort frustrate a United States

            Bankruptcy Court, the appointed bankruptcy trustee, the bankruptcy estate, and the

            bankruptcy creditors, including FSCLE;

         d. In furtherance of the schemes described above, John Goodman knowingly and

            fraudulently made false entries, oaths, statements, certificates, verifications,

            schedules, books, records, papers, accounts, and declarations in, related to, and in

            contemplation of, the bankruptcy case in an effort to frustrate a United States

            Bankruptcy Court, the appointed bankruptcy trustee, the bankruptcy estate, and the

            bankruptcy creditors, including FSCLE, and aid the Enterprise; and



                                             97
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit 1A Filed
                                     Page10/27/23
                                          99 of 154 Page 98 of 153 PageID 98



         e. While acting or forbearing to act in a bankruptcy case, John Goodman knowingly

            and fraudulently gave, offered, received, and attempted to obtain money, property,

            remuneration, compensation, reward, and advantage, including but not limited to

            $700,000, the AMRR construction business, and the release of the put option on

            the GTH Stock.

  575.      John Goodman engaged in multiple acts of wire fraud in violation of 18 U.S.C. §

     1343 including but not limited to the emails and document he sent to and from lawyers in

     Florida as part of his bankruptcy fraud as outlined above.

  576.      As a direct and proximate result of John Goodman’s racketeering activities and in

     violation of 18 U.S.C. § 1962(c), FSCLE has been damaged in an amount that exceeds

     $75,000. FSCLE is entitled to recover its damages, trebled, as well as its reasonable

     attorneys’ fees and costs pursuant to 18 U.S.C. § 1964(c).

                                        GNET ATC

  577.      GNET ATC committed multiple acts of causing stolen funds with a value greater

     than $5,000 to be sent across state lines in violation of 18 U.S.C. § 2314 including but not

     limited to:

         (a) The fraudulent 18920 NW stock “sale” in which funds stolen from the 4352

            Account were sent from Texas to the account for 18920 NW in either Florida or

            the northeast and then were sent back to bank accounts in Texas; and

         (b) The AMRR/Multiband Global Scheme as outlined above. The funds used in this

            scheme came from the 4352 Account in Texas through accounts at East West

            Bank in California and then back to accounts in Texas.




                                              98
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                        Exhibit A1 Filed
                                   Page10/27/23
                                         100 of 154Page 99 of 153 PageID 99



  578.      In each of these instances GNET ATC knew that the funds were stolen and that

     the funds were being routed through banks in Texas to banks outside of Texas as part of

     the money laundering scheme.

  579.      GNET ATC participated in and facilitated multiple acts of wire fraud in violation

     of 18 U.S.C. § 1343, including but not limited to causing and permitting the hundreds of

     invoices as outlined above to be sent from Texas to Tennessee on or after November 3,

     2021 when Goodman Networks and GNET ATC made the decision not to pay FSCLE

     any of those sums back. GNET ATC knew that the sending of those invoices would

     prompt FSCLE to pay money from FSCLE outside of Texas into bank accounts in Texas

     that the Goodman or Frinzi and their associates would then be able to control and would

     use for purposes other than paying FSCLE back in accordance with the Master Services

     Agreement. GNET ATC pushed to keep the funds flow coming from FSCLE by the

     continued sending of invoices that were in substance fraudulent after it was obvious to

     GNET ATC and others that Goodman Networks had no intention of performing the

     Master Services Agreement.

  580.      GNET ATC participated in and facilitated multiple acts of wire fraud in violation

     of 18 U.S.C. § 1343, including but not limited to emails and texts between Jim Frinzi

     and Shalom Auerbach, Steven Zakharyayev and Evalina Pinkhasova in connection with

     the AMRR/Multiband Global Scheme and the fraudulent 18920 NW Scheme described

     above. The emails sent between Jim Frinzi in Texas and Shalom Auerbach, Steven

     Zakharyayev and/or Evalina Pinkhasova went in interstate communications as they were

     located in New York, New Jersey and/or Florida at the time of those communications in

     2021. Each of those transactions involved law firms in Texas and outside of Texas to



                                             99
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit1A Filed
                                     Page10/27/23
                                           101 of 154
                                                    Page 100 of 153 PageID 100



     paper the fraudulent transactions. Jim Frinzi participated in those email strings and was

     an officer/manager/owner of GNET ATC at the time of those communications.

  581.        GNET ATC committed offenses involving fraud connected with a bankruptcy case

     under title 11 of the United States Code, including the following violations under 18 U.S.C.

     § 152:

         (a) In contemplation of bankruptcy and after the filing of a bankruptcy case, GNET

              ATC knowingly and fraudulently transferred and concealed assets and funds, which

              had been obtained from the Enterprise, in an effort frustrate a United States

              Bankruptcy Court, the appointed bankruptcy trustee, the bankruptcy estate, and the

              bankruptcy creditors, including FSCLE, and aid the Enterprise; and

         (b) GNET ATC knowingly and fraudulently made false entries, oaths, statements,

              certificates, verifications, schedules, books, records, papers, accounts, and

              declarations in, related to, and in contemplation of, the bankruptcy case in an effort

              to frustrate a United States Bankruptcy Court, the appointed bankruptcy trustee, the

              bankruptcy estate, and the bankruptcy creditors, including FSCLE, and aid the

              Enterprise.

  582.        As a direct and proximate result of GNET ATC’s racketeering activities and in

     violation of 18 U.S.C. § 1962(c), FSCLE has been damaged in an amount that exceeds

     $75,000. FSCLE is entitled to recover its damages, trebled, as well as its reasonable

     attorneys’ fees and costs pursuant to 18 U.S.C. § 1964(c).

                                 AMRR and AMR Resources

  583.        AMRR and AMR Resources committed one or more acts of receiving stolen

     funds with a value greater than $5,000 that were sent across state lines in violation of 18



                                               100
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit1A Filed
                                     Page10/27/23
                                           102 of 154
                                                    Page 101 of 153 PageID 101



     U.S.C. § 2315 including but not limited to the $44 million sent to AMRR’s bank accounts

     at East West Bank in California from the 4352 Account at Prosperity Bank in Texas.

  584.      The original source of these payments was the stolen FSCLE funds from the 4352

     Account at Prosperity Bank in Texas.

  585.      AMRR and AMR Resources knew the source of the funds and knew or should

     have known that the funds were stolen. It had no value prior to be purchased as an Over-

     the-Counter shell company.

  586.      AMRR and AMR Resources committed multiple acts of causing stolen funds with

     a value greater than $5,000 to be sent across state lines in violation of 18 U.S.C. § 2314

     including but not limited to the funds that flowed through AMRR and AMR Resources to

     Multiband Global, Frinzi, Frinzi Family Trust, OnePath and the Goodmans.

  587.      These transactions involved funds from flowing from Texas to East West Bank in

     California to banks in Georgia, the northeast and ultimately back to Texas.

  588.      AMRR and AMR Resources committed multiple acts of money laundering in

     violation of 18 U.S.C. § 1956 including but not limited to:

     (a) working through Frinzi, the Auerbachs, Steven Zakharyayev and Evalina Pinkhasova

     on the fraudulent 18920 NW alleged stock “sale”; and

     (b) working through Frinzi on the AMRR/Multiband Global Scheme as outlined above.

  589.      In each of these cases, money from FSCLE first went from outside of Texas into

     the 4352 Account (as intended) and then was transferred out to a variety of banks outside

     of Texas including banks in California, the northeast, Georgia and/or Florida and then a

     significant portion of those funds flowed back to Texas bank accounts after paying fees to

     the other participants to launder the funds. These transactions were done for the purpose



                                             101
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit1A Filed
                                     Page10/27/23
                                           103 of 154
                                                    Page 102 of 153 PageID 102



     of hiding the true source of the funds and making it difficult to trace the funds from the

     4352 Account to their end source. These transactions had no real independent value

     other than to launder the funds out of the 4352 Account to others.

  590.      AMRR and AMR Resources committed offenses involving fraud connected with a

     bankruptcy case under title 11 of the United States Code, including the following violations

     under 18 U.S.C. § 152:

         (a) In contemplation of bankruptcy and after the filing of a bankruptcy case, AMRR

            and AMR Resources knowingly and fraudulently transferred and concealed assets

            and funds, which had been obtained from the Enterprise, in an effort frustrate a

            United States Bankruptcy Court, the appointed bankruptcy trustee, the bankruptcy

            estate, and the bankruptcy creditors, including FSCLE, and aid the Enterprise; and

         (b) AMRR and AMR Resources knowingly and fraudulently made false entries, oaths,

            statements, certificates, verifications, schedules, books, records, papers, accounts,

            and declarations in, related to, and in contemplation of, the bankruptcy case in an

            effort to frustrate a United States Bankruptcy Court, the appointed bankruptcy

            trustee, the bankruptcy estate, and the bankruptcy creditors, including FSCLE, and

            aid the Enterprise.

  591.      AMRR and AMR Resources fraudulently concealed the nature of the Enterprise

     and its receipt of the stolen FSCLE funds from its mandatory reporting to Securities and

     Exchange Commission, and AMRR and AMR Resources fraudulently held out the

     fraudulent AMRR Note and Security Agreement as valid commercial transactions in its

     reporting to the Securities and Exchange Commission.




                                             102
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit1A Filed
                                     Page10/27/23
                                           104 of 154
                                                    Page 103 of 153 PageID 103



  592.      As a direct and proximate result of AMRR’s racketeering activities and in

     violation of 18 U.S.C. § 1962(c), FSCLE has been damaged in an amount that exceeds

     $75,000. FSCLE is entitled to recover its damages, trebled, as well as its reasonable

     attorneys’ fees and costs pursuant to 18 U.S.C. § 1964(c).

                                   Multiband Field Services

  593.      MFS committed one or more acts of receiving stolen funds with a value greater

     than $5,000 that were sent across state lines in violation of 18 U.S.C. §§ 2314 and 2315

     including but not limited to the portion of the $4.5 million originally sent to Multiband

     Global’s bank accounts at East West Bank in California from the 4352 Account at

     Prosperity Bank in Texas.

  594.      MFS committed multiple acts of causing stolen funds with a value greater than

     $5,000 to be sent across state lines in violation of 18 U.S.C. § 2314 including but not

     limited to the funds that flowed through Multiband Global to OnePath, Frinzi, Frinzi

     Family Trust, and the Goodmans.

  595.      The original source of these payments was the stolen FSCLE funds from the 4352

     Account at Prosperity Bank in Texas.

  596.      MFS knew the source of the funds and knew or should have known that the funds

     were stolen.

  597.      MFS committed multiple acts of money laundering in violation of 18 U.S.C. §

     1956 including but not limited to:

     (a) working through Frinzi on the AMRR/Multiband Global Scheme as outlined above.

     In each of these cases, money from FSCLE first went from outside of Texas into the 4352

     Account (as intended) and then was transferred out to a variety of banks outside of Texas



                                             103
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit1A Filed
                                     Page10/27/23
                                           105 of 154
                                                    Page 104 of 153 PageID 104



     including banks in California, the northeast, Georgia and/or Florida and then a significant

     portion of those funds flowed back to Texas bank accounts after paying fees to the other

     participants to launder the funds. These transactions were done for the purpose of hiding

     the true source of the funds and making it difficult to trace the funds from the 4352

     Account to their end source. These transactions had no real independent value other than

     to launder the funds out of the 4352 Account to others.

  598.      As a direct and proximate result of MFS’s racketeering activities and in violation

     of 18 U.S.C. § 1962(c), FSCLE has been damaged in an amount that exceeds $75,000.

     FSCLE is entitled to recover its damages, trebled, as well as its reasonable attorneys’ fees

     and costs pursuant to 18 U.S.C. § 1964(c).

                                     Multiband Global

  599.      Multiband Global committed one or more acts of receiving stolen funds with a

     value greater than $5,000 that were sent across state lines in violation of 18 U.S.C. §

     2315 including but not limited to the portion of the $4.5 million originally sent to

     Multiband Global’s bank accounts at East West Bank in California from the 4352

     Account at Prosperity Bank in Texas.

  600.      The original source of these payments was the stolen FSCLE funds from the 4352

     Account at Prosperity Bank in Texas.

  601.      Multiband Global knew the source of the funds and knew or should have known

     that the funds were stolen.

  602.      Multiband Global committed multiple acts of causing stolen funds with a value

     greater than $5,000 to be sent across state lines in violation of 18 U.S.C. § 2314 including




                                             104
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit1A Filed
                                     Page10/27/23
                                           106 of 154
                                                    Page 105 of 153 PageID 105



     but not limited to the funds that flowed through Multiband Global to OnePath and the

     Goodmans.

  603.      These transactions involved from flowing from Texas to East West Bank in

     California to banks in Georgia, the northeast and ultimately back to Texas.

  604.      Multiband Global committed multiple acts of money laundering in violation of 18

     U.S.C. § 1956 including but not limited to:

     (a) Working through Frinzi, the Auerbachs, Steven Zakharyayev and Evalina Pinkhasova

     on the fraudulent 18920 NW alleged stock “sale”; and

     (b) Working through Frinzi on the AMRR/Multiband Global Scheme as outlined above.

     In each of these cases, money from FSCLE first went from outside of Texas into the 4352

     Account (as intended) and then was transferred out to a variety of banks outside of Texas

     including banks in California, the northeast, Georgia and/or Florida and then a significant

     portion of those funds flowed back to Texas bank accounts after paying fees to the other

     participants to launder the funds. These transactions were done for the purpose of hiding

     the true source of the funds and making it difficult to trace the funds from the 4352

     Account to their end source. These transactions had no real independent value other than

     to launder the funds out of the 4352 Account to others.

  605.      As a direct and proximate result of Multiband Global’s racketeering activities and

     in violation of 18 U.S.C. § 1962(c), FSCLE has been damaged in an amount that exceeds

     $75,000. FSCLE is entitled to recover its damages, trebled, as well as its reasonable

     attorneys’ fees and costs pursuant to 18 U.S.C. § 1964(c).




                                             105
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit1A Filed
                                     Page10/27/23
                                           107 of 154
                                                    Page 106 of 153 PageID 106



                                          OnePath

  606.      OnePath committed one or more acts of receiving stolen funds with a value

     greater than $5,000 that were sent across state lines in violation of 18 U.S.C. § 2315

     including but not limited to the portion of the $44 million originally sent to AMRR’s

     bank accounts at East West Bank in California from the 4352 Account at Prosperity Bank

     in Texas. The funds were first sent to AMRR and then to OnePath.

  607.      The original source of these payments was the stolen FSCLE funds from the 4352

     Account at Prosperity Bank in Texas.

  608.      OnePath knew the source of the funds and knew or should have known that the

     funds were stolen.

  609.      OnePath committed multiple acts of causing stolen funds with a value greater than

     $5,000 to be sent across state lines in violation of 18 U.S.C. § 2314 including but not

     limited to the funds that flowed through OnePath to the Goodmans.

  610.      These transactions involved from flowing from Texas to East West Bank in

     California to banks in Georgia, the northeast and ultimately back to Texas.

  611.      OnePath committed multiple acts of money laundering in violation of 18 U.S.C. §

     1956 including but not limited to working through Frinzi on the AMRR/Multiband

     Global Scheme as outlined above.

  612.      In each of these cases, money from FSCLE first went from outside of Texas into

     the 4352 Account (as intended) and then was transferred out to a variety of banks outside

     of Texas including banks in California, the northeast, Georgia and/or Florida and then a

     significant portion of those funds flowed back to Texas bank accounts after paying fees to

     the other participants to launder the funds. These transactions were done for the purpose



                                             106
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit1A Filed
                                     Page10/27/23
                                           108 of 154
                                                    Page 107 of 153 PageID 107



     of hiding the true source of the funds and making it difficult to trace the funds from the

     4352 Account to their end source. These transactions had no real independent value

     other than to launder the funds out of the 4352 Account to others.

  613.      As a direct and proximate result of OnePath’s racketeering activities and in

     violation of 18 U.S.C. § 1962(c), FSCLE has been damaged in an amount that exceeds

     $75,000. FSCLE is entitled to recover its damages, trebled, as well as its reasonable

     attorneys’ fees and costs pursuant to 18 U.S.C. § 1964(c).

                              Goodman Investment Holdings

  614.      GIH committed one or more acts of receiving stolen funds with a value greater

     than $5,000 that were sent across state lines in violation of 18 U.S.C. § 2315 including

     but not limited to in excess of $11,000,000 in stolen FSCLE funds paid to it by Hudson

     as part of the Alliance/Hudson/Auerbach Scheme outlined above herein.

  615.      $10,570,912 was paid directly to GIH by Hudson.

  616.      $561,041 was paid to GIH by first paying it to Genesis-ATC. Genesis-ATC was

     acquired by Endeavor. GIH owns Endeavor.

  617.      The original source of these payments was the stolen FSCLE funds from the 4352

     Account at Prosperity Bank in Texas.

  618.      GIH knew the source of the funds and knew or should have known that the funds

     were stolen.

  619.      GIH committed multiple acts of money laundering in violation of 18 U.S.C. §

     1956 including but not limited to:

     (a) Working through Frinzi on the AMRR/Multiband Global Scheme as outlined above;




                                             107
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit1A Filed
                                     Page10/27/23
                                           109 of 154
                                                    Page 108 of 153 PageID 108



     (b) Working with Frinzi, Alliance, Hudson and the Auerbachs to launder the bond “sale”

         money through to the Goodmans; and

     (c) Founding and owning Endeavor which owns Genesis-ATC or for which Genesis-

         ATC was merged into Endeavor.

  620.       In each of these cases, money from FSCLE first went from outside of Texas into

     the 4352 Account (as intended) and then was transferred out to a variety of banks outside

     of Texas including banks in California, the northeast, Georgia and/or Florida and then a

     significant portion of those funds flowed back to Texas bank accounts after paying fees to

     the other participants to launder the funds. These transactions were done for the purpose

     of hiding the true source of the funds and making it difficult to trace the funds from the

     4352 Account to their end source. These transactions had no real independent value

     other than to launder the funds out of the 4352 Account to others.

  621.      As a direct and proximate result of GIH’s racketeering activities and in violation

     of 18 U.S.C. § 1962(c), FSCLE has been damaged in an amount that exceeds $75,000.

     FSCLE is entitled to recover its damages, trebled, as well as its reasonable attorneys’ fees

     and costs pursuant to 18 U.S.C. § 1964(c).

                                         Jim Frinzi

  622.      Jim Frinzi participated in and facilitated multiple acts of wire fraud in violation of

     18 U.S.C. § 1343, including but not limited to causing and permitting the hundreds of

     invoices as outlined above to be sent from Texas to Tennessee on or after November 3,

     2021 when he and his companies (Goodman Networks and GNET ATC) made the

     decision not to pay FSCLE any of those sums back. Jim Frinzi knew that the sending of

     those invoices would prompt FSCLE to pay money from FSCLE outside of Texas into



                                             108
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit1A Filed
                                     Page10/27/23
                                           110 of 154
                                                    Page 109 of 153 PageID 109



     bank accounts in Texas that he and his associates would then be able to control and

     would use for purposes other than paying FSCLE back in accordance with the Master

     Services Agreement. Frinzi pushed to keep the funds flow coming from FSCLE long by

     the continued sending of invoices that were in substance fraudulent after it was obvious

     to him and others in his circle that neither he nor any of his companies had any intention

     of performing the Master Services Agreement.

  623.      Jim Frinzi participated in and facilitated multiple acts of wire fraud in violation of

     18 U.S.C. § 1343, including but not limited to emails and texts between he and Shalom

     Auerbach, Steven Zakharyayev and Evalina Pinkhasova in connection with the fraudulent

     bond purchase transaction and the fraudulent 18920 NW stock sale described above. The

     emails sent between Jim Frinzi in Texas and Shalom Auerbach, Steven Zakharyayev

     and/or Evalina Pinkhasova went in interstate communications as they were located in

     New York, New Jersey and/or Florida at the time of those communications in 2021 and

     2022. As detailed above, those wire communications occurred on December 9, 2021,

     January 3, 4, and 31, February 28 and March 9, 2022 among others. Frinzi also had wire

     communications with San Blass Securities in Georgia in connection with these fraudulent

     transactions. Each of those transactions involved persons and professionals in Texas and

     outside of Texas to paper the fraudulent transactions. Jim Frinzi participated in those

     email strings and calls. He signed certain transactional documents associated with the

     alleged stock sale and sent them via email outside of Texas to New York, New Jersey

     and/or Florida.

  624.      James Frinzi engaged in acts of bank fraud with and against Prosperity Bank in

     violation of 18 U.S.C. § 1344 including but not limited to communicating with Bater



                                             109
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit1A Filed
                                     Page10/27/23
                                           111 of 154
                                                    Page 110 of 153 PageID 110



     Bates and others at Prosperity Bank that he “authorized” the transfer of control over the

     funds at Prosperity Bank when Jim Frinzi and Bater Bates knew that Jim Frinzi did not

     have the authority to authorize the transfer of those accounts without the approval of at

     least two other directors of Goodman Networks and at that time there were no other

     directors of Goodman Networks. Jim Frinzi further sent false documents to facilitate the

     transfer of those accounts when Frinzi knew that the documents were without authority

     and were false. Without the transfer in control of those accounts including the 4352

     Account, it would not have been possible for the Defendants to commit fraud, theft and

     money laundering on the scale that they subsequently engaged. Jim Frinzi misued or

     directed others to misuse banking login credentials in an effort to facilitate wire transfers

     in December 2021 in furtherance of the AMRR/Multiband Global Scheme.

  625.        Jim Frinzi committed multiple acts of money laundering in violation of 18 U.S.C.

     § 1956 including but not limited to:

     (a) Directing the payment of “rents” through Goodman Networks or GNET ATC

     ultimately to James Goodman when no “rents were then validly due;

     (b) Working with James Goodman and the Auerbachs to engage in a fraudulent bond

     “sale” that was nothing more than an effort to pull money out of the 4352 Account,

     (c) Working with James Goodman, the Auerbachs, Zakharyayev and Pinkhasova on the

     fraudulent 18920 NW alleged stock “sale”; and

     (d) Working with James Goodman on the AMRR/Multiband Global Scheme as outlined

     above.

  626.        In each of these cases, money from FSCLE first went from outside of Texas into

     the 4352 Account (as intended) and then was transferred out to a variety of banks outside



                                              110
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit1A Filed
                                     Page10/27/23
                                           112 of 154
                                                    Page 111 of 153 PageID 111



     of Texas including banks in California, the northeast, Georgia and/or Florida and then a

     significant portion of those funds flowed back to Texas bank accounts for the benefit of

     Jim Frinzi and/or the Frinzi Family Trust after paying fees to the other participants to

     launder the funds through them to Frinzi and/or the Frinzi Family Trust. These

     transactions were done for the purpose of hiding the true source of the funds and making

     it difficult to trace the funds from the 4352 Account to their end source. These

     transactions had no real independent value other than to launder the funds out of the 4352

     Account to others.

  627.      Jim Frinzi committed multiple acts of causing stolen funds with a value greater

     than $5,000 to be sent across state lines in violation of 18 U.S.C. § 2314 including but not

     limited to:

     (a) The fraudulent bond “sale” involving the Auerbachs as described in detail above.

         The stolen funds from the 4352 Account went from the 4352 Account in Texas to an

         account in the name of Alliance outside of Texas, to accounts for Hudson and then

         Auerbach Partners outside of Texas and back into Texas into a bank account for the

         benefit of James Goodman;

     (b) The fraudulent 18920 NW stock “sale” in which funds stolen from the 4352 Account

         were sent from Texas to the account for 18920 NW in either Florida or the northeast

         and then were sent back to an account in Texas for the benefit of James Goodman an

         John Goodman;

     (c) The AMRR/Multiband Global Scheme as outlined above. The funds used in this

         scheme came from the 4352 Account in Texas through accounts at East West Bank in




                                             111
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit1A Filed
                                     Page10/27/23
                                           113 of 154
                                                    Page 112 of 153 PageID 112



         California and then back to accounts in Texas for the benefit of James Goodman, Jim

         Frinzi and/or the Frinzi Family Trust.

  628.      In each of these instances Frinzi knew that the funds were stolen and that the

     funds were being routed through banks outside of Texas as part of the money laundering

     scheme. Jim Frinzi sent these stolen funds and then accepted them for his own purposes.

  629.      Jim Frinzi committed multiple acts of receiving stolen funds with a value greater

     than $5,000 that were sent across state lines in violation of 18 U.S.C. § 2315 including

     but not limited to:

     (a) The fraudulent bond “sale” involving the Auerbachs as described in detail above.

         The stolen funds from the 4352 Account went from the 4352 Account in Texas to an

         account in the name of Alliance outside of Texas, to accounts for Hudson and then

         Auerbach Partners outside of Texas and back into Texas into a bank account for the

         benefit of James Goodman;

     (b) The fraudulent 18920 NW stock “sale” in which funds stolen from the 4352 Account

         were sent from Texas to the account for 18920 NW in either Florida or the northeast

         and then were sent back to an account in Texas for the benefit of James Goodman and

         John Goodman;

         The AMRR/Multiband Global Scheme as outlined above. The funds used in this

         scheme came from the 4352 Account in Texas through accounts at East West Bank in

         California and then back to accounts in Texas for the benefit of James Goodman, Jim

         Frinzi and/or the Frinzi Family Trust.

  630.      In each of these instances Frinzi knew that the funds were stolen and that the

     funds were being routed through banks outside of Texas as part of the money laundering



                                             112
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit1A Filed
                                     Page10/27/23
                                           114 of 154
                                                    Page 113 of 153 PageID 113



     scheme. Frinzi accepted these stolen funds and used them for his own purposes and to

     benefit other Defendants.

  631.        James Frinzi committed acts involving fraud connected with a bankruptcy case

     under title 11 of the United States Code, including the following violations under 18 U.S.C.

     § 152:

         (a) In contemplation of bankruptcy and after the filing of a bankruptcy case, James

              Frinzi knowingly and fraudulently transferred and concealed funds and proceeds of

              the 4352 Account, which had been obtained from the Enterprise, in an effort to

              frustrate a United States Bankruptcy Court, the appointed bankruptcy trustee, the

              bankruptcy estate, and the bankruptcy creditors, including FSCLE, and aid the

              Enterprise; and

         (b) In furtherance of the schemes described above, James Frinzi knowingly and

              fraudulently made false entries, oaths, statements, certificates, verifications,

              schedules, books, records, papers, accounts, and declarations in, related to, and in

              contemplation of, the bankruptcy case in an effort to frustrate a United States

              Bankruptcy Court, the appointed bankruptcy trustee, the bankruptcy estate, and the

              bankruptcy creditors, including FSCLE, and aid the Enterprise.

  632.        Jim Frinzi caused AMRR to fraudulently conceal the nature of the Enterprise and

     AMRR’s receipt of the stolen FSCLE funds from its mandatory reporting to Securities

     and Exchange Commission, and Jim Frinzi caused AMRR to fraudulently hold out the

     fraudulent AMRR Note and Security Agreement as valid commercial transactions in its

     reporting to the Securities and Exchange Commission. Jim Frinzi signed each of the




                                              113
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit1A Filed
                                     Page10/27/23
                                           115 of 154
                                                    Page 114 of 153 PageID 114



     reporting documents containing the frauds that were filed with the Securities and

     Exchange Commission.

  633.      As a direct and proximate result of Jim Frinzi’s racketeering activities and in

     violation of 18 U.S.C. § 1962(c), FSCLE has been damaged in an amount that exceeds

     $75,000. FSCLE is entitled to recover its damages, trebled, as well as its reasonable

     attorneys’ fees and costs pursuant to 18 U.S.C. § 1964(c).

                                  The Frinzi Family Trust

  634.      The Frinzi Family Trust committed multiple acts of receiving stolen funds with a

     value greater than $5,000 that were sent across state lines in violation of 18 U.S.C. §

     2315 including but not limited to: The AMRR/Multiband Global Scheme as outlined

     above. The funds used in this scheme came from the 4352 Account in Texas through

     accounts at East West Bank in California and then back to accounts in Texas for the

     benefit of James Goodman, Jim Frinzi and/or the Frinzi Family Trust.

     In each of these instances Frinzi knew that the funds were stolen and that the funds were

     being routed through banks outside of Texas as part of the money laundering scheme.

     Frinzi accepted these stolen funds and used them for his own purposes and to benefit

     other Defendants.

  635.      The Frinzi Family Trust committed multiple acts of money laundering in violation

     of 18 U.S.C. § 1956 including but not limited to: (a) participating in the

     AMRR/Multiband Global Scheme as outlined above.

  636.      In each of these cases, money from FSCLE first went from outside of Texas into

     the 4352 Account (as intended) and then was transferred out to a variety of banks outside

     of Texas including banks in California, the northeast, Georgia and/or Florida and then a



                                             114
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit1A Filed
                                     Page10/27/23
                                           116 of 154
                                                    Page 115 of 153 PageID 115



     significant portion of those funds flowed back to Texas bank accounts for the benefit of

     Jim Frinzi and/or the Frinzi Family Trust after paying fees to the other participants to

     launder the funds through them to Frinzi and/or the Frinzi Family Trust. These

     transactions were done for the purpose of hiding the true source of the funds and making

     it difficult to trace the funds from the 4352 Account to their end source. These

     transactions had no real independent value other than to launder the funds out of the 4352

     Account to others.

  637.      The Frinzi Family Trust committed acts involving fraud connected with a

     bankruptcy case under title 11 of the United States Code, including the following violations

     under 18 U.S.C. § 152:

         (a) In contemplation of bankruptcy and after the filing of a bankruptcy case, the Frinzi

            Family Trust knowingly and fraudulently transferred and concealed funds and

            proceeds of the 4352 Account, which had been obtained from the Enterprise, in an

            effort to frustrate a United States Bankruptcy Court, the appointed bankruptcy

            trustee, the bankruptcy estate, and the bankruptcy creditors, including FSCLE, and

            aid the Enterprise; and

         (b) In furtherance of the schemes described above, the Frinzi Family Trust knowingly

            and fraudulently made false entries, oaths, statements, certificates, verifications,

            schedules, books, records, papers, accounts, and declarations in, related to, and in

            contemplation of, the bankruptcy case in an effort to frustrate a United States

            Bankruptcy Court, the appointed bankruptcy trustee, the bankruptcy estate, and the

            bankruptcy creditors, including FSCLE, and aid the Enterprise.




                                             115
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit1A Filed
                                     Page10/27/23
                                           117 of 154
                                                    Page 116 of 153 PageID 116



  638.      The Frinzi Family Trust caused AMRR to fraudulently conceal the nature of the

     Enterprise and its receipt of the proceeds of the stolen FSCLE funds from AMRR’s

     mandatory reporting to Securities and Exchange Commission, and the Frinzi Family

     Trust caused AMRR to fraudulently hold out the fraudulent AMRR Note and Security

     Agreement as valid commercial transactions in its reporting to the Securities and

     Exchange Commission.

  639.      As a direct and proximate result of the Frinzi Family Trust’s racketeering activities

     and in violation of 18 U.S.C. § 1962(c), FSCLE has been damaged in an amount that

     exceeds $75,000. FSCLE is entitled to recover its damages, trebled, as well as its

     reasonable attorneys’ fees and costs pursuant to 18 U.S.C. § 1964(c).

                                    Shalom Auerbach

  640.      Shalom Auerbach participated in and facilitated multiple acts of wire fraud in

     violation of 18 U.S.C. § 1343, including but not limited to emails and texts between he

     and Jim Frinzi, James Goodman, Steven Zakharyayev and Evalina Pinkhasova in

     connection with the fraudulent bond purchase transaction and the fraudulent 18920 NW

     stock sale described above. The emails sent between Jim Frinzi or James Goodman in

     Texas and Shalom Auerbach, Steven Zakharyayev and/or Evalina Pinkhasova went in

     interstate communications as they were located in New York, New Jersey and/or Florida

     at the time of those communications in 2021 and 2022. As detailed above, those wire

     communications occurred on December 9, 2021, January 3, 4, and 31, February 28 and

     March 9, 2022 among others. Shalom Auerbach also had wire communications with San

     Blass Securities in Georgia in connection with these fraudulent transactions. Each of

     those transactions involved persons and professionals in Texas and outside of Texas to



                                            116
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit1A Filed
                                     Page10/27/23
                                           118 of 154
                                                    Page 117 of 153 PageID 117



     paper the fraudulent transactions. Shalom Auerbach participated in those email strings

     and calls. He signed certain transactional documents associated with the alleged stock

     sale and the bond purchase and sent them via email from New York to Texas, Georgia,

     New Jersey and/or Florida.

  641.      Shalom Auerbach committed multiple acts of money laundering in violation of 18

     U.S.C. § 1956 including but not limited to:

     (a) Working with James Goodman, Jim Frinzi and Neil Auerbach to engage in a

     fraudulent bond “sale” that was nothing more than an effort to pull money out of the 4352

     Account; and

     (b) Working with James Goodman, Jim Frinzi, Zakharyayev and Pinkhasova on the

     fraudulent 18920 NW alleged stock “sale”.

  642.      In each of these cases, money from FSCLE first went from outside of Texas into

     the 4352 Account (as intended) and then was transferred out to a variety of banks outside

     of Texas including banks in California, the northeast, Georgia and/or Florida and then a

     significant portion of those funds flowed back to Texas bank accounts for the benefit of

     James Goodman and/or John Goodman after taking fees for himself and Auerbach

     Partners to launder the funds. These transactions were done for the purpose of hiding the

     true source of the funds and making it difficult to trace the funds from the 4352 Account

     to their end source. These transactions had no real independent value other than to

     launder the funds out of the 4352 Account to others.

  643.      Shalom Auerbach committed multiple acts of causing stolen funds with a value

     greater than $5,000 to be sent across state lines in violation of 18 U.S.C. § 2314 including

     but not limited to:



                                             117
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit1A Filed
                                     Page10/27/23
                                           119 of 154
                                                    Page 118 of 153 PageID 118



     (a) The fraudulent bond “sale” as described in detail above. The stolen funds from the

         4352 Account went from the 4352 Account in Texas to an account in the name of

         Alliance outside of Texas, to accounts for Hudson and then Auerbach Partners

         outside of Texas and back into Texas into a bank account for the benefit of James

         Goodman; and

         The fraudulent 18920 NW stock “sale” in which funds stolen from the 4352 Account

         were sent from Texas to the account for 18920 NW in either Florida or the northeast

         and then were sent back to an account in Texas for the benefit of James Goodman.

  644.      In each of these instances Shalom Auerbach knew that the funds were stolen and

     that the funds were being routed through banks outside of Texas as part of the money

     laundering scheme. Shalom Auerbach sent these stolen funds and then accepted them for

     his own purposes.

  645.      Shalom Auerbach committed multiple acts of receiving stolen funds with a value

     greater than $5,000 that were sent across state lines in violation of 18 U.S.C. § 2315

     including but not limited to:

     (a) The fraudulent bond “sale” as described in detail above. The stolen funds from the

         4352 Account went from the 4352 Account in Texas to an account in the name of

         Alliance outside of Texas, to accounts for Hudson and then Auerbach Partners

         outside of Texas and back into Texas into a bank account for the benefit of James

         Goodman;

     (b) The fraudulent 18920 NW stock “sale” in which funds stolen from the 4352 Account

         were sent from Texas to the account for 18920 NW in either Florida or the northeast




                                             118
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit1A Filed
                                     Page10/27/23
                                           120 of 154
                                                    Page 119 of 153 PageID 119



         and then were sent back to an account in Texas for the benefit of James Goodman and

         John Goodman;

  646.      In each of these instances Shalom Auerbach knew that the funds were stolen and

     that the funds were being routed through banks outside of Texas as part of the money

     laundering scheme. Shalom Auerbach accepted these stolen funds and used them for his

     own purposes and to benefit other Defendants.

  647.      Shalom Auerbach committed acts involving fraud connected with a bankruptcy

     case under title 11 of the United States Code, including the following violations under 18

     U.S.C. § 152:

         (a) In contemplation of bankruptcy and after the filing of a bankruptcy case, Shalom

            Auerbach knowingly and fraudulently transferred and concealed funds and

            proceeds of the 4352 Account, which had been obtained from the Enterprise, in an

            effort to frustrate a United States Bankruptcy Court, the appointed bankruptcy

            trustee, the bankruptcy estate, and the bankruptcy creditors, including FSCLE, and

            aid the Enterprise; and

         (b) In furtherance of the schemes described above, Shalom Auerbach knowingly and

            fraudulently made false entries, oaths, statements, certificates, verifications,

            schedules, books, records, papers, accounts, and declarations in, related to, and in

            contemplation of, the bankruptcy case in an effort to frustrate a United States

            Bankruptcy Court, the appointed bankruptcy trustee, the bankruptcy estate, and the

            bankruptcy creditors, including FSCLE, and aid the Enterprise.

         (c) Shalom    Auerbach       knowingly    and   fraudulently   participated   in   the

            AMRR/Multiband Global Scheme with intent to defeat the provisions of the



                                             119
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit1A Filed
                                     Page10/27/23
                                           121 of 154
                                                    Page 120 of 153 PageID 120



            Bankruptcy Code and, after the filing of a bankruptcy case, acquired the AMRR

            construction business from AMRR based on the justification that AMRR was a

            “melting ice cube” that would lose all value if he did not rescue it at a steep

            discounted price on commercially unreasonable terms.

  648.      Shalom Auerbach, while serving on the AMRR board, caused AMRR to

     fraudulently conceal the nature of the Enterprise and its receipt of the proceeds of the

     stolen FSCLE funds from AMRR’s mandatory reporting to Securities and Exchange

     Commission, and Shalom Auerbach, while serving on the AMRR board, caused AMRR

     to fraudulently hold out the fraudulent AMRR Note and Security Agreement as valid

     commercial transactions in its reporting to the Securities and Exchange Commission. The

     AMRR board, including Shalom Auerbach approved or signed AMRR’s filings with the

     Securities and Exchange Commission.

  649.      As a direct and proximate result of Shalom Auerbach’s racketeering activities and

     in violation of 18 U.S.C. § 1962(c), FSCLE has been damaged in an amount that exceeds

     $75,000. FSCLE is entitled to recover its damages, trebled, as well as its reasonable

     attorneys’ fees and costs pursuant to 18 U.S.C. § 1964(c).

                          Neil Auerbach and Auerbach Partners

  650.      Neil Auerbach and Auerbach Partners committed multiple acts of money

     laundering in violation of 18 U.S.C. § 1956 including but not limited to working with

     Shalom Auerbach, James Goodman and Jim Frinzi to engage in a fraudulent bond “sale”

     that was nothing more than an effort to pull money out of the 4352 Account.

     In each of these cases, money from FSCLE first went from outside of Texas into the 4352

     Account (as intended) and then was transferred out to a variety of banks outside of Texas



                                             120
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit1A Filed
                                     Page10/27/23
                                           122 of 154
                                                    Page 121 of 153 PageID 121



     including banks in California, the northeast, Georgia and/or Florida and then a significant

     portion of those funds flowed back to Texas bank accounts for the benefit of James

     Goodman after taking fees for himself and/or Auerbach Partners to launder the funds.

     These transactions were done for the purpose of hiding the true source of the funds and

     making it difficult to trace the funds from the 4352 Account to their end source. These

     transactions had no real independent value other than to launder the funds out of the 4352

     Account to others.

  651.      Neil Auerbach committed multiple acts of causing stolen funds with a value

     greater than $5,000 to be sent across state lines in violation of 18 U.S.C. § 2314 including

     but not limited to: the fraudulent bond “sale” as described in detail above. The stolen

     funds from the 4352 Account went from the 4352 Account in Texas to an account in the

     name of Alliance outside of Texas, to accounts for Hudson and then Auerbach Partners

     outside of Texas and back into Texas into a bank account for the benefit of James

     Goodman.

  652.      In each of these instances Neil Auerbach knew or should have known that the

     funds were stolen and that the funds were being routed through banks outside of Texas as

     part of the money laundering scheme. There was no legitimate business reason to rout

     the funds flow for the “bond sale” in which the funds simply flowed through his various

     entities minus a transactional payment of several million dollars. The very nature of the

     transaction shows his knowledge. Neil Auerbach sent these stolen funds and then

     accepted them for his own purposes.

  653.      Neil Auerbach and Auerbach Partners committed multiple acts of receiving stolen

     funds with a value greater than $5,000 that were sent across state lines in violation of 18



                                             121
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit1A Filed
                                     Page10/27/23
                                           123 of 154
                                                    Page 122 of 153 PageID 122



     U.S.C. § 2315 including but not limited to: the fraudulent bond “sale” as described in

     detail above. The stolen funds from the 4352 Account went from the 4352 Account in

     Texas to an account in the name of Alliance outside of Texas, to accounts for Hudson and

     then Auerbach Partners outside of Texas and back into Texas into a bank account for the

     benefit of James Goodman.

  654.      In each of these instances Neil Auerbach and/or the Auerbach Partners knew or

     should have known that the funds were stolen and that the funds were being routed

     through banks outside of Texas as part of the money laundering scheme. There was no

     legitimate business reason to rout the funds flow for the “bond sale” in which the funds

     simply flowed through his various entities minus a transactional payment of several

     million dollars. The very nature of the transaction shows his knowledge and that of

     Auerbach Partners. Neil Auerbach and Auerbach Partners accepted these stolen funds

     and used them for their own purposes and to benefit other Defendants.

  655.      As a direct and proximate result of Neil Auerbach and Auerbach Partner’s

     racketeering activities and in violation of 18 U.S.C. § 1962(c), FSCLE has been damaged

     in an amount that exceeds $75,000. FSCLE is entitled to recover its damages, trebled, as

     well as its reasonable attorneys’ fees and costs pursuant to 18 U.S.C. § 1964(c).

                                   Alliance and Hudson

  656.      Alliance and Hudson committed multiple acts of receiving stolen funds with a

     value greater than $5,000 that were sent across state lines in violation of 18 U.S.C. §

     2315 including but not limited to: the fraudulent bond “sale” as described in detail

     above. The stolen funds from the 4352 Account went from the 4352 Account in Texas to

     an account in the name of Alliance outside of Texas, to accounts for Hudson and then



                                             122
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit1A Filed
                                     Page10/27/23
                                           124 of 154
                                                    Page 123 of 153 PageID 123



     Auerbach Partners outside of Texas and back into Texas into a bank account for the

     benefit of James Goodman.

  657.      In each of these instances Alliance and Hudson knew or should have known that

     the funds were stolen and that the funds were being routed through banks outside of

     Texas as part of the money laundering scheme. There was no legitimate business reason

     to rout the funds flow for the “bond sale” in which the funds simply flowed through his

     various entities minus a transactional payment of several million dollars. The very nature

     of the transaction shows the knowledge of Alliance and Hudson. Alliance and Hudson

     accepted these stolen funds and used them for their own purposes and to benefit other

     Defendants.

  658.      Alliance and Hudson committed multiple acts of money laundering in violation of

     18 U.S.C. § 1956 including but not limited to working with Shalom Auerbach, James

     Goodman, Jim Frinzi, Zakharyayev and Pinkhasova to engage in a fraudulent bond “sale”

     that was nothing more than an effort to pull money out of the 4352 Account.

     In each of these cases, money from FSCLE first went from outside of Texas into the 4352

     Account (as intended) and then was transferred out to a variety of banks outside of Texas

     including banks in California, the northeast, Georgia and/or Florida and then a significant

     portion of those funds flowed back to Texas bank accounts for the benefit of James

     Goodman, Jim Frinzi and/or the Frinzi Family Trust after taking fees for Alliance and/or

     Hudson or simply to wash the funds through their organizations to James Goodman,

     Frinzi and/or the Frinzi Family Trust. These transactions were done for the purpose of

     hiding the true source of the funds and making it difficult to trace the funds from the




                                             123
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit1A Filed
                                     Page10/27/23
                                           125 of 154
                                                    Page 124 of 153 PageID 124



     4352 Account to their end source. These transactions had no real independent value

     other than to launder the funds out of the 4352 Account to others.

  659.      As a direct and proximate result of Alliance’s and Hudson’s racketeering activities

     and in violation of 18 U.S.C. § 1962(c), FSCLE has been damaged in an amount that

     exceeds $75,000. FSCLE is entitled to recover its damages, trebled, as well as its

     reasonable attorneys’ fees and costs pursuant to 18 U.S.C. § 1964(c).

                18920 NW, Steven Zakharyayev and Evalina Pinkhasova

  660.      18920 NW, Steven Zakharyayev and Evalina Pinkhasova participated in and

     facilitated multiple acts of wire fraud in violation of 18 U.S.C. § 1343, including but not

     limited to emails and texts between them and Jim Frinzi, James Goodman and Shalom

     Auerbach in connection with the fraudulent bond purchase transaction and the fraudulent

     18920 NW stock sale described above. The emails sent between them and Jim Frinzi or

     James Goodman in Texas and Shalom Auerbach went in interstate communications as

     they were located in New York, New Jersey and/or Florida at the time of those

     communications in 2021 and 2022. As detailed above, those wire communications

     occurred in January, February and March, 2022 among others. Zakharyayev and

     Pinkhasova signed certain transactional documents associated with the alleged stock sale

     and the bond purchase and sent them via email from New York to Texas, Georgia, New

     Jersey and/or Florida.

  661.       18920 NW, Steven Zakharyayev and Evalina Pinkhasova committed multiple

     acts of money laundering in violation of 18 U.S.C. § 1956 including but not limited to

     working with James Goodman and Jim Frinzi on the fraudulent 18920 NW alleged stock

     “sale” and the AMRR/Multiband Global Scheme.



                                             124
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit1A Filed
                                     Page10/27/23
                                           126 of 154
                                                    Page 125 of 153 PageID 125



  662.      In each of these cases, money from FSCLE first went from outside of Texas into

     the 4352 Account (as intended) and then was transferred out to a variety of banks outside

     of Texas including banks in California, the northeast, Georgia and/or Florida and then a

     significant portion of those funds flowed back to Texas bank accounts for the benefit of

     James Goodman after taking fees for themselves to launder the funds. These transactions

     were done for the purpose of hiding the true source of the funds and making it difficult to

     trace the funds from the 4352 Account to their end source. These transactions had no real

     independent value other than to launder the funds out of the 4352 Account to others.

  663.      18920 NW, Steven Zakharyayev and Evalina Pinkhasova committed multiple acts

     of causing stolen funds with a value greater than $5,000 to be sent across state lines in

     violation of 18 U.S.C. § 2314 including but not limited to: the fraudulent 18920 NW

     stock “sale” in which funds stolen from the 4352 Account were sent from Texas to the

     account for 18920 NW in either Florida or the northeast and then were sent back to an

     account in Texas for the benefit of James Goodman and John Goodman.

     In each of these instances 18920 NW, Steven Zakharyayev and Evalina Pinkhasova knew

     that the funds were stolen and that the funds were being routed through banks outside of

     Texas as part of the money laundering scheme. 18920 NW, Steven Zakharyayev and

     Evalina Pinkhasova sent these stolen funds and then accepted them for their own

     purposes.

  664.      18920 NW, Steven Zakharyayev and Evalina Pinkhasova committed multiple acts

     of receiving stolen funds with a value greater than $5,000 that were sent across state lines

     in violation of 18 U.S.C. § 2315 including but not limited to: the fraudulent 18920 NW

     stock “sale” in which funds stolen from the 4352 Account were sent from Texas to the



                                             125
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit1A Filed
                                     Page10/27/23
                                           127 of 154
                                                    Page 126 of 153 PageID 126



     account for 18920 NW in either Florida or the northeast and then were sent back to an

     account in Texas for the benefit of James Goodman;

  665.      In each of these instances 18920 NW, Steven Zakharyayev and Evalina

     Pinkhasova knew that the funds were stolen and that the funds were being routed through

     banks outside of Texas as part of the money laundering scheme. They accepted these

     stolen funds and used them for their own purposes and to benefit other Defendants.

  666.      As a direct and proximate result of 18920 NW, Steven Zakharyayev and Evalina

     Pinkhasova’s racketeering activities and in violation of 18 U.S.C. § 1962(c), FSCLE has

     been damaged in an amount that exceeds $75,000. FSCLE is entitled to recover its

     damages, trebled, as well as its reasonable attorneys’ fees and costs pursuant to 18 U.S.C.

     § 1964(c).

                                      Prosperity Bank

  667.      Prosperity Bank committed multiple acts of causing stolen funds with a value

     greater than $5,000 to be sent across state lines in violation of 18 U.S.C. § 2314 including

     but not limited to the more than $80,000,000 in funds that Prosperity Bank sent out of the

     4352 Account to bank accounts at East West Bank in California and other banks outside

     of Texas including as part of the Alliance/Hudson/Auerbach Scheme, the

     AMRR/Multiband Global Scheme and the fraudulent 18920 NW Scheme.

  668.      Prosperity Bank had visibility into the funds flow into and out of the 4352

     Account when it was being used as intended to hold the FSCLE funds before they were

     paid back to FSCLE less .02%.

  669.      Prosperity Bank knew that Frinzi and James Goodman had to validly authorize

     the transfer of the accounts and the funds listed therein.



                                              126
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit1A Filed
                                     Page10/27/23
                                           128 of 154
                                                    Page 127 of 153 PageID 127



  670.       Prosperity Bank’s Bater Bates knew that Goodman Networks did not have three

     directors and could not validly authorize transactions. He further knew that the Fifth

     Amended Restated Bylaws were fraudulent and unexecuted and yet worked with Frinzi

     and James Goodman to get them access to the accounts and then worked with them to

     send the funds out stolen and being used in money laundering schemes.

  671.       Bater Bates took these actions to keep the banking business of the Goodmans, Jim

     Frinzi and the companies controlled by them.

  672.       Under these circumstances Prosperity Bank is charged with the knowledge and

     actions of Bater Bates and thus knew the funds were stolen before sending them out.

  673.       Some of the funds stolen from the 4352 Account were used for purposes of

     paying off loans owed to Prosperity Bank and/or being held as security by Prosperity

     Bank.

  674.       Upon information and belief, after some of the stolen funds were sent out of

     Prosperity Bank and sent to banks outside of Texas (for example East West Bank in

     California) as outlined above, some of those funds came back to Prosperity Bank and

     were deposited into other accounts for one or more of the other Defendants. Thus,

     Prosperity Bank also committed multiple acts of receiving stolen funds with a value

     greater than $5,000 across state lines in violation of 18 U.S.C. § 2315.

  675.       Prosperity Bank committed multiple acts of bankruptcy fraud in violation of 18

     U.S.C. § 157 as described above including but not limited to causing certain accounts for

     Goodman Networks to be swept shortly before bond holders attempted to exercise control

     over the accounts for the purpose of keeping those funds for their own purposes and




                                             127
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit1A Filed
                                     Page10/27/23
                                           129 of 154
                                                    Page 128 of 153 PageID 128



     continuing to assert that Prosperity Bank had a right to those funds including the portion

     of those funds that were directly traceable to the 4352 Account.

  676.      As a direct and proximate result of Prosperity Bank’s racketeering activities and in

     violation of 18 U.S.C. § 1962(c), FSCLE has been damaged in an amount that exceeds

     $75,000. FSCLE is entitled to recover its damages, trebled, as well as its reasonable

     attorneys’ fees and costs pursuant to 18 U.S.C. § 1964(c).

                                    18 U.S.C. § 1962(d)

  677.      Defendants Jim Frinzi, James Goodman, John Goodman, Jason Goodman, Jody

     Goodman and Jonathan Goodman together with the entities that they control and acted

     through (including but not limited to Defendants such as GNET ATC, GIH, GTH,

     AMRR, AMR Resources, Multiband Global, MFS, the Frinzi Family Trust and

     Endeavor) entered into an agreement, conspiracy and enterprise in the fall of 2021 to pull

     as many of the assets out of the Genesis entities, Goodman Networks and GNET ATC as

     possible in advance of those entities becoming insolvent as a result of the AT&T

     disputes.

  678.      The initial group of conspirators would be joined later by Prosperity Bank

     (through Bater Bates), the Auerbachs, Steven Zakharyayev, Evalina Pinkhasova and the

     entities that they control and acted through (including but not limited to Defendants such

     as 18920 NW, Alliance, Hudson and Auerbach Partners) to launder the money from the

     4352 Account back to the Goodmans, Frinzi and the entities they control all while taking

     payments to facilitate the money laundering and theft.




                                             128
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit1A Filed
                                     Page10/27/23
                                           130 of 154
                                                    Page 129 of 153 PageID 129



  679.      The initial agreement to pursue this course of actions can be seen in the October

     12-13 emails between Frinzi and various people within Goodman Networks including

     numerous Goodmans about spinning off various business units and the FSCLE business.

  680.      Acts taken in furtherance of this conspiracy include but are not limited to:

     (a) James Goodman meeting with Bater Bates on October 14, 2021 to explain the need to

         get the funds out of the accounts and solicit his help in doing so;

     (b) James Goodman and John Goodman’s efforts to effect a change in control of the

         Prosperity Accounts after there was only one director at Goodman Networks

         including but not limited to sending documents without valid corporate authorization

         to do so and pressuring Prosperity Bank to transfer control of the accounts to Frinzi;

     (c) Jim Frinzi sending the fraudulent Fifth Amended and Restated Bylaws to Prosperity

         bank knowing that they were not validly authorized and doing so for the purpose of

         improperly obtaining control over the accounts;

     (d) Bater Bates knowing that the Fifth Amended and Restated Bylaws and “signed”

         corporate resolutions were false and fraudulent but accepting them anyway to

         facilitate the improper control of the accounts;

     (e) Frinzi’s November 3, 2021 decision to stop any further funds transfer back to FSCLE

         all while demanding that invoices continue to be sent to FSCLE to prompt further

         funds transfers into the 4352 Account and directing that FSCLE be misled as to true

         nature of what was occurring;

     (f) The November 10, 2021 email communications between Frinzi, James Goodman, and

         Jason Goodman about the need to protect the Goodmans from these transactions;




                                              129
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit1A Filed
                                     Page10/27/23
                                           131 of 154
                                                    Page 130 of 153 PageID 130



     (g) Frinzi’s December 7, 2021 email directing that the FSCLE business needs to be

         maintained and FSCLE not told the true nature of what was occurring;

     (h) Frinzi, James Goodman and others at their direction continuing to send invoices to

         FSCLE after the November 3 decision to suspend further transfers back to FSCLE

         and after the November 23 memo in which Frinzi admitted that Goodman Networks

         was insolvent;

     (i) Frinzi transferring millions out of the 4352 Account to persons and entities other than

         FSCLE; and

     (j) James Goodman, John Goodman, Jason Goodman, Jody Goodman, Jonathan

         Goodman and Jim Frinzi seeking funds from the 4352 Account knowing the improper

         nature of the demand and knowing the funds sent to them were stolen.

  681.      Shalom Auerbach agreed to join the conspiracy in early December 2021 (as early

     as December 9, 2021) based on phone calls, emails and texts between him and Jim Frinzi

     and/or James Goodman. Shalom Auerbach had done work prior to that to help identify

     AMRR as a public shell company that could be purchased but at this point there is not

     sufficient evidence to suggest that he knew at that point that AMRR would be used for

     fraudulent purposes to launder funds. However, by early December 2021, the nature of

     the plan was sufficiently clear that Auerbach’s participation or continued participation is

     implicit in his continued association.

  682.      Shalom Auerbach was warned by at least one broker dealer that the transactions

     made the uncomfortable. Shalom Auerbach moved forward anyway.

  683.      Shalom Auerbach brought Neil Auerbach, Alliance, Hudson, Auerbach Partners,

     Steven Zakharyayev, Evalina Pinkhasova and 18920 NW to the conspiracy.



                                              130
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit1A Filed
                                     Page10/27/23
                                           132 of 154
                                                    Page 131 of 153 PageID 131



  684.        Neil Auerbach’s agreement to join the conspiracy to help launder the money can

     be seen in his effort to sign off on the funds flow of the bond purchase that had the funds

     originally coming from the 4352 Account through Alliance and Hudson back to the

     Goodmans and Frinzi and taking nearly $6 million as a fee for facilitating the transaction.

     The fact that two sets of funds flow (one showing the real funds flow and one hiding it)

     were created and the nature of the transactions themselves shows the improper nature of

     the actions and Neil Auerbach’s consent to the same.

  685.        Steven Zakharyayev’s and Evalina Pinkhasova’s agreement to join the conspiracy

     to launder the stolen funds can be seen in their communications with Frinzi, Shalom

     Auerbach and James Goodman. As with Shalom and Neil Auerbach, the nature of the

     transactions and the fact that the original source of the funds is hidden, and the bulk of

     the funds go back to the Goodmans with a fee being paid for the facilitation shows the

     improper nature of the transactions and their consent to the agreement to launder the

     funds.

  686.        Acts taken in furtherance of the portion of the conspiracy to launder the stolen

     funds including but are not limited to:

  (a) Frinzi’s actions in December 2021 and January 2022 to take more than $6 million in

     stolen FSCLE funds to purchase AMRR through Multiband Global;

  (b) Frinzi’s and James Goodman’s January 1, 2022 efforts to steal in excess of $44 million

     from the 4352 Account and then “loan” those funds from GNET ATC to AMRR which

     then used a portion of those funds to purchase AMR Resources from OnePath;

  (c) Frinzi’s forgery of James Goodman’s signature on the AMRR “note”;




                                               131
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit1A Filed
                                     Page10/27/23
                                           133 of 154
                                                    Page 132 of 153 PageID 132



  (d) James Goodman’s acceptance of various funds from AMRR, AMR Resources, Multiband

     Global and/or OnePath that were nothing more than funds laundered through those

     transactions from the 4352 Account to him;

  (e) Frinzi’s efforts in August 2022 to restructure AMRR and Multiband Global to cause it to

     be owned in substantial part by him and the Frinzi Family Trust and he and the Frinzi

     Family Trusts’ acceptance of those funds;

  (f) The efforts of Frinzi, James Goodman, John Goodman, Steven Zakharyayev, Evalina

     Pinkhasova and Shalom Auerbach and the entities they control to “settle” fraudulent legal

     disputes involving AMRR and 18920 NW that resulted in more payments to them that

     were laundered through those transactions;

  (g) Frinzi, James Goodman and Shalom Auerbach exchanging texts and emails about Shalom

     Auerbach buying bonds in Goodman Networks from James Goodman when Goodman

     Networks was known to be insolvent;

  (h) Shalom Auerbach and/or Neil Auerbach changing the original bond purchase agreement

     to substitute the purchaser from being Auerbach Partners to Alliance and getting Steven

     Zakharyayev and Evalina Pinkhasova involved in the effort;

  (i) Frinzi causing in excess of $17 million in funds from the 4352 Account to be used as the

     “payment” for the bonds;

  (j) Neil Auerbach, Shalom Auerbach, Jim Frinzi, Steven Zakharyayev and/or Evalina

     Pinkhasova causing two versions of the funds flow memo on the bond sale to be created

     to hide the true source of the funds and the flow of the funds;

  (k) Neil Auerbach, Shalom Auerbach, Jim Frinzi, Steven Zakharyayev and/or Evalina

     Pinkhasova and the entities that they control including but not limited to Alliance,



                                             132
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit1A Filed
                                     Page10/27/23
                                           134 of 154
                                                    Page 133 of 153 PageID 133



     Hudson, Auerbach Partners and 18920 NW accepting the stolen funds and participating

     in the money laundering that was the fraudulent bond sale;

  (l) James Goodman and Frinzi exchanging texts and emails in January, February and March

     2022 concerning an effort to get an additional $3.5 million out of the 4352 Account and

     then using the 18920 NW scheme described above as the vehicle to do it;

  (m) Frinzi and Goodman exchanging an email on January 19, 2022 in which Frinzi says, “I

     have a plan to get most money back to you without exposing you are the beneficiary.”

  (n) Steven Zakharyayev and Evalina Pinkhasova being the front face of the 18920 NW

     Scheme including signing the documents associated with the scheme and communicating

     with outside professionals to further the scheme;

  (o) Steven Zakharyayev triggering the false “redemption” to further launder the funds;

  (p) Jim Frinzi and James Goodman agreeing to the “redemption” when there was no right to

     such a “redemption”; and

  (q) Frinzi causing more than $6 million in funds from the 4352 Account to be sent to 18920

     NW to be laundered back to the Goodmans and Frinzi.

  687.       Many of the individual acts taken in furtherance of the conspiracy were in and

     other themselves potentially lawful actions if taken for a lawful purpose. For example,

     signing the documents associated with the various corporate transactions described

     herein. However, when those transactions were themselves fraudulent and nothing more

     than a vehicle to launder stolen funds, those otherwise lawful acts became unlawful.

  688.       The Defendants knew that their actions were being taken for unlawful purposes

     by the express content of their communications, the nature of the plan and the inherently

     questionable and unlawful nature of the transactions themselves.



                                            133
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit1A Filed
                                     Page10/27/23
                                           135 of 154
                                                    Page 134 of 153 PageID 134



  689.        Some of the actions taken in furtherance of the conspiracy were on their face

     unlawful for example but not limited to sending a forged document the AMRR Note

     using interstate wire or sending stolen funds worth more than $5,000 across state lines.

  690.        As a direct and proximate result of the conspiracy described herein and the

     actions taken in furtherance of it and in violation of 18 U.S.C. § 1962(d), FSCLE has

     been damaged in an amount that exceeds $80,000,000.

  691.        FSCLE is entitled to recover its damages, trebled, as well as its reasonable

     attorneys’ fees and costs pursuant to 18 U.S.C. § 1964(c).

  692.         Further, FSCLE asserts that all of the named Defendants are members of this

     conspiracy and are jointly and severally liable for the damage caused by the conspiracy

     no matter what their benefit from participating in the scheme may be.

         Cause No. 2 – Theft (Embezzlement) Pursuant to Texas Theft Liability Act

                       Tex. Civ. Prac. & Rem. Code § 134.003 - .005

                          Against Jim Frinzi and James Goodman

  693.        FSCLE incorporates the averments of the preceding paragraphs of this Complaint

     as if fully restated herein.

  694.        Defendants Jim Frinzi and James Goodman have stolen in excess of $80,000,000

     in FSCLE funds.

  695.        FSCLE made the transfer of funds to the 4352 Account on the express promise

     and contractual agreement that all but .02% of those funds would be paid back to FSCLE.

  696.        Both Frinzi and Goodman knew that the 4352 Account housed funds received

     from FSCLE pursuant to the Master Services Agreement and that pursuant to the Master




                                              134
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit1A Filed
                                     Page10/27/23
                                           136 of 154
                                                    Page 135 of 153 PageID 135



     Services Agreement all but .02% of those funds had to be paid back to FSCLE in the

     automated workflow.

  697.      As of November 3, 2021, Frinzi, with James Goodman’s blessing and support,

     made the decision to stop any funds flow back to FSCLE and at the same time continued

     to cause Goodman Networks and/or GNET ATC to continue to send invoices to FSCLE

     which would prompt a transfer of funds from it with no intention of ever sending the

     funds back to FSCLE.

  698.      Frinzi even referred to the 4352 Account as the “FedEx account” and the funds

     contained therein as the “FedEx funds.”

  699.      Frinzi, with James Goodman’s blessing and participation, caused others within

     Goodman Networks and/or GNET ATC to lie to FSCLE as to the circumstances under

     which funds were not flowing back to FSCLE. The purpose of those lies was to keep

     FSCLE funding the 4352 Account.

  700.      Starting in October 2021 and culminating in January 2022, Frinzi and James

     Goodman worked to get the signatory authority on the 4352 Account and the other

     accounts at Prosperity Bank switched to Jim Frinzi.

  701.      Frinzi and James Goodman knew that because Goodman Networks had only one

     director on or after October 20, 2021, no such valid corporate action could be taken to

     authorize Frinzi to obtain control over the accounts.

  702.      Upon information and belief, Bater Bates and Prosperity Bank also knew that no

     such valid corporate action could be taken by Goodman Networks.




                                             135
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit1A Filed
                                     Page10/27/23
                                           137 of 154
                                                    Page 136 of 153 PageID 136



  703.       Yet, Prosperity Bank (through Bater Bates), Jim Frinzi and James Goodman

     worked together to get Frinzi control over those accounts even though they knew no such

     valid corporate authorization did exist or could exist.

  704.       Frinzi sent unauthorized and fraudulent documents to Prosperity Bank to affect

     the transfer.

  705.       James Goodman and Bater Bates knew those documents were unauthorized and

     invalid and said nothing.

  706.       Prior to Frinzi getting control over the accounts, he used the log in credentials of

     employees who no longer worked at Goodman Networks/GNET ATC to access and steal

     the funds.

  707.       Upon gaining signatory authority over the accounts, Frinzi made multiple

     withdrawals of the FSCLE funds in the 4352 Account and used them for purposes

     inconsistent with the Master Services Agreement all designed to ultimately launder the

     funds through a series of transactions back to James Goodman, Jim Frinzi and entities

     owned and/or controlled by them.

  708.       Frinzi and James Goodman caused some of the stolen funds to be paid to others to

     launder the money. FSCLE asserts that Frinzi’s and James Goodman’s payment of

     laundered funds to others including but not limited to Shalom Auerbach, Neil Auerbach,

     Auerbach Partners, Alliance, Hudson, 18920 NW, Steven Zakharyayev and Evalina

     Pinkhasova are funds stolen and used for the benefit of Frinzi and James Goodman.

  709.       Frinzi and James Goodman’s actions were fraudulent and for the purpose of

     stealing/embezzling the funds, laundering them to hide the original source and then

     keeping the FSCLE funds for their own use and benefit.



                                              136
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit1A Filed
                                     Page10/27/23
                                           138 of 154
                                                    Page 137 of 153 PageID 137



  710.        As a direct and proximate result of Jim Frinzi’s and James Goodman’s theft in

     violation of the Texas Theft Liability Act, FSCLE has been damaged in an amount to be

     proven at trial but certainly in excess of $80,000,000.

  711.        FSCLE prays for an award of its damages against Frinzi and James Goodman,

     jointly and severally, and an award of attorneys’ fees pursuant to the Texas Theft

     Liability Act.

              Cause No. 3 – Common Law Theft/Embezzlement/Conversion

                                     Against All Defendants

  712.        FSCLE incorporates the averments of the proceeding paragraphs of this Complaint

     as if fully set forth herein.

  713.        FSCLE transferred funds into the 4352 Account on the express promise and

     contractual agreement that all but .02% of those funds would be paid back to FSCLE.

  714.        As set forth in the second cause of action Jim Frinzi and James Goodman

     stole/embezzled more than $80 million in FSCLE funds located in the 4352 Account.

  715.        In addition to pursuing relief against them for their acts of theft under the Texas

     Theft Liability Act, FSCLE seeks relief against them in common law for the same

     theft/embezzlement/conversion and against all other Defendants for their roles in either

     receiving the stolen money (for example, being paid in stolen funds to launder the

     money) or in taking acts to aid and abet the theft (for example Bater Bates and Prosperity

     Bank).

  716.        Each of the Defendants knew the original source of the funds and knew that these

     were FSCLE funds in the 4352 Account.




                                               137
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit1A Filed
                                     Page10/27/23
                                           139 of 154
                                                    Page 138 of 153 PageID 138



  717.      Each of the Defendants accepted the funds knowing that they were

     stolen/embezzled.

  718.      In addition, some of the Defendants including but not limited to Prosperity Bank

     (Bater Bates), Shalom Auerbach, Neil Auerbach, Auerbach Partners, Alliance, Hudson,

     Steven Zakharyayev, Evalina Pinkhasova and 18920 NW played significant roles (as

     described above) helping embezzle or launder the stolen funds and as part of those efforts

     received stolen funds in payment for those efforts.

  719.      Prosperity Bank (Bater Bates), Shalom Auerbach, Neil Auerbach, Auerbach

     Partners, Alliance, Hudson, Steven Zakharyayev, Evalina Pinkhasova and 18920 NW

     each knew that the source of the funds paying them came from stolen funds from the

     4352 Account.

  720.      In addition, some of the Defendants including but not limited to Jason Goodman,

     Jody Goodman, Jonathan Goodman, John Goodman, GIH and the Frinzi Family Trust

     ultimately received portions of the funds that Frinzi and/or James Goodman

     stole/embezzled from the 4352 Account.

  721.      Jason Goodman, Jody Goodman, Jonathan Goodman, John Goodman, GIH and

     the Frinzi Family Trust each knew that the source of the funds they received were the

     stolen funds from the 4352 Account.

  722.      None of the Defendants had the right or authority to do anything with the FSCLE

     funds in the 4352 Account other than send those funds back to FSCLE less .02%.

  723.      All Defendants either directly took the money in the first place, assisted with the

     money laundering and kept a portion in payment or received and kept the stolen benefits

     for their own use.



                                             138
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit1A Filed
                                     Page10/27/23
                                           140 of 154
                                                    Page 139 of 153 PageID 139



  724.       FSCLE has repeatedly asked for repayment of the $80 million stolen from it.

  725.       None of the defendants has thus far volunteered or agreed to return their portion

     of the stolen funds.

  726.       As a direct and proximate result of the actions of the Defendants as set forth

     herein, FSCLE has been damaged in an amount that exceeds $80 million.

  727.       FSCLE Prays for an award of its damages in an amount to be proven at trial in

     excess of $80 million against the Defendants individually and joint and severally due to

     the coordinated nature of the theft and the fact it results from a civil conspiracy.

                      Cause No. 4 – Common Law Unjust Enrichment

                                     Against All Defendants

  728.       FSCLE incorporates the averments of the proceeding paragraphs of this Complaint

     as if fully set forth herein.

  729.       FSCLE provided in excess of $80 million in funds to Goodman Networks/GNET

     ATC pursuant to the Master Services Agreement with the express agreement and

     contractual commitment that the entirety of the funds other than .02% of those funds

     would be transferred back to FSCLE.

  730.       While there may not have been an express trust agreement limiting how the funds

     were to be held in the interim, FSCLE and Goodman Networks/GNET ATC worked

     together to automate their funds flow and invoicing process such that the invoices were

     input into the cloud-based system and then the funds flow both ways were automated.

  731.       The 4352 Account was established as part of that automated process.

  732.       The automated workflows and fund flows from FSCLE into the 4352 Account

     and then back to FSCLE worked as established and as agreed for months prior to



                                              139
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit1A Filed
                                     Page10/27/23
                                           141 of 154
                                                    Page 140 of 153 PageID 140



     November 3, 2021 when Frinzi, with the blessing and approval of James Goodman,

     stopped the funds flow back to FSCLE but continued to cause actions which spurred

     FSCLE to continue to pay funds to Goodman Networks/GNET ATC.

  733.      The course of dealing between FSCLE and Goodman Networks/GNET ATC

     created a justifiable and reasonable expectation that the funds would be paid back to

     FSCLE minus .02%.

  734.      There certainly was nothing in the course of dealing between FSCLE and

     Genesis-ATC, Goodman Networks or GNET ATC which could or would have created

     any expectation that Genesis-ATC, Goodman Networks or GNET ATC could transfer the

     FSCLE funds to any person or entity other than FSCLE other than the .02%.

  735.      The Defendants took the funds from the 4352 Account, exercised control over the

     funds through the various money laundering schemes described above and/or received

     the funds directly or after the money laundering knowing the original source of the funds

     was the FSCLE funds originally held in the 4352 Account.

  736.      The Defendants accepted the stolen FSCLE funds and utilized them for their own

     purposes.

  737.      Under the circumstances of this case, it would be unjust for any of the Defendants

     to retain the stolen FSCLE funds or any portion of them.

  738.      As a direct and proximate result of the Defendants acts and omission in this case,

     FSCLE has been damaged in an amount to be determined at trial but alleged to be in

     excess of $80,000,000 and the Defendants have been unjustly enriched at least in the

     amount of $80,000,000.




                                            140
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit1A Filed
                                     Page10/27/23
                                           142 of 154
                                                    Page 141 of 153 PageID 141



  739.       FSCLE prays for an award of damages against the Defendants, jointly and

     severally, for its damages and an awarded disgorging the amounts the Defendants have

     been unjustly enriched.

                      Cause No. 5 – Common Law Constructive Trust

                                     Against All Defendants

  740.       FSCLE incorporates the averments of the proceeding paragraphs of this Complaint

     as if fully set forth herein.

  741.       The funds FSCLE paid to Genesis-ATC, Goodman Networks and/or GNET ATC

     were held in a constructive trust for the benefit of FSCLE.

  742.       First the Master Services Agreement and the SOW expressly states that after

     FSCLE transfers the funds to Genesis-ATC, Goodman Networks and/or GNET ATC, that

     those funds shall be paid back to FSCLE minus a fee of .02%.

  743.       Genesis-ATC, Goodman Networks and/or GNET ATC worked with FSCLE to set

     up an automated work flow and funds flow including establishing a specific account, the

     4352 Account at Prosperity Bank, which only held funds from FSCLE pursuant to the

     commercial relationship.

  744.       Frinzi even referred to the 4352 Account as the “FedEx account” and the funds

     therein as the “FedEx funds.”

  745.       Further James Goodman has testified under oath that the funds in the 4352

     Account were “FedEx money.”

  746.       This arrangement worked well for months.

  747.       The invoices and work were automated, and the funds flow was also automated.




                                              141
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit1A Filed
                                     Page10/27/23
                                           143 of 154
                                                    Page 142 of 153 PageID 142



  748.      The actual written agreement, the established bank account for a specific purpose

     and the course of dealing created a special trust and/or a fiduciary relationship by which

     Genesis-ATC, Goodman Networks and/or GNET ATC held the FSCLE funds for

     FSCLE.

  749.      The entire arrangement was financing arrangement that did not require the

     minority business enterprise to have significant cash outlays.

  750.      The defendants and in particular Frinzi and James Goodman committed actual

     fraud and theft to steal the funds from the 4352 Account.

  751.      As outlined above, they worked without valid corporate authorization to gain

     control of the accounts, they took money out using the log ins of people who were no

     longer employees, they lied to FSCLE to continue the payments and then transferred the

     funds out to money laundering schemes to wash the funds of their original source and

     then direct the bulk back to themselves.

  752.      Each of the Defendants knew the original source of the funds and participated in

     the theft, money laundering or receipt of the stolen funds anyway.

  753.      Each of the Defendants was unjustly enriched as a result of their acts in

     furtherance of the overall enterprise.

  754.      As a direct and proximate result of the Defendants actions and omissions, FSCLE

     has been damaged in an amount to be proven at trial in excess of $80 million.

  755.      FSCLE prays for an award of an equitable constructive trust over the stolen

     FSCLE funds in the hands that hold them today and an order compelling those who hold

     those funds in constructive trust for FSCLE today to pay those funds to FSCLE.




                                              142
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit1A Filed
                                     Page10/27/23
                                           144 of 154
                                                    Page 143 of 153 PageID 143



               Cause No. 6 – Common Law Fraud or Constructive Fraud

            Against Frinzi, James Goodman, Genesis-ATC and GNET ATC

  756.      FSCLE incorporates the averments of the proceeding paragraphs of this

     Complaint as if fully set forth herein.

  757.      Jim Frinzi, James Goodman, Genesis-ATC and GNET ATC each made material

     misrepresentations to FSCLE that damaged FSCLE.

  758.      Frinzi caused Steve Seago and others within GNET ATC to misrepresent to

     FSCLE the reason for the lack of funds being transferred back to FSCLE under the

     Master Services Agreement.

  759.      By late October/early November 2021, FSCLE noticed that the automated funds

     transfers back to it had stopped and inquired why.

  760.      Frinzi directed others to not tell FSCLE that the decision had been made to stop

     further funds transfers back to FSCLE.

  761.      Frinzi directed others including Seago to tell FSCLE that, just as there had been

     an operational shift from Genesis-ATC to Goodman Networks/GNET ATC, there needed

     to be another process change to a new entity which was reported to be another name

     change only and that once the new system was set up the funds flow could be restored.

  762.      Because there had already been one change from Genesis-ATC to Goodman

     Networks/GNET ATC and there had not ultimately been an issue with FSCLE getting its

     funds, the newly announced shift seemed to be reasonable and based in the history of the

     commercial relationship.




                                               143
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit1A Filed
                                     Page10/27/23
                                           145 of 154
                                                    Page 144 of 153 PageID 144



  763.      In reasonable reliance on the misrepresentation as the reason for the stop in funds

     flow, FSCLE assigned IT personnel to work with the third-party vendor represented to be

     working on the IT connection on the Goodman Networks/GNET ATC side.

  764.      That work went from December 2021 to February 15, 2022.

  765.      The fact that there was an IT vendor working on the transition with the FSCLE IT

     personnel further bolstered the reasonableness of the story.

  766.      It was not until February 15, 2022 when the IT conversion work was completed

     that FSCLE was then told that the payment processing was not moving forward.

  767.      In the interim between November 3, 2021 and February 15, 2022, Frinzi working

     with others as described above: (1) caused continuing invoices to be sent to FSCLE after

     Goodman Networks was defunct; (2) obtained control over the 4352 Account; and (3)

     transferred millions out of the account for his own benefit and the benefit of other

     Defendants.

  768.      Jim Frinzi and James Goodman caused and allowed hundred of invoices to be

     sent to FSCLE after November 3, 2022 when the decision was made not to transfer any

     further funds to FSCLE and the change in operating system began to be directed at

     FSCLE.

  769.      Jim Frinzi and James Goodman caused and allowed hundred of invoices to be

     sent to FSCLE after November 23, 2021 – the date on which Frinzi documented that

     Goodman Networks was defunct.

  770.      FSCLE reasonably relied upon the representation of each of those invoices – that

     FSCLE would be paid back less .02% - because that had always been the course of




                                             144
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit1A Filed
                                     Page10/27/23
                                           146 of 154
                                                    Page 145 of 153 PageID 145



     dealing between the entities and because FSCLE was being provided with a believable

     story as to why the funds transfers had been paused.

  771.       Frinzi directly made these representations/misrepresentations to FSCLE

     personnel. Steve Seago set up a direct meeting between Frinzi and FSCLE personnel in

     late October/early November 2021. During that meeting Frinzi portrayed the relationship

     as business as usual and portrayed that just as there had been a seamless transition from

     Genesis-ATC to Goodman Networks/GNET ATC the same was about to happen again –

     a name change only.

  772.       At the time Frinzi made those misrepresentations to FSCLE directly, he knew that

     Goodman Networks, Genesis-ATC and GNET ATC were all being liquidated in response

     to the AT&T threat. Frinzi hid the real background and induced FSCLE into reasonably

     believing it was business as usual.

  773.       James Goodman spoke directly with FSCLE personnel in December 2021.

  774.       FSCLE was cooperating with request to shift the IT connections to a new system

     as requested by Goodman Networks/GNET ATC but had questions as to what was next

     in the relationship.

  775.       James Goodman spoke with FSCLE and consistent with Jim Frinzi’s continuing

     fraud, assured FSCLE that all was well and would be resolved once the relationship was

     ported over to the next named Goodman entity.

  776.       James Goodman even said that the relationship might go back to Genesis-ATC.

  777.       At the time James Goodman misrepresented that all was well and misrepresented

     that the relationship might go back to Genesis-ATC, James Goodman knew that Genesis-




                                             145
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit1A Filed
                                     Page10/27/23
                                           147 of 154
                                                    Page 146 of 153 PageID 146



     ATC was liquidating, knew that Goodman Networks was defunct and knew that GNET

     ATC was also being liquidated.

  778.       In January 2022, Jim Frinzi then misrepresented to FSCLE that Multiband would

     be the new entity to service the Master Services Agreement.

  779.       At the time Jim Frinzi made that misrepresentation to FSCLE, Frinzi had already

     emailed and texted others within the Goodman entities that he did not want the FSCLE

     business, that it did not produce enough of a return, that it would take years to pay it off

     and he had already started stealing from the 4352 Account.

  780.       FSCLE’s reliance on these misrepresentations were reasonable given the nature of

     the prior relationship, the prior switch from Genesis-ATC to Goodman Networks/GNET

     ATC and then the work with the third-party IT vendor to establish the new IT connection.

  781.       Jim Frinzi, James Goodman. Genesis-ATC and GNET ATC made these

     misrepresentations to FSCLE with the express purpose that FSCLE would rely upon

     them.

  782.       Frinzi directly said that he wanted the FSCLE funds transfers into the 4352

     Account to continue weeks after he said he would not permit any further funds transfers

     back to FSCLE.

  783.       Given the millions that flowed from FSCLE into the 4352 Account, that account

     was a target for Frinzi and the Goodmans to steal millions and then launder the funds.

  784.       As a direct and proximate result of the actual and constructive fraud of Jim Frinzi

     and James Goodman and Genesis-ATC and GNET ATC, FSCLE has been damaged in an

     amount to be determined at trial alleged to be in excess of $80 million.




                                              146
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit1A Filed
                                     Page10/27/23
                                           148 of 154
                                                    Page 147 of 153 PageID 147



  785.       FSCLE prays for an award of its compensatory damages from Frinzi, James

     Goodman, Genesis-ATC and GNET ATC, jointly and severally.

  786.       Because the misrepresentations of Frinzi, James Goodman, Genesis-ATC and

     GNET ATC were both intentional and fraudulent, FSCLE further asks for an award of

     punitive damages in an amount to be determined at trial.

                            Cause No. 7 – Tortious Interference

   Against Frinzi, James Goodman, Prosperity Bank, Genesis-ATC and GNET ATC

  787.       FSCLE incorporates the averments of the proceeding paragraphs of this

     Complaint as if fully set forth herein.

  788.       There exists a valid contract between FSCLE and Goodman Networks: the

     Master Services Agreement and the Statement of Work.

  789.       The Master Services Agreement and the Statement of Work had originally been

     between FSCLE and Genesis-ATC.

  790.       Genesis-ATC sought to assign the Master Services Agreement and the Statement

     of Work to Goodman Networks d/b/a GNET ATC.

  791.       FSCLE consented to the assignment of the Master Services Agreement and the

     Statement of Work to Goodman Networks d/b/a GNET ATC but never consented to any

     assignment to GNET ATC.

  792.       Thus, both genesis-ATC and GNET ATC were not parties to the Master Services

     Agreement or the Statement of Work at the time it was breached in late 2021 and early

     2022.

  793.       Jim Frinzi, James Goodman, Genesis-ATC and GNET ATC were all well aware

     of the Master Services Agreement and the Statement of Work.



                                               147
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit1A Filed
                                     Page10/27/23
                                           149 of 154
                                                    Page 148 of 153 PageID 148



  794.      Prosperity Bank was also aware of the Master Services Agreement and the

     Statement of Work.

  795.      First, the 4352 Account was set up at Prosperity Bank specifically to receive the

     funds transfers from FSCLE pursuant to the Master Services Agreement and the

     Statement of Work.

  796.      Second, Prosperity Bank saw months of funds flow from FSCLE’s bank account

     into the 4352 Account and would have seen that the only source of funds going into that

     account were coming from FSCLE.

  797.      Third, Jim Frinzi and James Goodman had multiple meetings with Prosperity

     Bank’s Bater Bates in October 2021 and December 2021 to discuss how to gain access to

     the 4352 Account.

  798.      Bater Bates even suggested using some of the funds in the 4352 Account as

     collateral to permit Genesis-ATC and/or GNET ATC funds to be freed from collateral

     restrictions or liens that would allow those funds to be liquidated and used for other

     purposes.

  799.      Fourth, after months of a regular funds flow into the 4352 Account and then funds

     transfers back to FSCLE from Prosperity Bank accounts in the name of Goodman

     Networks, Prosperity Bank would have seen irregular and large dollar transfers out of the

     4352 Account that were not in keeping with the prior course of dealing.

  800.      Because Jim Frinzi and James Goodman were intentionally stripping Goodman

     Networks of funds and assets in the fall of 2021, while they were officers or directors of

     Goodman Networks, they were also acting on their own behalf and as the principals of

     GNET ATC, Genesis-ATC and other Goodman or Frinzi controlled entities. They thus



                                             148
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit1A Filed
                                     Page10/27/23
                                           150 of 154
                                                    Page 149 of 153 PageID 149



     were both inside and outside of Goodman Networks and for purposes of this cause of

     action were acting as third parties to the FSCLE-Goodman Networks contractual

     relationship.

  801.       Further, Frinzi wrote an internal memo on November 23, 2021 saying that

     Goodman Networks was defunct and insolvent. Yet he continued to act thereafter along

     with James Goodman individually and through other Goodman and Frinzi controlled

     entities to interfere in the FSCLE-Goodman Networks contractual relationship and thus

     were third parties to that relationship.

  802.       Frinzi, with the knowledge and blessing of James Goodman, caused Goodman

     Networks to stop making any funds flows back to FSCLE on or after November 3, 2021.

  803.       The Master Services Agreement and the Statement of Work required Goodman

     Networks to transfer the funds advanced to it by FSCLE less a .02% fee. See e.g. Section

     5.1 of the State of Work and Section 12 of the Master Services Agreement.

  804.       Frinzi and James Goodman knew that the Master Services Agreement and

     Statement of Work required the return funds flow back to FSCLE less a payment of

     .02%.

  805.       Yet both Frinzi and James Goodman on behalf of themselves and Genesis-ATC

     and GNET ATC caused that return funds flow to stop, to have millions build up in the

     4352 Account and at the same time misrepresented to FSCLE the reason for the

     disruption in funds flow.

  806.       On behalf of GNET ATC, Frinzi then stole at least $44 million in FSCLE funds

     and “loaned” those funds to AMRR to buy AMR Resources from OnePath.




                                                149
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit1A Filed
                                     Page10/27/23
                                           151 of 154
                                                    Page 150 of 153 PageID 150



  807.        On behalf of Genesis-ATC, Frinzi and James Goodman caused some of the funds

     in the 4352 Account to be taken and laundered through the various schemes described

     above.

  808.        Prosperity Bank interfered with the Master Services Agreement by working with

     Frinzi and James Goodman to transfer control of the 4352 Account to Frinzi when

     Prosperity Bank knew that there could be no valid corporate authorization to give Frinzi

     control over that account.

  809.        Prosperity Bank is charged with the knowledge of Bater Bates.

  810.        Bater Bates had multiple meetings, email exchanges and calls with both Jim

     Frinzi and James Goodman aimed at getting Frinzi control over the 4352 Account.

  811.        Prosperity Bank’s Ana McCollum appropriately was asking for valid signed

     corporate resolutions authorizing the transfer of the accounts.

  812.        Prosperity Bank’s Bater Bates knew that no such valid corporate authorization

     was possible based on his knowledge of the unwinding of Goodman Networks and the

     fact that there was at that time (December 2021) only one director left at Goodman

     Networks.

  813.        Knowing why they wanted Frinzi to control the 4352 Account and that they did

     not and could not get valid corporate authorization, Bater Bates helped them gain control

     anyway through acceptance of documents he knew were fraudulent and unauthorized.

  814.        Bater Bates actions are chargeable to Prosperity Bank.

  815.        As a direct and proximate result of the actions of Jim Frinzi, James Goodman,

     Genesis-ATC, GNET ATC and Prosperity Bank, not only was the return funds flow back

     to FSCLE stopped in violation of the Master Services Agreement and the Statement of



                                             150
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit1A Filed
                                     Page10/27/23
                                           152 of 154
                                                    Page 151 of 153 PageID 151



     Work but the funds which could have been directed back to FSCLE at any time until

     taken out of the 4352 Account were then stolen and sent to persons and entities other than

     FSCLE. None of that would have happened but for the actions of Jim Frinzi, James

     Goodman, Genesis-ATC, GNET ATC or Prosperity Bank.

  816.      FSCLE has been damaged in an amount to be determined at trial but asserted to

     be in excess of $80,000,000. FSCLE prays for an award of its compensatory damages for

     tortious interference with contract.

  817.      Because the actions of Jim Frinzi, James Goodman, Genesis-ATC, GNET ATC

     and Prosperity Bank were both intentional and fraudulent, FSCLE prays for an award of

     punitive damages in an amount to be determined at trial.

                               Cause No. 8 – Civil Conspiracy

                                   Against All Defendants

  818.      FSCLE incorporates the averments of the proceeding paragraphs of this

     Complaint as if fully set forth herein.

  819.      In Cause No. 1, the civil RICO count, FSCLE asserted a conspiracy in violation

     of 18 U.S.C. § 1962(d).

  820.      FSCLE readopts the allegations of that cause of action and additionally asserts

     them as a common law civil conspiracy claim.

  821.      Outside of the Rico claim, that conspiracy is one to steal funds from FSCLE and

     the launder them.

  822.      FSCLE asserts the same members of the civil conspiracy and the same acts in

     furtherance of the civil conspiracy.




                                               151
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit1A Filed
                                     Page10/27/23
                                           153 of 154
                                                    Page 152 of 153 PageID 152



  823.         As a direct and proximate result of the civil conspiracy engaged in by the

     Defendants, FSCLE has been damaged in an amount to be determined at trial but asserted

     to be in excess of $80,000,000.

  824.         FSCLE prays for an award of its compensatory damages.

  825.         Because the Defendants’ actions were both intentional and fraudulent, FSCLE

     prays for an award of punitive damages in an amount to be determined at trial.

                                   PRAYER FOR RELIEF

     Having now asserted its Complaint, FSCLE prays for:

  1. That all Defendants be served and made to appear before this Court;

  2. The specific relief sought in each of its eight causes of action;

  3. An award of compensatory damages in an amount to be determined at trial in an amount

     that is greater than $80,000,000;

  4. An award of treble damages pursuant to the RICO statutes;

  5. An award of punitive damages;

  6. Attorneys’ fees;

  7. Pre-judgment and post-judgment interests to the extent permitted by law;

  8. An award of FSCLE’s discretionary costs; and

  9. All such other and further relief to which FSCLE may be entitled as a matter of law or

     equity.




                                               152
Case 22-31641-mvl7 Doc 424-1 Filed 11/09/23 Entered 11/09/23 16:29:38 Desc
 Case 3:23-cv-02397-S Document
                         Exhibit1A Filed
                                     Page10/27/23
                                           154 of 154
                                                    Page 153 of 153 PageID 153



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                                     153
